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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :          Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                             :
                                               1
                                    Debtors.                 :          (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                          SCHEDULE OF ASSETS AND LIABILITIES FOR
                            J. CREW GROUP, INC. (CASE NO. 20-32185)




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
      Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
      Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
      International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
      (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
      Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
      headquarters and service address is 225 Liberty St., New York, NY 10281.
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    GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
       AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
     ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       Chinos Holdings, Inc. and its debtor affiliates, as debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors”), are filing their respective
Schedules of Assets and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and
Statements of Financial Affairs (each, a “Statement” and collectively, the “Statements”) in the
United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division
(the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated by reference in, and comprise and integral part of all of the Schedules and
Statements. The Global Notes are in addition to the specific notes set forth below with respect to
the Schedules and Statements (the “Specific Notes,” and, together with the Global Notes,
the “Notes”). These Notes should be referred to, and referenced in connection with, any review
of the Schedules and Statements.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals. The Schedules and Statements are unaudited and subject to
potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
data derived from their books and records that was available at the time of preparation. The
Debtors’ management team and advisors have made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances; however,
subsequent information or discovery may result in material changes to the Schedules and
Statements and errors or omissions may exist. Notwithstanding any such discovery, new
information, or errors or omissions, the Debtors do not undertake any obligation or commitment
to update the Schedules and Statements.

        The Debtors reserve all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including the right to dispute or
otherwise assert offsets or defenses to any claim reflected on the Schedules and Statements as to
amount, liability, classification, identity of Debtor, or to otherwise subsequently designate any
claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the
Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’ rights or an
admission with respect to their chapter 11 cases, including any issues involving objections to
claims, substantive consolidation, equitable subordination, defenses, characterization or re-
characterization of contracts and leases, assumption or rejection of contracts and leases under the
provisions of chapter 3 of the Bankruptcy Code, causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to recover assets or avoid
transfers.




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                        Global Notes and Overview of Methodology

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors or their affiliates.

       1.     Description of the Cases. On May 4, 2020 (the “Petition Date”), each of the
              Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code.
              The Debtors are authorized to operate their businesses and manage their properties
              as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
              Code. On May 5, 2020, the Bankruptcy Court entered an order authorizing the joint
              administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b)
              [Docket No. 99]. Notwithstanding the joint administration of the Debtors’ cases
              for procedural purposes, each Debtor has filed its own Schedules and Statements.
              On May 13, 2020, the United States Trustee for the Eastern District of Virginia,
              Richmond Division (the “U.S. Trustee”) appointed an official committee of
              unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy Code
              (the “Creditors’ Committee”).

       2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
              prepare consolidated financial statements, which include information for the
              Debtors and their non-Debtor affiliates. The Schedules and Statements are
              unaudited and reflect the Debtors’ reasonable efforts to report certain financial
              information of each Debtor on an unconsolidated basis. These Schedules and
              Statements neither purport to represent financial statements prepared in accordance
              with Generally Accepted Accounting Principles in the United States (“GAAP”),
              nor are they intended to be fully reconciled with the financial statements of each
              Debtor.

              The Debtors used reasonable efforts to attribute the assets and liabilities, certain
              required financial information, and various cash disbursements to each particular
              Debtor entity. Because the Debtors’ accounting systems, policies, and practices
              were developed for consolidated reporting purposes rather than for reporting by
              legal entity, however, it is possible that not all assets and liabilities have been
              recorded with the correct legal entity on the Schedules and Statements.
              Specifically, the Debtors do not account for accounts payable and payments to
              individual creditors on a legal entity basis. Substantially all payments are made by
              J. Crew Operating Corp. on behalf of the various entities and therefore are presented
              as such in the Schedules and Statements. Intercompany receivables and payables
              are created to account for these transactions by legal entity. Therefore, unless
              indicated otherwise, scheduled claims are listed as a liability of J. Crew Operating
              Corp. The Debtors reserve all rights to supplement and amend the Schedules and
              Statements in this regard, including with respect to reallocation of assets or
              liabilities to any particular entity.

       3.     Reporting Date. Unless otherwise noted on the specific responses, the Schedules
              and Statements generally reflect the Debtors’ books and records as of the close of
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           business on the Petition Date. The liability values are as of the Petition Date,
           adjusted for authorized payments made under the First Day Orders (as defined
           below).

      4.   Current Values. Unless otherwise noted on the specific responses, the assets and
           liabilities of each Debtor are listed in the Schedules and Statements on the basis of
           the net book value of the asset or liability in the respective Debtor’s accounting
           books and records.

      5.   Confidentiality. There may be instances where certain information was not
           included or redacted due to the nature of an agreement between a Debtor and a third
           party, concerns about the confidential or commercially sensitive nature of certain
           information, or to protect the privacy of an individual.

      6.   Consolidated Entity Accounts Payable and Disbursement Systems. As
           described in the Motion of Debtors for Entry of Interim and Final Orders
           (I) Authorizing Debtors to (A) Continue Participating In Existing Cash
           Management System, and Using Bank Accounts and Business Forms, and
           (B) Continue Intercompany Transactions, (II) Providing Administrative Expense
           Priority for Postpetition Intercompany Claims, (III) Extension of Time to Comply
           with Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief [Docket
           No. 7], the Debtors utilize an integrated, centralized cash management system, in
           the ordinary course of business, to collect, concentrate, and disburse funds
           generated by their operations (the “Cash Management System”). The Debtors
           maintain a master concentration account to pay the Debtors’ obligations through
           the following accounts: (a) disbursement accounts, (b) payroll account,
           (c) investment accounts, (d) open account and letter of credit account, and (e) non-
           debtor cash management systems.

           In the ordinary course of business, the Debtors maintain business relationships
           among each other, which result in intercompany receivables and payables
           (the “Intercompany Claims”) arising from intercompany transactions
           (the “Intercompany Transactions”). As set forth more fully in the Cash
           Management Motion, Intercompany Transactions primarily relate to income taxes
           or fees charged by certain Debtors or non-Debtor affiliates to other Debtors or non-
           Debtor affiliates on account of the intercompany provision of goods or services.
           Historically, Intercompany Claims are not settled by actual transfers of cash among
           the Debtors. Instead, the Debtors track all Intercompany Transactions in their
           centralized accounting system, which concurrently are recorded on the applicable
           Debtors’ balance sheets and regularly reconciled. The Debtors’ accounting system
           requires that all general ledger entries be balanced at the legal entity level, with
           certain legal entities consolidated. Unless otherwise noted, the Debtors have
           reported the intercompany receivables and intercompany payables among the
           Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as appropriate.

      7.   Accuracy. The financial information disclosed herein was not prepared in
           accordance with federal or state securities laws or other applicable nonbankruptcy
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            law or in lieu of complying with any periodic reporting requirements thereunder.
            Persons and entities trading in or otherwise purchasing, selling, or transferring the
            claims against or equity interests in the Debtors should evaluate this financial
            information in light of the purposes for which it was prepared. The Debtors are not
            liable for and undertake no responsibility to indicate variations from securities laws
            or for any evaluations of the Debtors based on this financial information or any
            other information.

      8.    Net Book Value of Assets. In many instances, current market valuations are not
            maintained by or readily available to the Debtors. As such, wherever possible, net
            book values as of the Petition Date are presented. Amounts ultimately realized
            based on market valuations may vary materially from net book value (or other value
            so ascribed). Accordingly, the Debtors reserve all rights to amend, supplement,
            and adjust the asset values set forth in the Schedules and Statements. As applicable,
            fixed assets and leasehold improvement assets that fully have been depreciated or
            amortized, or were expensed for GAAP accounting purposes, have no net book
            value, and, therefore, are not included in the Schedules and Statements.

      9.    Undetermined Amounts. Claim amounts that could not readily be quantified by
            the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The
            description of an amount as “undetermined,” “unknown,” or “N/A” is not intended
            to reflect upon the materiality of the amount.

      10.   Excluded Assets and Liabilities. The Debtors believe that they have identified,
            but did not necessarily value, all material categories of assets and liabilities in the
            Schedules. The Debtors have excluded the following items from the Schedules and
            Statements: certain accrued liabilities, including accrued salaries and wages,
            employee benefit accruals, and certain other accruals, certain prepaid and other
            current assets considered to have de minimis or no market value. Other immaterial
            assets and liabilities may also have been excluded.

      11.   Totals. All totals that are included in the Schedules and Statements represent totals
            of all the known amounts included in the Schedules and Statements and exclude
            items identified as “unknown” or “undetermined.” If there are unknown or
            undetermined amounts, the actual totals may be materially different from the listed
            totals.

      12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
            unless otherwise indicated.

      13.   Payment of Prepetition Claims Pursuant to First Day Orders. The Debtors
            have authority to pay certain outstanding prepetition payables pursuant to certain
            orders by the Bankruptcy Court entered in connection with the Debtors’ chapter 11
            cases authorizing the Debtors to pay certain prepetition amounts (collectively, the
            “First Day Orders”). As such, outstanding liabilities may have been reduced by
            any court-approved postpetition payments made on prepetition payables. If these
            liabilities have been satisfied, they are not listed in the Schedules and Statements
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               unless otherwise noted. If the Debtors later pay any amount of the claims listed in
               the Schedules and Statements pursuant to any orders entered by the Bankruptcy
               Court, the Debtors reserve all rights to amend or supplement the Schedules and
               Statements or to take other action, such as filing claims objections, as is necessary
               and appropriate to avoid overpayment or duplicate payments for liabilities.

      14.      Other Paid Claims. If the Debtors have reached any postpetition settlement with
               a vendor or other creditor that expressly supersedes the Schedules and Statements
               or that was entered into after filing of the Schedules and Statements, the terms of
               such settlement will prevail, supersede amounts listed in the Debtors’ Schedules
               and Statements, and shall be enforceable by all parties, subject to Bankruptcy Court
               approval.

      15.      Setoffs. The Debtors routinely incur certain setoffs from customers and suppliers
               in the ordinary course of business. Setoffs in the ordinary course can result from
               various items including, but not limited to, pricing discrepancies, customer
               programs, returns, promotional funding, and other disputes between the Debtors
               and their customers and suppliers. These routine setoffs are consistent with the
               ordinary course of business in the Debtors’ industry, and, therefore, can be
               particularly voluminous, unduly burdensome, and costly for the Debtors to
               regularly document. Therefore, although such setoffs and other similar rights may
               have been accounted for when scheduling certain amounts, these ordinary course
               setoffs are not independently accounted for, and, as such, are excluded from the
               Debtors’ Schedules and Statements. Any setoff of a prepetition debt to be applied
               against the Debtors is subject to the automatic stay and must comply with section
               553 of the Bankruptcy Code.

            16. Inventory. Merchandise inventories are carried at the lower of average cost or net
                realizable value. The Debtors capitalize certain design, purchasing and
                warehousing costs in inventory. The Debtors evaluate all of their inventories to
                determine excess inventories based on estimated future sales. Based on historical
                results experienced through various methods of disposition, the Debtors write down
                the carrying value of inventories that are not expected to be sold at or above cost.
                Additionally, the Debtors reduce the cost of inventories based on an estimate of lost
                or stolen items each period.

      17.      Property, Plant and Equipment. Property and equipment are stated at cost and
               are depreciated over the estimated useful lives using the straight-line method.
               Buildings and improvements are depreciated over estimated useful lives of twenty
               years. Furniture, fixtures and equipment are depreciated over estimated useful
               lives, ranging from three to ten years. Leasehold improvements are depreciated
               over the shorter of their useful lives or related lease terms (without consideration
               of optional renewal periods). The Debtors capitalize certain costs (included in
               fixtures and equipment) related to the acquisition and development of software and
               amortizes these costs using the straight-line method over the estimated useful life
               of the software, which is three to five years. Certain development costs not meeting
               the criteria for capitalization are expensed as incurred.
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      18.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
            or Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
            including the following:

            a.      Any failure to designate a claim listed on the Debtors’ Schedules and
                    Statements as “disputed,” “contingent,” or “unliquidated” does not
                    constitute an admission by the Debtors that such amount is not “disputed,”
                    “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                    and to assert setoff rights, counterclaims, and defenses to any claim
                    reflected on the Schedules as to amount, liability, and classification, and to
                    otherwise subsequently designate any claim as “disputed,” “contingent,” or
                    “unliquidated.”

            b.      Notwithstanding that the Debtors have made reasonable efforts to correctly
                    characterize, classify, categorize, or designate certain claims, assets,
                    executory contracts, unexpired leases, and other items reported in the
                    Schedules and Statements, the Debtors nonetheless may have improperly
                    characterized, classified, categorized, or designated certain items. The
                    Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or
                    redesignate items reported in the Schedules and Statements at a later time
                    as is necessary and appropriate.

            c.      The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                    (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or
                    (iv) listing a contract or lease on Schedule G as “executory” or “unexpired”
                    does not constitute an admission by the Debtors of the legal rights of the
                    claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                    such claim or contract pursuant to a schedule amendment, claim objection
                    or otherwise. Moreover, although the Debtors may have scheduled claims
                    of various creditors as secured claims for informational purposes, no current
                    valuation of the Debtors’ assets in which such creditors may have a security
                    interest has been undertaken. Except as provided in an order of the
                    Bankruptcy Court, the Debtors reserve all rights to dispute and challenge
                    the secured nature or amount of any such creditor’s claims or the
                    characterization of the structure of any transaction, or any document or
                    instrument related to such creditor’s claim.

            d.      In the ordinary course of their business, the Debtors lease equipment and
                    other assets from certain third-party lessors for use in the daily operation of
                    their business. The Debtors have made commercially reasonable efforts to
                    list any such leases in Schedule G, and any current amounts due under such
                    leases that were outstanding as of the Petition Date are listed on Schedule
                    E/F. Except as otherwise noted herein, the property subject to any such
                    leases is not reflected in Schedule A/B as either owned property or assets of
                    the Debtors, and neither is such property or assets of third parties within the
                    control of the Debtors. Nothing in the Schedules is or shall be construed as
                    an admission or determination as to the legal status of any lease (including
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                    whether any lease is a true lease or a financing arrangement), and the
                    Debtors reserve all rights with respect to any of such issues, including the
                    recharacterization thereof.

           e.       The claims of individual creditors for, among other things, goods, products,
                    services or taxes are listed as the amounts entered on the Debtors’ books
                    and records and may not reflect credits, allowances or other adjustments due
                    from such creditors to the Debtors. The Debtors reserve all of their rights
                    with regard to such credits, allowances and other adjustments, including the
                    right to assert claims objections and setoffs with respect to the same.

           f.       The Debtors’ businesses are part of a complex enterprise. Although the
                    Debtors have exercised their reasonable efforts to ensure the accuracy of
                    their Schedules and Statements, they nevertheless may contain errors and
                    omissions. The Debtors hereby reserve all of their rights to dispute the
                    validity, status, and enforceability of any contracts, agreements, and leases
                    identified in the Debtors’ Schedules and Statements, and to amend and
                    supplement the Schedules and Statements as necessary.

           g.       The Debtors further reserve all of their rights, claims, and causes of action
                    with respect to the contracts and agreements listed on the Schedules and
                    Statements, including the right to dispute and challenge the characterization
                    or the structure of any transaction, document, and instrument related to a
                    creditor’s claim.

           h.       The Debtors exercised their reasonable efforts to locate and identify
                    guarantees and other secondary liability claims (the “Guarantees”) in their
                    executory contracts, unexpired leases, secured financings, debt instruments,
                    and other agreements. When such Guarantees have been identified, they
                    are included in the relevant Schedules and Statements. Guarantees
                    embedded in the Debtors’ executory contracts, unexpired leases, secured
                    financings, debt instruments, and other agreements may have been omitted
                    inadvertently. Thus, the Debtors reserve their rights to amend and
                    supplement the Schedules and Statements to the extent that additional
                    Guarantees are identified. In addition, the Debtors reserve the right to
                    amend the Schedules and Statements to re-characterize and reclassify any
                    such contract or claim.

           i.       Listing a contract or lease on the Debtors’ Schedules and Statements shall
                    not be deemed an admission that such contract is an executory contract,
                    such lease is an unexpired lease, or that either necessarily is a binding, valid,
                    and enforceable contract. The Debtors hereby expressly reserve the right to
                    assert that any contract listed on the Debtors’ Schedules and Statements
                    does not constitute an executory contract within the meaning of section 365
                    of the Bankruptcy Code, and the right to assert that any lease so listed does
                    not constitute an unexpired lease within the meaning of section 365 of the
                    Bankruptcy Code.
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            j.      Exclusion of certain intellectual property should not be construed to be an
                    admission that such intellectual property rights have been abandoned, have
                    been terminated or otherwise expired by their terms, or have been assigned
                    or otherwise transferred pursuant to a sale, acquisition, or other transaction.
                    Conversely, inclusion of certain intellectual property should not be
                    construed to be an admission that such intellectual property rights have not
                    been abandoned, have not been terminated or otherwise expired by their
                    terms, or have not been assigned or otherwise transferred pursuant to a sale,
                    acquisition, or other transaction.

      19.   Global Notes Control. If the Schedules or Statements differ from any of the
            foregoing Global Notes, the Global Notes shall control.

      Specific Notes with Respect to the Debtors’ Schedules

      1.    Schedule A/B.

            a.      A/B.3. As set forth more fully in the Cash Management Motion, the
                    Debtors conduct their operations through an extensive network of bank
                    accounts. The values provided for in Schedule A/B, Item 3 for each account
                    for a given Debtor reflects the ending cash balance of such account as of the
                    Petition Date.

            b.      A/B.10–12. Consistent with the Debtors’ financial reporting practices,
                    certain current assets, including credit card receivables, wholesale
                    receivables, corporate receivables, and any allowances thereof provided for
                    in Schedule A/B, Items 11 and 12 are as of the Petition Date. Intercompany
                    receivables have been listed as “Other property” under Schedule A/B, Item
                    77.

            c.      A/B.15. Equity interests in subsidiaries and affiliates primarily arise from
                    common stock ownership or member interests. For purposes of these
                    Schedules, the Debtors have assigned an ownership percentage for the
                    equity interests of all of their direct subsidiaries.

            d.      A/B.18–26. Schedule A/B, Items 18–26 identifies the estimated value of
                    the Debtors’ inventories. Included within the estimated values are various
                    reserves and capitalized balances that the Debtors attribute to the total value
                    of inventory as included within their books and records, such as on account
                    of slow moving goods, shrinkage and markdowns.

            e.      A/B.54–58. The Debtors considered only real property owned in
                    responding to Schedule A/B, Items 54–58. However, the Debtors’ real
                    property leases are listed in Schedule G and are incorporated into Schedule
                    A/B, Items 54-58 by reference. The Debtors’ real property leases for retail
                    store locations are listed on Schedule G for Chinos Holdings, Inc.; J. Crew


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                    Group, Inc.; J. Crew Operating Corp.; Grace Holmes, Inc.; J. Crew Inc.;
                    Madewell Inc.; H.F.D. No. 55, Inc.

           f.       A/B.59–65. The Debtors have not listed the value of the items listed in
                    Schedule A/B, Items 59–65 because the values on the Debtors’ books and
                    records may not accurately reflect their value in the marketplace.

                    Additionally, certain of the Debtors have customer information from loyalty
                    programs, customer accounts, in-store and online sales, as well as
                    information collected from the Debtors’ websites and third-party partners,
                    which information includes personally identifiable information. The
                    Debtors maintain certain records in the ordinary course of business, but do
                    not sell these lists. Due to privacy laws, the Debtors’ privacy policy, and
                    the need to protect confidential information and individual privacy, the
                    Debtors have not furnished any customer lists on their Schedules.

           g.       A/B.72. The Debtors file consolidated federal tax returns, as well as certain
                    of their state tax returns, under Chinos Holdings, Inc. Consequently, the
                    Debtors maintain net and current book operating losses, carryforwards of
                    disallowed business interest expense, and carryforwards of unused general
                    business credits, in each case, from consolidated tax filings made by Chinos
                    Holdings, Inc. (“Tax Assets”), and such Tax Assets are listed only under
                    Item 72 of Schedule A/B for Chinos Holdings, Inc. Additionally, the values
                    of the Tax Assets listed in Schedule A/B, Item 72 reflect the amounts listed
                    in the Debtors’ books and records, and may reflect amounts accumulated
                    for more than one tax year.

           h.       A/B.70–77. Despite exercising their commercially reasonable efforts to
                    identify all known assets, the Debtors may not have listed all of their causes
                    of action or potential causes of action against third parties as assets in their
                    Schedules. Unless otherwise noted on specific responses, items reported on
                    Schedule A/B are reported from the Debtors’ books and records as of the
                    Petition Date. The Debtors reserve all of their rights with respect to any
                    claims and causes of action they may have. Neither these Notes nor the
                    Schedules shall be deemed a waiver of any such claims or causes of action
                    or to prejudice or impair the assertion thereof in any way.

                    If a Debtor has received an intercompany receivable, such amount has been
                    listed on Item 77, Schedule A/B for such Debtor. Correspondingly, if a
                    Debtor is obligated on account of an intercompany payable, such amount
                    has been listed on Schedule E/F, Part 2 for such Debtor.

      2.   Schedule D. The claims listed on Schedule D, as well as the guarantees of those
           claims listed on Schedule H, arose and were incurred on various dates; a
           determination of the date upon which each claim arose or was incurred would be
           unduly burdensome and cost prohibitive. Accordingly, not all such dates are
           included for each claim. To the best of the Debtors’ knowledge, all claims listed
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           on Schedule D arose or were incurred before the Petition Date. The amounts in
           Schedule D are consistent with the Debtors’ stipulations set forth in the Final Order
           (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the
           Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
           Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition
           Secured Parties, (V) Modifying Automatic Stay, and (VI) Granting Related Relief
           [Docket No. 447] (the “DIP Order”), which are subject to investigation and
           challenge by the Creditors’ Committee or other parties in interest, all as more fully
           set forth in the DIP Order.

           Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or
           general order entered by the Bankruptcy Court that is or becomes final, including
           the DIP Order, the Debtors and their estates reserve their right to dispute and
           challenge the validity, perfection, or immunity from avoidance of any lien
           purported to be granted or perfected in any specific asset to a creditor listed on
           Schedule D of any Debtor and, subject to the foregoing limitations, note as follows:
           (a) although the Debtors may have scheduled claims of various creditors as secured
           claims for informational purposes, no current valuation of the Debtors’ assets in
           which such creditors may have a lien has been undertaken; (b) the Debtors have
           included the results of UCC lien searches performed prior to the Petition Date (the
           reporting of such results, however, shall not be deemed an admission as to the
           validity or existence of any such lien); (c) the Debtors reserve all rights to dispute
           and challenge the secured nature of any creditor’s claim or the characterization of
           the structure of any such transaction or any document or instrument related to such
           creditor’s claim; and (d) the descriptions provided on Schedule D only are intended
           to be a summary. Reference to the applicable loan agreements and related
           documents is necessary for a complete description of the collateral and the nature,
           extent, and priority of any liens.

           Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
           collateral relating to the debt contained on Schedule D are contained in the
           Declaration of Michael J. Nicholson in Support of Debtors’ Chapter 11 Petitions
           and First Day Relief [Docket No. 6] (the “First Day Declaration”).

           The Debtors have listed only the administrative agent or indenture trustee for their
           funded secured indebtedness, but each of these secured claims are owned or
           beneficially controlled by a number of parties that may not be identified in the
           Schedules and Statements.

           Except as specifically stated herein, real property lessors, equipment lessors, utility
           companies, and other parties which may hold security deposits or other security
           interests have not been listed on Schedule D. The Debtors have not listed on
           Schedule D any parties whose claims may be secured through rights of setoff,
           deposits, or advance payments posted by, or on behalf of, the Debtors, or judgment
           or statutory lien rights.


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      3.   Schedule E/F

           a.       (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred
                    on various dates; a determination of the date upon which each claim arose
                    or was incurred would be unduly burdensome and cost prohibitive.
                    Accordingly, not all such dates are included for each claim. To the best of
                    the Debtors’ knowledge, all claims listed on Schedule E/F arose or were
                    incurred before the Petition Date.

                    The Debtors have not listed certain wage, or wage-related obligations that
                    the Debtors have paid pursuant to First Day Orders on Schedule E/F. The
                    Debtors reserve the right to dispute or challenge whether creditors listed on
                    Schedule E/F are entitled to priority status pursuant to sections 503 and 507
                    of the Bankruptcy Code.

                    Claims owing to various taxing authorities to which the Debtors potentially
                    may be liable are included on the Debtors’ Schedule E/F. Certain of such
                    claims, however, may be subject to ongoing audits and the Debtors
                    otherwise are unable to determine with certainty the amount of the
                    remaining claims listed on Schedule E/F. Therefore, the Debtors have listed
                    all such claims as disputed, contingent, and unliquidated, pending final
                    resolution of ongoing audits or other outstanding issues.

                    The Debtors reserve the right to assert that any claim listed on Schedule E/F
                    does not constitute a priority claim under the Bankruptcy Code.

           b.       (Part 2). The Debtors have exercised their commercially reasonable efforts
                    to list all liabilities on Schedule E/F of each applicable Debtor. As a result
                    of the Debtors’ consolidated operations, however, the reader should review
                    Schedule E/F for all Debtors in these cases for a complete understanding of
                    the unsecured debts of the Debtors. Certain creditors listed on Schedule E/F
                    may owe amounts to the Debtors, and, as such, the Debtors may have valid
                    setoff and recoupment rights with respect to such amounts. The amounts
                    listed on Schedule E/F may not reflect any such right of setoff or
                    recoupment, and the Debtors reserve all rights to assert the same and to
                    dispute and challenge any setoff and recoupment rights that may be asserted
                    against the Debtors by a creditor. Additionally, certain creditors may assert
                    mechanic’s, materialman’s, or other similar liens against the Debtors for
                    amounts listed on Schedule E/F. The Debtors reserve their rights to dispute
                    and challenge the validity, perfection, and immunity from avoidance of any
                    lien purported to be perfected by a creditor listed on Schedule E/F of any
                    Debtor. In addition, certain claims listed on Schedule E/F (Part 2) may be
                    entitled to priority under 11 U.S.C. § 503(b)(9).

                    The Debtors have made reasonable efforts to include all unsecured creditors
                    on Schedule E/F including, but not limited to, lease counterparties, taxing
                    authorities, trade creditors, and service providers. The amounts listed in
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                           Schedule E/F with respect to certain trade creditors are consistent with the
                           Debtors’ stipulations set forth in each such creditors’ ongoing trade
                           agreement, as applicable.1 The Debtors have made reasonable efforts to
                           include certain balances on Schedule E/F, including deferred liabilities,
                           accruals, or general reserves, but may not have included all balances where
                           impracticable. Such amounts are, however, reflected on the Debtors’ books
                           and records as required in accordance with GAAP. Such accruals primarily
                           represent general estimates of liabilities and do not represent specific claims
                           as of the Petition Date. The Debtors have made reasonable efforts to include
                           as contingent, unliquidated and disputed the claim of any party not included
                           on the Debtors’ open accounts payable that is associated with an account
                           that has an accrual or receipt not invoiced.

                           Schedule E/F also contains information regarding pending litigation
                           involving the Debtors. In certain instances, the relevant Debtor that is the
                           subject of the litigation is unclear or undetermined. To the extent that
                           litigation involving a particular Debtor has been identified, however, such
                           information is included on that Debtor’s Schedule E/F. The amounts for
                           these potential claims are listed as undetermined and marked as contingent,
                           unliquidated, and disputed in the Schedules.

                           The aggregate net intercompany payable amounts listed in Schedule E/F
                           may or may not result in allowed or enforceable claims by or against a given
                           Debtor, and listing these payables is not an admission on the part of the
                           Debtors that the Intercompany Claims are enforceable or collectable. The
                           intercompany payables also may be subject to recoupment, netting, or other
                           adjustments made pursuant to intercompany policies and arrangements not
                           reflected in the Schedules.

                           Additionally, the Bankruptcy Court has authorized the Debtors to pay, in
                           their discretion, certain unsecured claims, pursuant to the First Day Orders.
                           To the extent practicable, each Debtor’s Schedule E/F is intended to reflect
                           the balance as of the Petition Date, adjusted for postpetition payments of
                           some or all of the Bankruptcy Court-approved payments. Each Debtor’s
                           Schedule E/F will reflect some of the Debtor’s payments of certain claims
                           pursuant to the First Day Orders, and, to the extent an unsecured claim has
                           been paid or may be paid, it is possible such claim is not included on
                           Schedule E/F. Certain Debtors may pay additional claims listed on
                           Schedule E/F during these Chapter 11 cases pursuant to these and other
                           orders of the Bankruptcy Court and the Debtors reserve all of their rights to
                           update Schedule E/F to reflect such payments or to modify the claims


1
    Further information and a form of the Debtors’ ongoing trade agreements is set forth in the Debtors’ Final Order
    (I) Authorizing Debtors to Pay Certain Prepetition Claims, Lien Claims, and 503(b)(9) Claims, (II) Confirming
    Administrative Expense Priority of Undisputed Prepetition Orders, and (III) Granting Related Relief [Docket No.
    384].

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                    register to account for the satisfaction of such claim. Additionally, Schedule
                    E/F does not include potential rejection damage claims, if any, of the
                    counterparties to executory contracts and unexpired leases that have been,
                    or may be, rejected.

      4.   Schedule G. Although reasonable efforts have been made to ensure the accuracy
           of Schedule G regarding executory contracts and unexpired leases (collectively,
           the “Agreements”), review is ongoing and inadvertent errors, omissions or
           overinclusion may have occurred. The Debtors may have entered into various other
           types of Agreements in the ordinary course of their businesses, such as indemnity
           agreements, supplemental agreements, and amendments/letter agreements that may
           not be set forth in Schedule G. In addition, as described herein, certain non-
           disclosure agreements and or other confidential information have been omitted, as
           well as certain short-term purchase and sales orders given their large number and
           transitory nature.

           Omission of an agreement from Schedule G does not constitute an admission that
           such omitted agreement is not an executory contract or unexpired lease. Schedule
           G may be amended at any time to add any omitted Agreements. Likewise, the
           listing of an Agreement on Schedule G does not constitute an admission that such
           Agreement is an executory contract or unexpired lease or that such Agreement was
           in effect on the Petition Date or is valid or enforceable. The Agreements listed on
           Schedule G may have expired or may have been modified, amended, or
           supplemented from time to time by various amendments, restatements, waivers,
           estoppel certificates, letter and other documents, instruments and agreements that
           may not be listed on Schedule G. Executory agreements that are oral in nature have
           not been included in Schedule G. Any and all of the Debtors’ rights, claims and
           causes of action with respect to the Agreements listed on Schedule G are hereby
           reserved and preserved, and as such, the Debtors hereby reserve all of their rights
           to (i) dispute the validity, status, or enforceability of any Agreements set forth on
           Schedule G, (ii) dispute or challenge the characterization of the structure of any
           transaction, or any document or instrument related to a creditor’s claim, including,
           but not limited to, the Agreements listed on Schedule G and (iii) to amend or
           supplement such Schedule as necessary. Certain of the Agreements listed on
           Schedule G may have been entered into on behalf of more than one of the Debtors.
           Additionally, the specific Debtor obligors to certain of the Agreements may not
           have been specifically ascertained in every circumstance. In such cases, the
           Debtors have made reasonable efforts to identify the correct Debtor’s Schedule G
           on which to list the Agreement and, where a contract party remained uncertain,
           such Agreement may have been listed on a different Debtor’s Schedule G.

      5.   Schedule H. The Debtors are party to various debt agreements, which were
           executed by multiple Debtors. The obligations of guarantors under prepetition,
           secured credit agreements are noted on Schedule H for each individual debtor. In
           the ordinary course of their businesses, the Debtors are involved in pending or
           threatened litigation and claims arising out of the conduct of their businesses. Some
           of these matters may involve multiple plaintiffs and defendants, some or all of
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            whom may assert cross-claims and counter-claims against other parties. Because
            such claims are listed on each Debtor’s Schedule E/F and Statement 7, as
            applicable, they have not been set forth individually on Schedule H. Furthermore,
            the Debtors may not have identified certain guarantees that are embedded in the
            Debtors’ executory contracts, unexpired leases, secured financings, debt
            instruments and other such agreements. No claim set forth on the Schedules and
            Statements of any Debtor is intended to acknowledge claims of creditors that are
            otherwise satisfied or discharged by other Debtors or non-Debtors. If there are
            guarantees connected with any joint ventures to which the Debtors may be a party,
            such agreements are not identified in the Debtors’ Schedules. The Debtors reserve
            all of their rights to amend the Schedules to the extent that additional guarantees
            are identified or such guarantees are discovered to have expired or be
            unenforceable.



      Specific Notes With Respect to the Debtors’ Statements

      1.    Statement 1. Sales are reflected net of returns and allowances, discounts, and
            certain other adjustments. Negative revenue relates to discounts on gift cards sold
            through third parties.

            The Debtors’ fiscal year ends on the Saturday closest to January 31:

            FY 2017: Composed of 53 weeks ending February 3, 2018.

            FY 2018: Composed of 52 weeks ending February 2, 2019.

            FY 2019: Composed of 52 weeks ending February 1, 2020.

      2.    Statement 3. The obligations of the Debtors are primarily paid by and through
            J. Crew Operating Corp., notwithstanding the fact that certain obligations may be
            obligations of one or more of the affiliated Debtors or non-Debtor affiliates.

            The payments disclosed in Statement 3 are based on payments made by the Debtors
            with payment dates from February 4, 2020 to May 4, 2020. The actual dates that
            cash cleared the Debtors’ bank accounts may differ based on the form of payment.
            The Debtors’ accounts payable system does not include the corresponding payment
            clear dates and compiling this data would have required a significant manual review
            of individual bank statements. It is expected, however, that many payments
            included in Statement 3 have payment clear dates that are the same as payment
            dates (e.g., wires and other forms of electronic payments).

            The responses to Statement 3 exclude certain disbursements or transfers to creditors
            otherwise listed in Statement 9, Statement 11, and payments made on account of
            certain employee obligations including, but not limited to, medical costs and
            business expense reimbursements.

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      3.   Statement 4. The Debtors reserve all rights with respect to the determination or
           status of a person as an “insider” as defined in section 101(13) of the Bankruptcy
           Code. For more information regarding each Debtor’s officers and directors, see
           Statement 28 and Statement 29.

           Question 4 of the Statements does not account for merchandise that may have been
           moved between the Debtors’ locations because such transfers are recorded through
           ordinary course accounting entries.

           The payroll-related amount shown in response to this question, which includes,
           among other things, salary, wage, additional compensation, is a gross amount that
           does not include reductions for amounts including employee tax or benefit
           withholdings. In the ordinary course of business, certain corporate or personal
           credit cards may be utilized by insiders to pay for travel and business-related
           expenses for various other individuals employed by the Debtors. As it would be
           unduly burdensome for the Debtors to analyze which credit card expenses related
           to those incurred on behalf of an insider as opposed to another employee (or the
           Debtors), the Debtors have listed the aggregate amount paid for such expenses.
           Amounts still owed to creditors will appear on the Schedules for each of the
           Debtors.

      4.   Statement 5. On occasion, the Debtors may return damaged or unsatisfactory
           goods to vendors in the ordinary course of business. Other than ordinary course
           items, the Debtors are not aware of any property that has been returned to the seller.

      5.   Statement 6. The Debtors maintain certain customer programs, including return
           and refund programs pursuant to which customers may receive credits. Such
           transactions were not considered setoffs for the purpose of responding to Statement
           6, although the Debtors reserve all rights with respect thereto and make no
           admission of waiver thereby.

           The Debtors have otherwise used their reasonable efforts to reflect setoffs made by
           creditors without permission that they are aware of; however, there may be
           instances, including credits due to landlords, when such a setoff has occurred
           without the Debtors’ knowledge.

      6.   Statement 7. The Debtors reserve all of their rights and defenses with respect to
           any and all listed lawsuits and administrative proceedings. The listing of such suits
           and proceedings shall not constitute an admission by the Debtors of any liabilities
           or that the actions or proceedings were correctly filed against the Debtors or any
           affiliates of the Debtors. The Debtors also reserve their rights to assert that neither
           the Debtors nor any affiliate of the Debtors is an appropriate party to such actions
           or proceedings. Further, the Debtors operate in numerous jurisdictions and in the
           ordinary course of business may have disputed property valuations/tax assessments.
           The Debtors have not listed such disputes on Statement 7.



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      7.    Statement 10. The losses listed may exclude those incurred in the ordinary course
            of business or those where the amount is de minimis.

      8.    Statement 11. The Debtors have used reasonable efforts to identify payments for
            services of any entities who provided consultation concerning debt counseling or
            restructuring services, relief under the Bankruptcy Code or preparation of a petition
            in bankruptcy within one year immediately preceding the Petition Date, which are
            identified in J. Crew Operating Corp.’s response to Statement 11. Additional
            information regarding the Debtors’ retention of professional service firms is more
            fully described in the individual retention applications for those firms and related
            orders.

      9.    Statement 13. The Debtors may, from time to time and in the ordinary course of
            business, transfer equipment and other assets and sell certain equipment and other
            assets to third parties. These types of ordinary course transfers have not been
            disclosed in Statement 13. The Debtors further do not take any position with
            respect to whether transfers identified in response to Statement 13 are made in the
            ordinary course of business. Certain transfers listed in this response are included
            solely out of an abundance of caution.

            If the Debtors vacated store locations during the three years immediately preceding
            the Petition Date, information on these former store locations is contained in the
            Debtors’ response to Statement 14.

      10.   Statement 21. In the ordinary course of business, the Debtors’ corporate and retail
            locations contain various equipment and items owned by others including copy
            machines and computer hardware. Additionally, the Debtors utilize leased property
            in their ordinary course of business. Therefore, the Debtors hold property subject
            to leases listed on the Debtors’ Schedule G.

            Certain of the Debtors’ vendors sell inventory and fulfill orders through the
            Debtors’ e-commerce platforms (such vendors, the “Marketplace Vendors”). The
            Debtors do not physically possess the inventory at any time; however, the Debtors
            collect payment for the goods sold through their e-commerce platforms and pay the
            Marketplace Vendors on a monthly (or, at the Debtors’ option, more frequent) basis
            the proceeds of any goods sold, less a commission and other amounts due to the
            Debtors. Out of an abundance of caution, the Debtors have included the property
            of the Marketplace Vendors in the Debtors’ response to Statement 21, although the
            Debtors have indicated that the value of such property is “unknown” or
            “undetermined.” Although reasonable efforts have been made to ensure the
            accuracy of Statement 21, review is ongoing and inadvertent errors, omissions or
            overinclusion may have occurred.

      11.   Statement 26(d). The Debtors provided financial statements in the ordinary course
            of business to certain parties for business, statutory, credit, financing and other
            reasons. Recipients have included regulatory agencies, financial institutions,


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            investment banks, debtholders, and their legal and financial advisors. Financial
            statements have also been provided to other parties as requested.

      12.   Statement 27. The amounts listed in the response to Statement 27 include all
            inventory held by the Debtors in retail locations.

      13.   Statement 29. Disclosures relate specifically to terminated job titles or positions
            and are not indicative of the individuals’ current employment status with the
            Debtors.

      14.   Statement 30. Any and all known disbursements to insiders of the Debtors have
            been listed in the response to Statement 4. The items listed under Statement 30
            incorporate by reference any items listed under Statement 4, and vice versa.




                                   ***********************




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Debtor Name               J. Crew Group, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                         20-32185

                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



  Part 1:         Summary of Assets


  1. Schedule A/B: Assets - Real and Personal Property                                   (Official Form 206A/B)

    1a. Real property:
        Copy line 88 from Schedule A/B.......................................................................................................................                               $0.00



    1b. Total personal property:
        Copy line 91A fromSchedule A/B.....................................................................................................................                       $16,007,934.38



    1c. Total of all property:
        Copyline 92 from Schedule A/B.......................................................................................................................                      $16,007,934.38




  Part 2:         Summary of Liabilities




    2.    Schedule D: Creditors Who Have Claims Secured by Property             (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...........................                                                $1,710,417,991.79



    3.    Schedule E/F: Creditors Who Have Unsecured Claims                                      (Official Form 206E/F)


         3a. Total of amounts of priority unsecured claims:
             Copy the total claims from Part 1 from the line 5a of Schedule E/F.............................................................                                          $930,859.19



         3b. Total amount of claims of nonpriority amount of unsecured claims:
             Copy the total amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                     +    $625,497,127.29




         4.   Total liabilities .........................................................................................................................................       $2,336,845,978.27
              Lines 2 + 3a + 3b
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Debtor Name            J. Crew Group, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                20-32185
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing
Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases         (Official Form 206G).

Be complete and accurate as possible. If more space is needed, attach a separate spreadsheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the approriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest,
do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:        Cash and cash equivalents




 1.      Does the debtor have any cash or cash equivalents?


            No. Go to Part 2.

            Yes. Fill in the information below.



              All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                                      debtor's interest
 2.      Cash on hand



 3.      Checking, savings, money market, or financial brokerage accounts
         Name of institution (bank or brokerage firm)                   Type of account                     Last 4 digits of account number

   3.1       US Bank                                                     Payroll                             2966                         $14,081,240.90


 4.      Other cash equivalents




 5.      Total of Part 1
                                                                                                                                          $14,081,240.90
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


Part 2:        Deposits and prepayments




 6.      Does the debtor have any deposits or prepayments?




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                 Page 1
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Debtor J. Crew Group, Inc.                                                                                 Case Number (if known) 20-32185


            No. Go to Part 3.

            Yes. Fill in the information below.



                                                                                                                                     Current value of
                                                                                                                                     debtor's interest
 7.      Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit




 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

   8.1       Prepaid Insurance                       Various - Willis                                                                        $29,031.88


   8.2       Prepaid Insurance                       Various - Willis                                                                         $1,777.36


   8.3       Prepaid Supplies                        Assembly supplies - operating and                                                    $1,868,168.73
                                                     boxes (i.e.corrugate)
                                                     Various

   8.4       Prepaid Rents                           San Antonio Rent, BA21                                                                  $27,715.51




 9.      Total of Part 2
                                                                                                                                          $1,926,693.48
         Add lines 7 through 8. Copy the total to line 81.


Part 3:        Accounts Receivable




 10. Does the debtor have any accounts receivable?


            No. Go to Part 4.

            Yes. Fill in the information below.



                                                                                                                                     Current value of
                                                                                                                                     debtor's interest
 11. Accounts receivable


      11a. 90 days old or less:                                                   -                                   =
                                            face amount                               doubtful or uncollectible accounts
      11b. Over 90 days old:                                                      -                                   =
                                            face amount                               doubtful or uncollectible accounts



 12. Total of Part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                Page 2
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Debtor J. Crew Group, Inc.                                                                         Case Number (if known) 20-32185

Part 4:      Investments




 13. Does the debtor own any investments?


          No. Go to Part 5.

          Yes. Fill in the information below.



                                                                                                         Valuation method         Current value of
                                                                                                         used for current value   debtor's interest
 14. Mutual funds of publicly traded stocks not included in Part 1
      Name of fund or stock:




 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
      Name of entity:                                           % of ownership:

   15.1   J. Crew Operating Corp.                                     100%


 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:




 17. Total of Part 4
      Add lines 14 through 16. Copy the total to line 83.


Part 5:      Inventory, excluding agricultural assets




 18. Does the debtor own any inventory (excluding agricultual assets)?


          No. Go to Part 6.

          Yes. Fill in the information below.



           General description                   Date of the last      Net book value of                 Valuation method         Current value of
                                                 physical inventory    debtor's interest                 used for current value   debtor's interest
 19. Raw Materials




 20. Work in progress




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 3
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 21. Finished goods, including goods held for resale




 22. Other inventory or supplies




 23. Total of Part 5
      Add lines 19 through 22. Copy the total to line 84.




 24. Is any of the property listed in Part 5 perishable?


          No.

          Yes.




 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.       Book Value $                           Valuation Method                       Current Value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?


          No.

          Yes.



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)




 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


          No. Go to Part 7.

          Yes. Fill in the information below.



           General description                                         Net book value of                 Valution method used   Current value of
                                                                       debtor's interest                 for current value      debtor's interest
 28. Crops - either planted of harvested




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                              Page 4
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29. Farm animals
     Examples: Livestock, poultry, farm-raised fish




30. Farm machinery and equipment
     (Other than titled motor vehicles)




31. Farm and fishing supplies, chemicals, and feed




32. Other farming and fishing-related property not already listed in Part 6




33. Total of Part 6
     Add lines 28 through 32. Copy the total to line 85.




34. Is the debtor a member of an agricultural cooperative?


        No.

        Yes.




     Is any of the debtor's property stored at the cooperative?


        No.

        Yes.




35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?


        No.

        Yes.       Book Value $                            Valuation Method                         Current Value $



36. Is a depreciation schedule available for any of the property listed in Part 6?




  Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                          Page 5
                Case 20-32185-KLP                Doc 10 Filed 06/12/20 Entered 06/12/20 20:23:49                                       Desc Main
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Debtor J. Crew Group, Inc.                                                                                 Case Number (if known) 20-32185


          No.

          Yes.




 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


          No.

          Yes.



Part 7:      Office furniture, fixtures, and equipment; and collectibles




 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


          No. Go to Part 8.

          Yes. Fill in the information below.



           General description                                           Net book value of                        Valuation method           Current value of
                                                                         debtor's interest                        used for current value     debtor's interest
 39. Office furniture




 40. Office fixtures




 41. Office equipment, including all computer equipment and communication systems equipment and software




 42. Collectibles
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or
      baseball card collections; other collections, memorabilia, or collectibles




 43. Total of Part 7.
      Add lines 39 through 42. Copy the total to line 86.




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                          Page 6
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Debtor J. Crew Group, Inc.                                                                               Case Number (if known) 20-32185


 44. Is a depreciation schedule available for any of the property listed in Part 7?


          No.

          Yes.




 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


          No.

          Yes.



Part 8:      Machinery, equipment, and vehicles




 46. Does the debtor own or lease any machinery, equipment, or vehicles?


          No. Go to Part 9.

          Yes. Fill in the information below.



           General description                                         Net book value of                       Valuation method         Current value of
                                                                       debtor's interest                       used for current value   debtor's interest
 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles



   47.1   1985 GMC Brigadier                                                                    Undetermined   Net Book Value                 Undetermined


 48. Watercraft, trailers, motors, and related accessories
      Examples: Boats, trailers, motors, floating homes, personal watercraft, fishing vessels




 49. Aircraft and accessories




 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                      Page 7
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Debtor J. Crew Group, Inc.                                                                               Case Number (if known) 20-32185




 52. Is a depreciation schedule available for any of the property listed in Part 8?


          No.

          Yes.




 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?


          No.

          Yes.



Part 9:      Real property




 54. Does the debtor own or lease any real property?


          No. Go to Part 10.

          Yes. Fill in the information below.




 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


      Description and location of property                Nature and extent of    Net book value of debtor's Valuation method       Current value of
                                                          debtor's interest in    interest                   used for current value debtor's interest
                                                          property




 56. Total of Part 9.
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




 57. Is a depreciation schedule available for any of the property listed in Part 9?


          No.

          Yes.




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                 Page 8
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Debtor J. Crew Group, Inc.                                                                          Case Number (if known) 20-32185


 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?


           No.

           Yes.



Part 10:      Intangibles and intellectual property




 59. Does the debtor have any interests in intangibles or intellectual property?


           No. Go to Part 11.

           Yes. Fill in the information below.



            General description                                       Net book value of                   Valuation method         Current value of
                                                                      debtor's interest                   used for current value   debtor's interest
 60. Patents, copyrights, trademarks, or trade secrets




 61. Internet domain names and websites




 62. Licenses, franchises, and royalties




 63. Customer lists, mailing lists, or other compilations



   63.1    Customer information that may be identified through                 N/A                        N/A                                      N/A
           browser or device


 64. Other intangibles, or intellectual property




 65. Goodwill




 66. Total of Part 10.
      Add lines 60 through 65. Copy the total to line 89.




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                Page 9
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Debtor J. Crew Group, Inc.                                                                                Case Number (if known) 20-32185




 67. Do your lists or records include personally identifiable information of customers?


           No.

           Yes.




 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?


           No.

           Yes.




 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


           No.

           Yes.



Part 11:      All other assets




 70. Does the debtor own any other assets that have not yet been reported on this form?


           No. Go to Part 12.

           Yes. Fill in the information below.



                                                                                                                                    Current value of
                                                                                                                                    debtor's interest
 71. Notes receivable
      Description (include name of obligor)

                                                                                      -                                 =

                                                                 Total face amount        Doubtful or uncollectible amount
 72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)




 73. Interests in insurance policies or annuities




   Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                              Page 10
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Debtor J. Crew Group, Inc.                                                                              Case Number (if known) 20-32185



74. Causes of action against third parties (whether or not a lawsuit has
    been filed)




      Nature of claim              Trademarks - Opposition (J. Crew International, Inc. v. Appealtree Infrastructure Private Limited)
      Amount Requested              N/A
75. Other contingent and unliquidated claims or causes of action of every
    nature, including counterclaims of the debtor and rights to set off
    claims




      Nature of claim
      Amount Requested
76. Trusts, equitable or future interests in property




77. Other property of any kind not already listed
     Examples: Season tickets, country club membership




78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


        No.

        Yes.




  Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                   Page 11
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Debtor J. Crew Group, Inc.                                                                                                      Case Number (if known) 20-32185

Part 12:    Summary

           Type of property                                                                        Current value of                                        Current value of
                                                                                                   personal property                                       real property


   80. Cash, cash equivalents, and financial assets.              Copy line 5, Part 1.                      $14,081,240.90


   81. Deposits and prepayments.          Copy line 9, Part 2.                                               $1,926,693.48


   82. Accounts receivable.       Copy line 12, Part 3.


   83. Investments. Copy line 17, Part 4.


   84. Inventory. Copy line 23, Part 5.


   85. Farming and fishing-related assets.          Copy line 33, Part 6.



   86. Office furniture, fixtures, and equipment; and collectibles.
       Copy line 43, Part 7.


   87. Machinery, equipment, and vehicles.             Copy line 51, Part 8.


   88. Real Property.      Copy line 56, Part 9.



   89. Intangibles and intellectual property.          Copy line 66, Part 10.


   90. All other assets.      Copy line 78, Part 11.



   91. Total. Add lines 80 through 90 for each column.                                    91a.                $16,007,934.38             + 91b.                             $0.00



   92. Total of all property on Schedule A/B.          Lines 91a + 91b = 92..............................................................................................     $16,007,934.38




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                                                     Page 12
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                                                              Document    Page 32 of 292
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                  20-32185                                                                                                              Check if this is an
                                                                                                                                                               amended filing
Official Form 206D
Schedule D - Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
   X Yes. Fill in all of the information below.
  Part 1:         List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one
                                                                                                                                       Amount of Claim            Value of collateral
   secured claim, list the creditor separately for each claim.                                                                           Do not deduct the        that supports this
                                                                                                                                         value of collateral      claim
2.1   Creditor's name                                                  Describe debtor's property that is subject to a lien
      BANK OF AMERICA, NA                                              SUBSTANTIALLY ALL OF DEBTOR’S ASSETS
                                                                                                                                           $309,093,952.11                UNKNOWN
      Creditor's mailing address
      ATTN: REA
      901 MAIN ST, 20TH FL
      DALLAS, TX 75202
                                                                       Describe the lien

                                                                        ABL Credit Facility
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 3/7/2011                                      No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Specify each creditor, including this               As of the petition filing date, the claim is:
              creditor, and its relative priority.
                                                                           Contingent
                                                                           Unliquidated
          See Global Notes
                                                                           Disputed




2.2   Creditor's name                                                  Describe debtor's property that is subject to a lien
      BANK OF AMERICA, NA                                              SUBSTANTIALLY ALL OF DEBTOR’S ASSETS
                                                                                                                                             $63,960,717.93               UNKNOWN
      Creditor's mailing address
      ATTN: REA
      901 MAIN ST, 20TH FL
      DALLAS, TX 75202
                                                                       Describe the lien

                                                                        Letter of Credit (ABL security)
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 3/7/2011                                      No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines




 Official Form 206D                                        Schedule D: Creditors Who Have Claims Secured by Property                                  1 of 3
              Case 20-32185-KLP                         Doc 10 Filed 06/12/20 Entered 06/12/20 20:23:49                                                  Desc Main
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Debtor Name           J. Crew Group, Inc.                                                                                Case number (if known): 20-32185


  Part 1:         Additional Page(s)
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                      Amount of Claim          Value of collateral
  previous page.                                                                                                                       Do not deduct the        that supports this
                                                                                                                                       value of collateral      claim

2.3   Creditor's name                                                  Describe debtor's property that is subject to a lien
      CANON FINANCIAL SERVICES, INC                                    EQUIPMENT
                                                                                                                                                UNKNOWN                 UNKNOWN
      Creditor's mailing address
      158 GAITHER DR, STE 200
      MT LAUREL, NJ 08054
                                                                       Describe the lien

                                                                        UCC Lien
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 12/8/2016                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines

2.4   Creditor's name                                                  Describe debtor's property that is subject to a lien
      CCA FINANCIAL, LLC                                               PERSONAL PROPERTY
                                                                       IDENTIFIED IN MASTER LEASE AGREEMENT DATED                               UNKNOWN                 UNKNOWN
      Creditor's mailing address                                       AS OF NOVEMBER 3, 2005 (NO. 6073)
      7275 GLEN FOREST DR, STE 100
      RICHMOND, VA 23226
                                                                       Describe the lien

                                                                        UCC Lien
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 11/9/2005                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines




 Official Form 206D                                     Schedule D: Creditors Who Have Claims Secured by Property                                      2 of 3
              Case 20-32185-KLP                         Doc 10 Filed 06/12/20 Entered 06/12/20 20:23:49                                                     Desc Main
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Debtor Name            J. Crew Group, Inc.                                                                               Case number (if known): 20-32185


  Part 1:         Additional Page(s)
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                        Amount of Claim          Value of collateral
   previous page.                                                                                                                         Do not deduct the        that supports this
                                                                                                                                          value of collateral      claim

2.5   Creditor's name                                                  Describe debtor's property that is subject to a lien
      RAYMOND LEASING CORP                                             EQUIPMENT
                                                                                                                                                   UNKNOWN                 UNKNOWN
      Creditor's mailing address
      CORPORATE HEADQUARTERS
      P.O. BOX 130
      GREENE, NY 13778
                                                                       Describe the lien

                                                                        UCC Lien
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 5/22/2019                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines

2.6   Creditor's name                                                  Describe debtor's property that is subject to a lien
      WILMINGTON SAVINGS FUND SOCIETY, FSB                             SUBSTANTIALLY ALL OF DEBTOR’S ASSETS
                                                                                                                                             $1,337,363,321.75             UNKNOWN
      Creditor's mailing address
      500 DELAWARE AVE
      WILMINGTON, DE 19801
                                                                       Describe the lien

                                                                        Term Loan
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 3/5/2014                                      No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
          See Global Notes
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $1,710,417,991.79
   Additional Page, if any.




 Official Form 206D                                     Schedule D: Creditors Who Have Claims Secured by Property                                         3 of 3
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United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):               20-32185                                                                                         Check if this is an
                                                                                                                                       amended filing
Official Form 206E/F
Schedule E/F - Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

  Part 1:        List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?
       No. Go to Part 2.
      X Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                                Total claim             Priority amount
                                                                                                                    UNKNOWN                     UNKNOWN
2.1        Priority creditor's name and mailing address         As of the petition filing date, the claim is:
           ARIZONA DEPT OF REVENUE
           1600 W MONROE ST                                      X Contingent
           PHOENIX, AZ 85007                                     X Unliquidated
                                                                 X Disputed

                                                                Basis for the claim:
           Date or dates debt was incurred
                                                                TAXES
           Unknown

           Last 4 digits of account
           number                                               Is the claim subject to offset?
                                                                     No
           Specify Code subsection of PRIORITY unsecured             Yes
           claim: 11 U.S.C. § 507(a) ( 8    )
                                                                                                                    UNKNOWN                     UNKNOWN
2.2        Priority creditor's name and mailing address         As of the petition filing date, the claim is:
           CALIFORNIA STATE BOARD OF EQUALIZATION
           LEGAL DEPT, MIC:121                                   X Contingent
           450 N ST                                              X Unliquidated
           P.O. BOX 942879
           SACRAMENTO, CA 94279-0029                             X Disputed

                                                                Basis for the claim:
           Date or dates debt was incurred
                                                                TAXES
           Unknown

           Last 4 digits of account
           number                                               Is the claim subject to offset?
                                                                     No
           Specify Code subsection of PRIORITY unsecured             Yes
           claim: 11 U.S.C. § 507(a) ( 8    )
                                                                                                                    UNKNOWN                     UNKNOWN
2.3        Priority creditor's name and mailing address         As of the petition filing date, the claim is:
           COLORADO DEPT OF REVENUE
           P.O. BOX 17087                                        X Contingent
           DENVER, CO 80217-0087                                 X Unliquidated
                                                                 X Disputed

                                                                Basis for the claim:
           Date or dates debt was incurred
                                                                TAXES
           Unknown

           Last 4 digits of account
           number                                               Is the claim subject to offset?
                                                                     No
           Specify Code subsection of PRIORITY unsecured             Yes
           claim: 11 U.S.C. § 507(a) ( 8    )




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                1 of 9
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   Part 1:       Additional Page
                                                                                                               Total claim        Priority amount


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:   $295,384.62               $13,650.00
          DAN WINKWORTH
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )
                                                                                                                UNKNOWN                  UNKNOWN
2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:
          DISTRICT OF COLUMBIA
          CONSUMER PROTECTION DIVISION                          X Contingent
          1100 4TH ST, SW                                       X Unliquidated
          WASHINGTON, DC 20024
                                                                X Disputed

                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               TAXES
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 8    )

2.6       Priority creditor's name and mailing address         As of the petition filing date, the claim is:   $154,807.71               $13,650.00
          GAYLE SPANNAUS
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )
                                                                                                                UNKNOWN                  UNKNOWN
2.7       Priority creditor's name and mailing address         As of the petition filing date, the claim is:
          ILLINOIS DEPT OF REVENUE
          P.O. BOX 19035                                        X Contingent
          SPRINGFIELD, IL 62794-9035                            X Unliquidated
                                                                X Disputed

                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               TAXES
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 8    )




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                           2 of 9
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Debtor Name            J. Crew Group, Inc.             Document    Page 37 of 292Case number (if known): 20-32185
   Part 1:       Additional Page
                                                                                                               Total claim        Priority amount


2.8       Priority creditor's name and mailing address         As of the petition filing date, the claim is:   $240,384.78               $13,650.00
          JAMES BRETT
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )

2.9       Priority creditor's name and mailing address         As of the petition filing date, the claim is:    $16,666.66               $13,650.00
          JOHANNA NICOLOIS
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )
                                                                                                                UNKNOWN                  UNKNOWN
2.10      Priority creditor's name and mailing address         As of the petition filing date, the claim is:
          KANSAS DEPT OF REVENUE
          P.O. BOX 3506                                         X Contingent
          TOPEKA, KS 66625-3506                                 X Unliquidated
                                                                X Disputed

                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               TAXES
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 8    )

2.11      Priority creditor's name and mailing address         As of the petition filing date, the claim is:    $88,846.13               $13,650.00
          KAREN CLEMENT
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                           3 of 9
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Debtor Name            J. Crew Group, Inc.             Document    Page 38 of 292Case number (if known): 20-32185
   Part 1:       Additional Page
                                                                                                               Total claim        Priority amount


2.12      Priority creditor's name and mailing address         As of the petition filing date, the claim is:     $3,115.39                   $0.00
          KAREN KRIGSMAN
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )
                                                                                                                UNKNOWN                  UNKNOWN
2.13      Priority creditor's name and mailing address         As of the petition filing date, the claim is:
          MAINE REVENUE SERVICES
          P.O. BOX 9107                                         X Contingent
          AUGUSTA, ME 04332-9107                                X Unliquidated
                                                                X Disputed

                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               TAXES
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 8    )

2.14      Priority creditor's name and mailing address         As of the petition filing date, the claim is:   $131,653.90                $9,403.85
          MICHAEL DEMARTINI
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )
                                                                                                                UNKNOWN                  UNKNOWN
2.15      Priority creditor's name and mailing address         As of the petition filing date, the claim is:
          NEW YORK DEPT OF TAXATION & FINANCE
          BANKRUPTCY SECTION                                    X Contingent
          P.O. BOX 5300                                         X Unliquidated
          ALBANY, NY 12205-0300
                                                                X Disputed

                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               TAXES
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 8    )




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                           4 of 9
                Case 20-32185-KLP                Doc 10 Filed 06/12/20 Entered 06/12/20 20:23:49 Desc Main
Debtor Name            J. Crew Group, Inc.             Document    Page 39 of 292Case number (if known): 20-32185
   Part 1:       Additional Page
                                                                                                               Total claim       Priority amount

                                                                                                               UNKNOWN                  UNKNOWN
2.16      Priority creditor's name and mailing address         As of the petition filing date, the claim is:
          TEXAS COMPTROLLER OFFICE
          CAPITOL STATION                                       X Contingent
          P.O. BOX 13528                                        X Unliquidated
          AUSTIN, TX 78711-3528
                                                                X Disputed

                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               TAXES
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 8    )
                                                                                                               UNKNOWN                  UNKNOWN
2.17      Priority creditor's name and mailing address         As of the petition filing date, the claim is:
          YU-YAN FAN
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
                                                               Basis for the claim:
          Date or dates debt was incurred
                                                               EMPLOYEE
          Unknown

          Last 4 digits of account
          number                                               Is the claim subject to offset?
                                                                    No
          Specify Code subsection of PRIORITY unsecured             Yes
          claim: 11 U.S.C. § 507(a) ( 4    )




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                          5 of 9
                Case 20-32185-KLP                Doc 10 Filed 06/12/20 Entered 06/12/20 20:23:49 Desc Main
Debtor Name            J. Crew Group, Inc.             Document    Page 40 of 292 Case number (if known): 20-32185
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim

3.1      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   Unknown
         AHMED KAMAL
         C/O FRANK LLP                                                    X Contingent
         ATTN: MARVIN L FRANK
         370 LEXINGTON AVE
                                                                          X Unliquidated
         NEW YORK, NY 10017                                               X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION

         1/9/2015
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.2      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   Unknown
         ANITA PARKER
         C/O CLIFFORD LAW OFFICES PC                                      X Contingent
         ATTN: SHANNON M MCNULTY
         120 N LASALLE, STE 3100
                                                                          X Unliquidated
         CHICAGO, IL 60602                                                X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION

         10/6/2016
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.3      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   Unknown
         BH, BY HER MOTHER AND NATURAL GUARDIAN, PERELE HOROWITZ, ET
         C/O THE LAW OFFICES OF JOSEPH MONACO, PC                         X Contingent
         ATTN: JOSEPH D MONACO
         7 PENN PLZ, STE 1606
                                                                          X Unliquidated
         NEW YORK, NY 10001                                               X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION

         1/10/2017
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.4      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   Unknown
         CENTER FOR ENVIRONMENTAL HEALTH
         C/O LEXINGTON LAW GROUP                                          X Contingent
         ATTN: LUCAS WILLIAMS
         503 DIVISADERO ST
                                                                          X Unliquidated
         SAN FRANCISCO, CA 94117                                          X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION

         9/12/2019
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                            6 of 9
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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                   Amount of claim


3.5      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   UNKNOWN
         CHINOS HOLDINGS INC.
         225 LIBERTY ST                                                    X Contingent
         NEW YORK, NY 10281
                                                                              Unliquidated
                                                                           X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MANAGEMENT SERVICES

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.6      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    Unknown
         CRAIG REALITY GROUP-SILVERTHORNE, LLC
         C/O DAVIS GRAHAM & STUBBS LLP                                     X Contingent
         ATTN: THOMAS C BELL
         1550 17TH ST, STE 500
                                                                           X Unliquidated
         DENVER, CO 80202                                                  X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION

         8/26/2019
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.7      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    Unknown
         EASTVIEW MALL, LLC
         C/O HARRIS BEACH PLLC                                             X Contingent
         99 GARNSEY RD
         PITTSFORD, NY 14538
                                                                           X Unliquidated
                                                                           X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION

         6/25/2018
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.8      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    Unknown
         EATON VANCE ET AL
         C/O BROWN RUDNICK LLP                                             X Contingent
         ATTN: SIGMUND S WISSNER-GROSS
         7 TIMES SQ
                                                                           X Unliquidated
         NEW YORK, NY 10036                                                X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION

         2/1/2017
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                            7 of 9
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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                   Amount of claim


3.9      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $21,513.29
         SAFEWAY INDUSTRIES, INC
         AKA SAFEWAY WRECKING CORP                                         X Contingent
         C/O ROBERT GIUSTI, ESQ
         42-40 BELL BLVD, STE 601
                                                                           X Unliquidated
         BAYSIDE, NY 11362                                                 X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION

         7/24/2015
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.10     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     Unknown
         WESLEY N MARTIN
         PRO SE                                                            X Contingent
         20905 HART ST
         CANOGA PARK, CA 91303
                                                                           X Unliquidated
                                                                           X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION

         2/26/2019
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.11     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:              $625,475,614.00
         WILMINGTON SAVINGS FUND SOCIETY, FSB
         500 DELAWARE AVE                                                     Contingent
         WILMINGTON, DE 19801
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   UNSECURED DEFICIENCY ON THE TERM LOAN

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                            8 of 9
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   Part 4:        Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1                                                                                $930,859.19


5b. Total claims from Part 2                                                                           $625,497,127.29



5c. Total claims of Parts 1 and 2
                                                                                                       $626,427,986.48
    Lines 5a + 5b = 5c




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims     9 of 9
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Debtor Name           J. Crew Group, Inc.
                                                        Document    Page 44 of 292
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                20-32185


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B)


                                                                                            State the name and mailing address for all other parties with
 2. List all contracts and unexpired leases                                                 whom the debtor has an executory contract or unexpired lease

         State what the contract or     LEASE AGREEMENT                                      100 GALLERIA OFFICENTRE
         lease is for and the nature                                                         SUITE 427
2.1                                                                                          SOUTHFIELD, MI 48034
         of the debtor's interest


         State the term remaining       10/15/2014 - 01/31/2025
         List the contract number of
         any government contract


         State what the contract or     LEASE AGREEMENT                                      1618 14TH STREET NW, LLC
         lease is for and the nature                                                         ATTN: STEPHEN JAFFE
2.2                                                                                          9464 NEWBRIDGE RD
         of the debtor's interest
                                                                                             POTOMAC, MD 20854


         State the term remaining       08/10/2016 - 01/31/2026
         List the contract number of
         any government contract


         State what the contract or     MASTER AGREEMENT                                     24 SEVEN, INC.
         lease is for and the nature    J.CREW GROUP, INC. STAFFING SERVICES                 ATTN: LISA MARIE RINGUS
2.3                                     AGREEMENT                                            120 WOOSTER ST FL 5
         of the debtor's interest
                                                                                             NEW YORK, NY 10012


         State the term remaining       11/01/2013 - 11/01/2016
         List the contract number of
         any government contract


         State what the contract or     FIRST AMENDMENT TO LEASE                             264 KING STREET LLC
         lease is for and the nature                                                         275 MADISON AVE, STE 1100
2.4                                                                                          NEW YORK, NY 10016
         of the debtor's interest


         State the term remaining       05/25/2016 - 01/31/2024
         List the contract number of
         any government contract


         State what the contract or     SERVICE LICENSE AGREEMENT                            3 TREE SOLUTIONS PVT LTD
         lease is for and the nature    SOFTWARE AS A SERVICE (SAAS) LICENSE                 75 KM
2.5                                     AGREEMENT                                            RAIWIND RD
         of the debtor's interest
                                                                                             , LAHORE 54000
                                                                                             PAKISTAN

         State the term remaining       02/18/2019 - N/A
         List the contract number of
         any government contract



  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                         Page 1 of 130
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          Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease
          State what the contract or    STORAGE LEASE                                30 EAST 85TH STREET COMPANY
          lease is for and the nature   INDENTURE OF LEASE                           C/O 103 WEST 55TH ST
2.6                                                                                  NEW YORK, NY 10019
          of the debtor's interest


          State the term remaining      01/27/2014 - 01/31/2024
          List the contract number of
          any government contract


          State what the contract or    LEASE AGREEMENT                              38 LAMBS CONDUIT LLP
          lease is for and the nature   LEASE ABSTRACT                               48 SOUTHAMPTON BUILDINGS
2.7                                                                                  LONDON, WC2A 1AP
          of the debtor's interest
                                                                                     UNITED KINGDOM


          State the term remaining      07/15/2013 - 07/14/2023
          List the contract number of
          any government contract


          State what the contract or    LEASE REPORT                                 38 LAMBS CONDUIT LLP
          lease is for and the nature                                                48 SOUTHAMPTON BUILDINGS
2.8                                                                                  LONDON, WC2A 1AP
          of the debtor's interest
                                                                                     UNITED KINGDOM


          State the term remaining      06/28/2013 - 07/14/2023
          List the contract number of
          any government contract


          State what the contract or    AMENDMENT OF LEASE                           480-486 BROADWAY, LLC
          lease is for and the nature                                                C/O VORNADO REALTY TRUST
2.9                                                                                  888 SEVENTH AVE
          of the debtor's interest
                                                                                     NEW YORK, NY 10019


          State the term remaining      01/31/2019 - 01/31/2024
          List the contract number of
          any government contract


          State what the contract or    AMENDMENT OF LEASE                           480-486 BROADWAY, LLC
          lease is for and the nature                                                C/O VORNADO REALTY LP
2.10                                                                                 ATTN: EXECUTIVE VICE PRESIDENT - RETAIL
          of the debtor's interest
                                                                                     888 SEVENTH AVE
                                                                                     NEW YORK, NY 10019

          State the term remaining      01/31/2019 - 01/31/2024
          List the contract number of
          any government contract


          State what the contract or    AMENDMENT OF LEASE                           480-486 BROADWAY, LLC
          lease is for and the nature                                                C/O VORNADO REALTY LP
2.11                                                                                 ATTN: CHIEF FINANCIAL OFFICER
          of the debtor's interest
                                                                                     210 ROUTE 4 EAST
                                                                                     PARAMUS, NJ 07652

          State the term remaining      01/31/2019 - 01/31/2024
          List the contract number of
          any government contract




  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases              Page 2 of 130
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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LEASE AGREEMENT                              50 HUDSON LLC
       lease is for and the nature   GRACE HOLMES, INC. STANDARD FORM LEASE       ATTENTION: ERIC SCHLAGMAN
2.12                                 STREET LOCATION                              2 CHARLTON ST
       of the debtor's interest
                                                                                  UNIT 15G
                                                                                  NEW YORK, NY 10014

       State the term remaining      09/28/2010 -01/31/2021
       List the contract number of
       any government contract


       State what the contract or    FIRST AMENDMENT TO LEASE                     60 GRAHAM LLC
       lease is for and the nature                                                275 MADISON AVE, STE 1100
2.13                                                                              NEW YORK, NY 10016
       of the debtor's interest


       State the term remaining      05/25/2016 - 01/31/2024
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              770 BROADWAY OWNER LLC
       lease is for and the nature                                                C/O VORNADO OFFICE MANAGEMENT LLC
2.14                                                                              888 SEVENTH AVE
       of the debtor's interest
                                                                                  NEW YORK, NY 10019


       State the term remaining      12/30/2009 - 01/31/2021
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              770 BROADWAY OWNER LLC
       lease is for and the nature                                                ATTN: PRESIDENT - NEW YORK OFFICE DIVISION
2.15                                                                              888 SEVENTH AVE
       of the debtor's interest
                                                                                  NEW YORK, NY 10019


       State the term remaining      12/30/2009 - 01/31/2021
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              770 BROADWAY OWNER LLC
       lease is for and the nature                                                ATTN: CHIEF FINANCIAL OFFICER
2.16                                                                              VORNADO REALTY TRUST
       of the debtor's interest
                                                                                  210 ROUTE 4 EAST
                                                                                  PARAMUS, NJ 07652

       State the term remaining      12/30/2009 - 01/31/2021
       List the contract number of
       any government contract


       State what the contract or    STORAGE LEASE                                932 NORTH RUSH, L.L.C.
       lease is for and the nature                                                C/O THE ENTERPRISE COMPANIES
2.17                                                                              710 WEST OAKDALE AVE
       of the debtor's interest
                                                                                  CHICAGO, IL 60657


       State the term remaining      07/19/2017 - 05/31/2023
       List the contract number of
       any government contract




  Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases              Page 3 of 130
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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    FIRST AMENDMENT TO LEASE                     939 NORTH AVENUE COLLECTION, LLC
       lease is for and the nature                                                C/O US EQUITIES ASSET MGMT, LLC
2.18                                                                              939 W NORTH AVE
       of the debtor's interest
                                                                                  CHICAGO, IL 60622


       State the term remaining      07/31/2011 - 01/31/2023
       List the contract number of
       any government contract


       State what the contract or    RENEWAL                                      A.F. GILMORE COMPANY
       lease is for and the nature   LEASE                                        6301 W. 3RD ST
2.19                                                                              P.O. BOX 480314
       of the debtor's interest
                                                                                  LOS ANGELES, CA 90048


       State the term remaining      05/03/2011 - 05/03/2021
       List the contract number of
       any government contract


       State what the contract or    PRODUCT PURCHASE AGREEMENT                   ACCUTECH PACKAGING, INC
       lease is for and the nature                                                ATTN: MICHAEL KENEALLY
2.20                                                                              157 GREEN ST
       of the debtor's interest
                                                                                  FOXBORO, MA 02035


       State the term remaining      06/19/2018 - 06/19/2021
       List the contract number of
       any government contract


       State what the contract or    PRODUCT PURCHASE AGREEMENT                   ACCUTECH PACKAGING, INC.
       lease is for and the nature                                                ATTN: MICHAEL KENEALLY
2.21                                                                              157 GREEN ST
       of the debtor's interest
                                                                                  FOXBORO, MA 02035


       State the term remaining      06/19/2018 - 06/19/2021
       List the contract number of
       any government contract


       State what the contract or    PRODUCT PURCHASE AGREEMENT                   ACCUTECH PACKAGING, INC.
       lease is for and the nature                                                ATTN: MICHAEL KENEALLY
2.22                                                                              157 GREEN ST
       of the debtor's interest
                                                                                  FOXBORO, MA 02035


       State the term remaining      06/13/2019 - 12/31/2022
       List the contract number of
       any government contract


       State what the contract or    PRODUCT PURCHASE AGREEMENT                   ACCUTECH PACKAGING, INC.
       lease is for and the nature                                                ATTN: MICHAEL KENEALLY
2.23                                                                              157 GREEN ST
       of the debtor's interest
                                                                                  FOXBORO, MA 02035


       State the term remaining      06/03/2019 - 12/31/2021
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    AMENDMENT                                    ADECCO USA, INC.
       lease is for and the nature   AMENDMENT TO AGREEMENT AND AMENDMENT 3       ATTN: LEGAL DEPARTMENT
2.24                                 TO STATEMENT OF WORK #1                      175 BROAD HOLLOW RD
       of the debtor's interest
                                                                                  MELVILLE, NY 11747


       State the term remaining      06/15/2015 - N/A
       List the contract number of
       any government contract


       State what the contract or    AMENDMENT TO STAFFING SERVICES AGREEMENT     ADECCO USA, INC.
       lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
2.25                                                                              175 BROAD HOLLOW RD
       of the debtor's interest
                                                                                  MELVILLE, NY 11747


       State the term remaining      10/01/2013 - N/A
       List the contract number of
       any government contract


       State what the contract or    AMENDMENT                                    ADECCO USA, INC.
       lease is for and the nature   AMENDMENT 2 TO STATEMENT OF WORK # 1         ATTN: LEGAL DEPARTMENT
2.26                                                                              175 BROAD HOLLOW RD
       of the debtor's interest
                                                                                  MELVILLE, NY 11747


       State the term remaining      08/08/2014 - N/A
       List the contract number of
       any government contract


       State what the contract or    PROFESSIONAL SERVICES AGREEMENT              ADMIRAL COURIER SERVICES, INC
       lease is for and the nature                                                ATTN: RAY RAFEEK
2.27                                                                              CORPORATE 3 W 30TH ST
       of the debtor's interest
                                                                                  3RD FLOOR
                                                                                  NEW YORK, NY 10001

       State the term remaining      02/22/2019 - 02/22/2021
       List the contract number of
       any government contract


       State what the contract or    STATEMENT OF WORK                            ADMIRAL COURIER SERVICES, INC
       lease is for and the nature                                                ATTN: RAY RAFEEK
2.28                                                                              CORPORATE 3 W 30TH ST
       of the debtor's interest
                                                                                  3RD FLOOR
                                                                                  NEW YORK, NY 10001

       State the term remaining      02/25/2019 - 02/25/2021
       List the contract number of
       any government contract


       State what the contract or    MASTER AGREEMENT                             ADP, INC.
       lease is for and the nature   ADP, INC. NATIONAL ACCOUNT SERVICES MASTER   5800 WINDWARD PARKWAY
2.29                                 SERVICES AGREEMENT                           ALPHARETTA, GA 30005
       of the debtor's interest


       State the term remaining      01/01/2010 - N/A
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    THIRD AMENDMENT TO                           ADP, INC.
       lease is for and the nature   MASTER SERVICES AGREEMENT BETWEEN ADP,       5800 WINDWARD PARKWAY
2.30                                 INC. AND J. CREW GROUP, INC.                 ALPHARETTA, GA 30005
       of the debtor's interest


       State the term remaining      01/01/2010 - N/A
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              AG GEORGETOWN PARK HOLDINGS I, L.L.C
       lease is for and the nature                                                C/O VORNADO REALTY TRUST
2.31                                                                              888 SEVENTH AVE
       of the debtor's interest
                                                                                  NEW YORK, NY 10019


       State the term remaining      08/02/2012 - 01/31/2022
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              AG GEORGETOWN PARK HOLDINGS I, L.L.C
       lease is for and the nature                                                C/O VORNADO REALTY, LP
2.32                                                                              ATTN: EXECUTIVE VP-ADMINISTRATION & FINANCE & CFO
       of the debtor's interest
                                                                                  210 ROUTE 4 EAST
                                                                                  PARAMUS, NJ 07052

       State the term remaining      08/02/2012 - 01/31/2022
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AKAMAI TECHNOLOGIES INTERNATIONAL AG
       lease is for and the nature   AKAMAI SERVICE ORDER FORM                    ATTN: GENERAL COUNSEL
2.33                                                                              150 BROADWAY
       of the debtor's interest
                                                                                  CAMBRIDGE, MA 02142


       State the term remaining      04/01/2019 - 04/01/2022
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AKAMAI TECHNOLOGIES, INC
       lease is for and the nature   AKAMAI SERVICE ORDER FORM                    ATTN: GENERAL COUNSEL
2.34                                                                              150 BROADWAY
       of the debtor's interest
                                                                                  CAMBRIDGE, MA 02142


       State the term remaining      04/01/2019 - 04/01/2022
       List the contract number of
       any government contract


       State what the contract or    AMENDMENT TO AGREEMENT                       ALERT MEDIA, INC
       lease is for and the nature                                                3101 BEE CAVES RD
2.35                                                                              SUITE 324
       of the debtor's interest
                                                                                  AUSTIN, TX 78746


       State the term remaining      12/12/2016 - 12/31/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired
                                                                                        lease
       State what the contract or    SOURCING AGREEMENT                                 ALLURE SOURCING LTD
       lease is for and the nature   SOURCING AGENT AGREEMENT                           ROAD 48 GULSHAN 2
2.36                                                                                    DHAKA, 1212
       of the debtor's interest
                                                                                        BANGLADESH


       State the term remaining      12/11/2018 - N/A
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENTS                                   AMALL GOLDEN GREGORY LLP
       lease is for and the nature   RETAIL LEASE                                       ATTN: ABE J SCHEAR, ESQ
2.37                                                                                    171 17TH ST NW, STE 2100
       of the debtor's interest
                                                                                        ATLANTA, GA 30363


       State the term remaining      09/28/2012 - 01/31/2023
       List the contract number of
       any government contract


       State what the contract or    ADDENDUM                                   AMAZON.COM SERVICES, INC
       lease is for and the nature   LICENSE AND EXCLUSIVITY ADDENDUM TO VENDOR 410 TERRY AVE N
2.38                                 AGREEMENT                                  SEATTLE, WA 98109
       of the debtor's interest


       State the term remaining      06/28/2018 - 06/28/2021
       List the contract number of
       any government contract


       State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   AMERICAN & EFIRD LLC
       lease is for and the nature                                                      211 EAST 43RD ST, STE 637
2.39                                                                                    NEW YORK, NY 10017
       of the debtor's interest


       State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                                   AMERICAN GUARANTEE AND LIABILITY INSURANCE COMPANY
       lease is for and the nature   FOLLOWING FORM EXCESS LIABILITY POLICY             4 WORLD TRADE CENTER
2.40                                 DECLARATIONS                                       150 GREENWICH ST, 53RD FL
       of the debtor's interest
                                                                                        NEW YORK, NY 10007


       State the term remaining      12/18/2019 - 12/18/2020
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                                    AMERISHOP INVESTMENT SUBURBAN L.L.C.
       lease is for and the nature                                                      C/O KIMCO REALTY CORPORATION
2.41                                                                                    3333 NEW HYDE PARK RD, STE 100
       of the debtor's interest
                                                                                        P.O. BOX 5020
                                                                                        NEW HYDE PARK, NY 11042-0020

       State the term remaining      12/31/2014 - 01/31/2024
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LEASE AGREEMENT                              AMERISHOP SUBURBAN, L.P.
       lease is for and the nature                                                C/O KIMCO REALTY CORPORATION
2.42                                                                              1954 GREENSPRING DR, STE 330
       of the debtor's interest
                                                                                  TIMONIUM, MD 21093


       State the term remaining      12/31/2014 - 01/31/2024
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AMWINS BROKERAGE OF NEW YORK
       lease is for and the nature   COMMERCIAL LINES POLICY                      WALL ST PLZ
2.43                                                                              88 PIN ST, 6TH FL
       of the debtor's interest
                                                                                  NEW YORK, NY 10005


       State the term remaining      06/18/2019 - 06/18/2020
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AND AGENCY
       lease is for and the nature                                                100 W RANDOLPH ST
2.44                                                                              CHICAGO, IL 60001
       of the debtor's interest


       State the term remaining      04/05/2019 - N/A
       List the contract number of
       any government contract


       State what the contract or    STATEMENT OF WORK                            AND AGENCY
       lease is for and the nature                                                JOE MEEHAN
2.45                                                                              100 W RANDOLPH ST
       of the debtor's interest
                                                                                  CHICAGO, IL 60001


       State the term remaining      04/05/2019 - 04/05/2021
       List the contract number of
       any government contract


       State what the contract or    PROFESSIONAL SERVICES AGREEMENT              AND AGENCY LLC
       lease is for and the nature                                                ATTENTION: RANDALL FEGER
2.46                                                                              100 W RANDOLPH ST
       of the debtor's interest
                                                                                  CHICAGO, IL 60601


       State the term remaining      04/05/2019 - N/A
       List the contract number of
       any government contract


       State what the contract or    LETTER AGREEMENT                             ANDERSON TAX LLC
       lease is for and the nature   TAX SERVICES ARRANGEMENT LETTER              BOX 200988
2.47                                                                              PITTSBURGH, PA 15251-0988
       of the debtor's interest


       State the term remaining      01/31/2019 - 02/28/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LETTER AGREEMENT                             ANDERSON TAX LLC
       lease is for and the nature   TAX SERVICES ARRANGEMENT LETTER              BOX 200988
2.48                                                                              PITTSBURGH, PA 15251-0988
       of the debtor's interest


       State the term remaining      01/31/2019 - 02/28/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON CLIENT SERVICES
       lease is for and the nature   SERVICE INSTRUCTION FOR CLAIM OFFICES        ONE LIBERTY PLAZA
2.49                                                                              165 BROADWAY, STE 3201
       of the debtor's interest
                                                                                  NEW YORK, NY 10006


       State the term remaining      12/18/2019 - 12/17/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON CLIENT SERVICES
       lease is for and the nature   SERVICE INSTRUCTION FOR CLAIM OFFICES        165 BROADWAY, STE 3201
2.50                                                                              ONE LIBERTY PLAZA
       of the debtor's interest
                                                                                  NEW YORK, NY 10006-1404


       State the term remaining      12/18/2019 - 12/17/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON CLIENT SERVICES
       lease is for and the nature   SERVICE INSTRUCTION FOR CLAIM OFFICES        1 LIBERTY PLZ
2.51                                                                              NEW YORK, NY 10006-1404
       of the debtor's interest


       State the term remaining      12/18/2019 - 12/17/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON CLIENT SERVICES
       lease is for and the nature   SERVICE INSTRUCTION FOR CLAIM OFFICES        199 WATER ST, 8TH FL
2.52                                                                              NEW YORK, NY 10038
       of the debtor's interest


       State the term remaining      12/18/2019 - 12/17/2020
       List the contract number of
       any government contract


       State what the contract or    PROPOSAL FOR ACTUARIAL SERVICES              AON RISK CONSULTANTS, INC
       lease is for and the nature                                                ONE LIBERTY PLAZA
2.53                                                                              165 BROADWAY
       of the debtor's interest
                                                                                  SUITE 3201
                                                                                  NEW YORK, NY 10006

       State the term remaining      04/08/2020 - 06/30/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             AON RISK SERVICES INC
       lease is for and the nature   COMMERCIAL LIABILITY - UMBRELLA              1 LIBERTY PLZ
2.54                                 DECLARATIONS                                 NEW YORK, NY 10006-1404
       of the debtor's interest


       State the term remaining      12/18/2019 - 12/18/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON RISK SERVICES NORTHEAST INC
       lease is for and the nature                                                1 LIBERTY PLZ
2.55                                                                              165 BROADWAY, STE 3201
       of the debtor's interest
                                                                                  NEW YORK, NY 10006


       State the term remaining      06/15/2019 - 06/15/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON RISK SERVICES NORTHEAST INC
       lease is for and the nature   THE ZURICH EDGE GLOBAL POLICY                1 LIBERTY PLZ
2.56                                                                              NEW YORK, NY 10007
       of the debtor's interest


       State the term remaining      06/18/2019 - 06/18/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON RISK SERVICES NORTHEAST INC
       lease is for and the nature   FOLLOWING FORM EXCESS LIABILITY POLICY       165 BROADWAY STE 3201
2.57                                 DECLARATIONS                                 ONE LIBERTY PLZ
       of the debtor's interest
                                                                                  NEW YORK, NY 10006-1404


       State the term remaining      12/18/2019 - 12/18/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AON RISK SERVICES NORTHEAST INC
       lease is for and the nature   YOUR GREAT AMERICAN INSURANCE POLICY         1 LIBERTY PLZ
2.58                                                                              165 BROADWAY, STE 3201
       of the debtor's interest
                                                                                  NEW YORK, NY 10006


       State the term remaining      12/18/2019 - 12/18/2020
       List the contract number of
       any government contract


       State what the contract or    CONSOLIDATION AGREEMENT                      APL LOGISTICS AMERICAS, LTD
       lease is for and the nature                                                16220 N SCOTTSDALE RD, STE 400
2.59                                                                              SCOTTSDALE, AZ 85254
       of the debtor's interest


       State the term remaining      09/28/2018 - 09/28/2021
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    SERVICES AGREEMENT                           ARCHE ADVISORS, INC
       lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              25055 SHADY GLEN CT
2.60                                                                              STEVENSON RANCH, CA 91381
       of the debtor's interest


       State the term remaining      Term Not Stated
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              ARISTA REAL ESTATE HOLDINGS, INC
       lease is for and the nature                                                GUSTAS SHEHA
2.61                                                                              38 SCHERMERHORN ST
       of the debtor's interest
                                                                                  BROOKLYN, NY 11201


       State the term remaining      02/01/2014 - 02/01/2024
       List the contract number of
       any government contract


       State what the contract or    STATEMENT OF WORK                            ASSET STRATEGIES GROUP, LLC
       lease is for and the nature                                                501 WEST SCHROCK RD, STE 201
2.62                                                                              WESTERVILLE, OH 43081
       of the debtor's interest


       State the term remaining      04/25/2019 - N/A
       List the contract number of
       any government contract


       State what the contract or    STATEMENT OF WORK                            ASSET STRATEGIES GROUP, LLC
       lease is for and the nature                                                CARRIE BARCLAY
2.63                                                                              501 WEST SCHROCK RD
       of the debtor's interest
                                                                                  WESTERVILLE, OH 43081


       State the term remaining      04/25/2019 - N/A
       List the contract number of
       any government contract


       State what the contract or    STATEMENT OF WORK                            ASSET STRATEGIES GROUP, LLC
       lease is for and the nature                                                ATTN: JENNIFER MOORE
2.64                                                                              501 W SCHROCK RD, STE 201
       of the debtor's interest
                                                                                  WESTERVILLE, OH 43081


       State the term remaining      11/18/2019 - 11/18/2020
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AT&T CORP
       lease is for and the nature   AT&T VPN SERVICE PRICING ADDENDUM            JUDY LA SARDO
2.65                                                                              1 AT&T WAY
       of the debtor's interest
                                                                                  BEDMINSTER, NJ 07921


       State the term remaining      10/25/2019 - 10/31/2021
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    ADDENDUM                                     AT&T CORP.
       lease is for and the nature   AT&T VPN SERVICE PRICING ADDENDUM (CUSTOM)   77 WATER ST
2.66                                                                              NEW YORK, NY 10005
       of the debtor's interest


       State the term remaining      04/23/2014 - N/A
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AT&T CORP.
       lease is for and the nature   AT&T VPN SERVICE PRICING ADDENDUM            JUDY LA SARDO
2.67                                                                              1 AT&T WAY
       of the debtor's interest
                                                                                  BEDMINSTER, NJ 07921


       State the term remaining      10/25/2019 - 10/31/2021
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AT&T CORP.
       lease is for and the nature   AT&T ENHANCED TRANSPORT SERVICE PRICING      ATTN: MASTER AGREEMENT SUPPORT TEAM
2.68                                 SCHEDULE                                     ONE AT&T WAY
       of the debtor's interest
                                                                                  BEDMINSTER, NJ 07921-0752


       State the term remaining      09/10/2019 - N/A
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AT&T CORP.
       lease is for and the nature   AT&T INTRASTATE SERVICES AMENDED AND         77 WATER ST
2.69                                 RESTATED PRICING SCHEDULE                    NEW YORK, NY 10003
       of the debtor's interest


       State the term remaining      12/01/2015 - N/A
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AT&T CORP.
       lease is for and the nature   AT&T SDN ONENET BTB AMENDED AND RESTATED     TITLE: CLIENT SOLUTIONS EXECUTIVE
2.70                                 PRICING SCHEDULE                             1 AT&T WAY
       of the debtor's interest
                                                                                  BEDMINSTER, NJ 07921


       State the term remaining      10/04/2013 - N/A
       List the contract number of
       any government contract


       State what the contract or    SERVICE ORDER ATTACHMENT                  AT&T GLOBAL SERVICES CANADA CO.
       lease is for and the nature   AT&T NETWORK INTEGRATION SERVICES NETWORK SUITE 700
2.71                                 AGGREGATION                               55 COMMERCE VALLEY DR W
       of the debtor's interest
                                                                               THORNHILL, ONTARIO L3T 4V9
                                                                               CANADA

       State the term remaining      02/20/2014 - N/A
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    PARTICIPATION AGREEMENT                    AT&T MOBILITY NATIONAL ACCOUNTS LLC
       lease is for and the nature   AMENDMENT NO. 1 TO PARTICIPATION AGREEMENT ATTN: MASTER AGMT SUPPORT TEAM
2.72                                                                            1 AT&T WAY
       of the debtor's interest
                                                                                BEDMINSTER, NJ 07921-0752


       State the term remaining      06/19/2015 - N/A
       List the contract number of
       any government contract


       State what the contract or    MASTER AGREEMENT                             AT&T MOBILITY NATIONAL ACCOUNTS LLC
       lease is for and the nature   PARTICIPATION AGREEMENT                      ATTN: MASTER AGMT SUPPORT TEAM
2.73                                                                              1 AT&T WAY
       of the debtor's interest
                                                                                  BEDMINSTER, NJ 07921-0752


       State the term remaining      05/03/2019 - N/A
       List the contract number of
       any government contract


       State what the contract or    PARTICIPANT AGREEMENT                        AT&T MOBILITY NATIONAL ACCOUNTS LLC
       lease is for and the nature   EXHIBIT A PARTICIPATION AGREEMENT            ATTN: MASTER AGMT SUPPORT TEAM
2.74                                                                              1 AT&T WAY
       of the debtor's interest
                                                                                  BEDMINSTER, NJ 07921-0752


       State the term remaining      08/07/2012 - N/A
       List the contract number of
       any government contract


       State what the contract or    LICENSE AGREEMENT                            ATAKORA FÖRDERGESELLSCHAFT GMBH
       lease is for and the nature   LICENSE AND PARTNERSHIP CONTRACT             GURLITTSTRAßE 14
2.75                                                                              HAMBURG, 20099
       of the debtor's interest
                                                                                  GERMANY


       State the term remaining      01/01/2020 - 12/31/2020
       List the contract number of
       any government contract


       State what the contract or    LETTER OF INTENT                             ATAKORA FÖRDERGESELLSCHAFT GMBH
       lease is for and the nature                                                GURLITTSTRASSE 14, 2
2.76                                                                              HAMBURG, 20099
       of the debtor's interest
                                                                                  GERMANY


       State the term remaining      12/18/2019
       List the contract number of
       any government contract


       State what the contract or    PRODUCT PURCHASE AGREEMENT                   ATLANTIC CORPORATION OF WILMINGTON, INC.
       lease is for and the nature                                                ATTN: EXECUTIVE VICE PRESIDENT
2.77                                                                              806 NORTH 23RD ST
       of the debtor's interest
                                                                                  WILMINGTON, NC 28405


       State the term remaining      06/10/2019 - N/A
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
       State what the contract or    LEASE AGREEMENT                                     AVALON JOINT VENTURE, LLC
       lease is for and the nature   SHOPPING CENTER LEASE                               C/O NORTH AMERICAN PROPERTIES
2.78                                                                                     ATTN: LEASE ADMINISTRATION
       of the debtor's interest
                                                                                         212 E THIRD ST, STE 300
                                                                                         CINCINNATI, OH 34202-5500

       State the term remaining      06/05/2015 - 06/05/2025
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                                     AVALON NORTH, LLC
       lease is for and the nature   SHOPPING CENTER LEASE                               C/O NORTH AMERICAN PROPERTIES
2.79                                                                                     ATTN: LEASE ADMINISTRATION
       of the debtor's interest
                                                                                         212 E THIRD ST, STE 300
                                                                                         CINCINNATI, OH 34202-5500

       State the term remaining      06/05/2015 - 06/05/2025
       List the contract number of
       any government contract


       State what the contract or    REBATE AGREEMENT FOR MERCHANDISE                    AVERY DENNISON
       lease is for and the nature   (GARMENT) LABELS KEY TERMS                          15178 COLLECTIONS CENTER DR
2.80                                                                                     CHICAGO, IL 60693
       of the debtor's interest


       State the term remaining      10/03/2014 - 10/02/2016
       List the contract number of
       any government contract


       State what the contract or    AGREEMENT                                           AVERY DENNISON RETAIL INFORMATION SERVICES, LLC
       lease is for and the nature                                                       8080 NORTON PKWY
2.81                                                                                     MENTOR, OH 44060
       of the debtor's interest


       State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
       List the contract number of
       any government contract


       State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                    B&G INTERNATIONAL INC
       lease is for and the nature                                                       1085 MORRIS AVE, STE 5D
2.82                                                                                     UNION, NJ 07083
       of the debtor's interest


       State the term remaining      08/01/2018 - 12/31/19 with m-to-m evergreen claus
       List the contract number of
       any government contract


       State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                    B&G INTERNATIONAL INC
       lease is for and the nature                                                       1085 MORRIS AVE, STE 5D
2.83                                                                                     UNION, NJ 07083
       of the debtor's interest


       State the term remaining      08/01/2018 - 12/31/19 with m-to-m evergreen claus
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    AMENDMENT                                    BANK OF AMERICA, NA
       lease is for and the nature   AMENDMENT NO. 8 TO SELECT MERCHANT           ATTN: CORPORATE LEGAL DEPT
2.84                                 PAYMENT CARD PROCESSING AGREEMENT            100 N TRYON ST
       of the debtor's interest
                                                                                  CHARLOTTE, NC 28255


       State the term remaining      12/17/2018 - 08/04/2022
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              BANK OF AMERICAN, STJTC II, LLC
       lease is for and the nature                                                ATTN: LOCKBOX 100177
2.85                                                                              6000 FELDWOOD RD
       of the debtor's interest
                                                                                  COLLEGE PARK, GA 30349


       State the term remaining      01/23/2014 - 01/31/2024
       List the contract number of
       any government contract


       State what the contract or    AMENDMENT                                    BAZAARVOICE, INC.
       lease is for and the nature   RENEWAL SERVICE ORDER # 00014975             LEGAL
2.86                                                                              3900 N CAPITAL OF TEXAS HIGHWAY, STE 300
       of the debtor's interest
                                                                                  AUSTIN, TX 78746


       State the term remaining      06/11/2019 - N/A
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              BELLWETHER PROPERTIES OF MASSACHUSETTS LIMITED
       lease is for and the nature   BURLINGTON MALL LEASE                        PARTNERSHIP
2.87                                                                              C/O MS MANAGEMENT ASSOCIATES INC
       of the debtor's interest
                                                                                  225 WEST WASHINGTON ST
                                                                                  INDIANAPOLIS, IN 46204-3438

       State the term remaining      07/28/2014 - 01/31/2024
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              BELLWETHER PROPERTIES OF MASSACHUSETTS LIMITED
       lease is for and the nature   BURLINGTON MALL LEASE                        PARTNERSHIP
2.88                                                                              NEWARK POST OFFICE
       of the debtor's interest
                                                                                  P.O. BOX 35460
                                                                                  NEWARK, NJ 07193-5460

       State the term remaining      07/28/2014 - 01/31/2024
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              BENTALL KENNEDY (U.S.) G.P. LLC
       lease is for and the nature                                                1201 3RD AVE, STE 3000
2.89                                                                              SEATTLE, WA 98101
       of the debtor's interest


       State the term remaining      11/06/2013 - 1/31/2023
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             BERKLEY INSURANCE COMPANY
       lease is for and the nature   COMMERCIAL CRIME POLICY DECLARATIONS         475 STEAMBOAT RD
2.90                                                                              GREENWICH, CT 06830
       of the debtor's interest


       State the term remaining      06/15/2019 - 06/15/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BERKLEY INSURANCE COMPANY
       lease is for and the nature   COMMERCIAL CRIME POLICY DECLARATIONS         29 SOUTH MAIN ST, STE 308
2.91                                                                              WEST HARTFORD, CT 06107
       of the debtor's interest


       State the term remaining      06/15/2019 - 06/15/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BERKLEY INSURANCE COMPANY
       lease is for and the nature   COMMERCIAL CRIME POLICY DECLARATIONS         475 STEAMBOAT RD
2.92                                                                              GREENWICH, CT 06830
       of the debtor's interest


       State the term remaining      06/15/2019 - 06/15/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BERKLEY INSURANCE COMPANY
       lease is for and the nature   COMMERCIAL CRIME POLICY DECLARATIONS         29 SOUTH MAIN ST, STE 308
2.93                                                                              WEST HARTFORD, CT 06107
       of the debtor's interest


       State the term remaining      06/15/2019 - 06/15/2020
       List the contract number of
       any government contract


       State what the contract or    RENEWAL AGREEMENT                            BETTER COTTON INITIATIVE
       lease is for and the nature   INVOICE NUMBER SIN016695                     CHEMIN DE BALEXERT 7-9
2.94                                                                              1219 CHATELAINE
       of the debtor's interest
                                                                                  GENEVA,
                                                                                  SWITZERLAND

       State the term remaining      01/01/2020 - 12/31/2020
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              BF MANAGER, L.L.C.
       lease is for and the nature                                                ATTN: AMY J LIEBAU
2.95                                                                              150 NORTH MARKET ST
       of the debtor's interest
                                                                                  WICHITA, KS 67202


       State the term remaining      01/11/2016 - 01/31/2026
       List the contract number of
       any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              BF WICHITA, L.L.C.
        lease is for and the nature                                                ATTN: AMY J LIEBAU
2.96                                                                               150 NORTH MARKET ST
        of the debtor's interest
                                                                                   WICHITA, KS 67202


        State the term remaining      01/11/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              BLOOMFIELD HOLDINGS, LLC
        lease is for and the nature                                                781 LARSON ST
2.97                                                                               JACKSON, MS 39202
        of the debtor's interest


        State the term remaining      05/16/2012 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    8/30/2018                                    BLUE UMBRELLA LTD
        lease is for and the nature   SOFTWARE AS A SERVICE (SAAS) LICENSE         16/F EASTERN HARBOUR CENTRE, UNIT 4
2.98                                  AGREEMENT                                    28 HOI CHAK ST
        of the debtor's interest
                                                                                   QUARRY BAY
                                                                                   HONG KONG

        State the term remaining      Term Not Stated
        List the contract number of
        any government contract


        State what the contract or    SOFTWARE LICENSE AGREEMENT                   BLUECORE, INC
        lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
2.99                                                                               116 NASSAU ST, 7TH FL
        of the debtor's interest
                                                                                   NEW YORK, NY 10038


        State the term remaining      10/01/2019 - 10/01/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              BOSTON PROPERTIES
        lease is for and the nature   DEED OF LEASE                                800 BOYLSTON ST, STE 1900
2.100                                                                              BOSTON, MA 02199-8103
        of the debtor's interest


        State the term remaining      11/12/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              BOSTON PROPERTIES, INC.
        lease is for and the nature   DEED OF LEASE                                ATTN: REGIONAL COUNSEL
2.101                                                                              2200 PENNSYLVANIA AVE NW, STE 200W
        of the debtor's interest
                                                                                   WASHINGTON, DC 20037


        State the term remaining      11/12/2015 - 01/31/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              BOWMAN MTP CENTER LLC
        lease is for and the nature   SHOPPING CENTER LEASE                        C/O GROVE PROPERTY FUND
2.102                                                                              ATTN: MR ED NAVARRO
        of the debtor's interest
                                                                                   36 WELLES ST, STE 200
                                                                                   GLASTONBURY, CT 06033

        State the term remaining      11/11/2015 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              BOWMAN MTP CENTER LLC
        lease is for and the nature   SHOPPING CENTER LEASE                        C/O GROVE PROPERTY FUND
2.103                                                                              ATTN: MR ED NAVARRO
        of the debtor's interest
                                                                                   36 WELLES ST, STE 200
                                                                                   GLASTONBURY, CT 06033

        State the term remaining      11/11/2015 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              BP RTC MEMBER LLC
        lease is for and the nature   DEED OF LEASE                                C/O BOSTON PROPERTIES
2.104                                                                              ATTN: GENERAL COUNSEL
        of the debtor's interest
                                                                                   800 BOYLSTON ST, STE 1900
                                                                                   BOSTON, MA 02199-8103

        State the term remaining      11/12/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    GUARANTY                                     BRINTON LAND DEVELOPMENT ASSOCIATES, L.P.
        lease is for and the nature   GUARANTY AGREEMENT                           C/O WYNNEWOOD DEVELOPMENT, INC
2.105                                                                              ATTN: FREDERICK WEITZMAN
        of the debtor's interest
                                                                                   33 ROCK HILL RD, STE 200`
                                                                                   BALA CYNWYD, PA 19004

        State the term remaining      06/12/2000 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              BROUGHTON STREET PARTNERS COMPANY LLC
        lease is for and the nature   COMMENCEMENT DATE AGREEMENT                  C/O ACADIA REALTY TRUST
2.106                                                                              411 THEODORE FREMD AVE, STE 300
        of the debtor's interest
                                                                                   RYE, NY 10580


        State the term remaining      09/10/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    BUNZI RETAIL SERVICES, LLC
        lease is for and the nature   AMENDMENT #3 TO SERVICES AGREEMENT SIGNED    FKA SCHWARZ PAPER CO
2.107                                 ON AUGUST 29 2012 BY SCHWARZ PAPER COMPANY   1 CITY PLACE DR, STE 200
        of the debtor's interest
                                      AND J.CREW GROUP                             ST. LOUIS, MO 63141


        State the term remaining      07/31/2012 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              C.J. SEGERSTROM & SONS
        lease is for and the nature                                                3315 FAIRVIEW RD
2.108                                                                              COSTA MESA, CA 92626
        of the debtor's interest


        State the term remaining      03/01/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             CALSIM FASHION MALL, L.L.C
        lease is for and the nature                                                C/O CT CORPORATION SYSTEM
2.109                                                                              111 8TH AVE
        of the debtor's interest
                                                                                   NEW YORK, NY 10011


        State the term remaining      07/24/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    TOTAL SOLUTION LEASE AGREEMENT               CANON FINANCIAL SERVICES, INC
        lease is for and the nature                                                14904 COLLECTIONS CENTER DR
2.110                                                                              CHICAGO, IL 60693
        of the debtor's interest


        State the term remaining      Term Not Stated
        List the contract number of
        any government contract


        State what the contract or    TOTAL SOLUTION LEASE AGREEMENT               CANON FINANCIAL SERVICES, INC.
        lease is for and the nature                                                14904 COLLECTIONS CENTER
2.111                                                                              CHICAGO, IL 60693
        of the debtor's interest


        State the term remaining      12/08/2016 - N/A
        List the contract number of
        any government contract


        State what the contract or    TOTAL SOLUTION LEASE AGREEMENT               CANON FINANCIAL SERVICES, INC.
        lease is for and the nature                                                14904 COLLECTIONS CENTER DR
2.112                                                                              CHICAGO, IL 60693
        of the debtor's interest


        State the term remaining      N/A - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            CAPGEMINI AMERICA, INC.
        lease is for and the nature   CAPGEMINI AMERICA, INC. STATEMENT WORK       1801 ALMA DR, STE 140
2.113                                                                              PLANO, TX 75075
        of the debtor's interest


        State the term remaining      03/16/2017 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    MASTER AGREEMENT                             CARDLYTICS, INC.
        lease is for and the nature   INSERTION ORDER                              112 KROG ST NE, STE 10
2.114                                                                              ATLANTA, GA 30307
        of the debtor's interest


        State the term remaining      09/30/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            CAROLINA LOGISTICS SERVICES, LLC
        lease is for and the nature                                                ATTN: PRESIDENT
2.115                                                                              635 VINE ST
        of the debtor's interest
                                                                                   WINSTON-SALEM, NC 27101


        State the term remaining      06/21/2018 - 06/20/2021
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              CAROLINA LOGISTICS SERVICES, LLC
        lease is for and the nature                                                635 VINE ST
2.116                                                                              WINSTON-SALEM, NC 27101
        of the debtor's interest


        State the term remaining      06/21/2018 - 06/21/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            CAROLINA LOGISTICS SERVICES, LLC
        lease is for and the nature                                                ATTN: PRESIDENT
2.117                                                                              635 VINE ST
        of the debtor's interest
                                                                                   WINSTON-SALEM, NC 27101


        State the term remaining      06/21/2018 - 06/20/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                           CASS INFORMATION SYSTEMS, INC.
        lease is for and the nature   SERVICE AGREEMENT                            12444 POWERSCOURT DR, STE 550
2.118                                                                              ST. LOUIS, MO 63131
        of the debtor's interest


        State the term remaining      08/31/2009 - 09/30/2009
        List the contract number of
        any government contract


        State what the contract or    ENDORSEMENT NO. 10                           CATLIN INSURANCE COMPANY, INC.
        lease is for and the nature                                                DEPT: REGULATORY
2.119                                                                              505 EAGLEVIEW BLVD, STE 100
        of the debtor's interest
                                                                                   EXTON, PA 19341-1120


        State the term remaining      06/18/2015 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    ENDORSEMENT NO. 11                           CATLIN INSURANCE COMPANY, INC.
        lease is for and the nature                                                DEPT: REGULATORY
2.120                                                                              505 EAGLEVIEW BLVD, STE 100
        of the debtor's interest
                                                                                   EXTON, PA 19341-1120


        State the term remaining      10/22/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    ENDORSEMENT NO. 9                            CATLIN INSURANCE COMPANY, INC.
        lease is for and the nature                                                DEPT: REGULATORY
2.121                                                                              505 EAGLEVIEW BLVD, STE 100
        of the debtor's interest
                                                                                   EXTON, PA 19341-1120


        State the term remaining      06/18/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              CBL & ASSOCIATES MANAGEMENT, INC.
        lease is for and the nature   LEASE MODIFICATION AGREEMENT                 CBL CENTER
2.122                                                                              SUITE 500
        of the debtor's interest
                                                                                   2030 HAMILTON PLACE BLVD
                                                                                   CHATTANOOGA, TN 37421-6000

        State the term remaining      01/25/2019 -01/25/2024
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              CBTS TECHNOLOGY SOLUTIONS LLC
        lease is for and the nature                                                221 WEST FOURTH ST
2.123                                                                              CINCINNATI, OH 45202
        of the debtor's interest


        State the term remaining      10/27/2019 - 10/27/2020
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     CBTS TECHNOLOGY SOLUTIONS LLC
        lease is for and the nature                                                221 WEST FOURTH ST
2.124                                                                              CINCINNATI, OH 45202
        of the debtor's interest


        State the term remaining      10/17/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    EXHIBIT B CO BRANDED PRODUCTS AND            CHACO
        lease is for and the nature   SPECIFICATIONS                               9341 CTLAND DR NE
2.125                                 TPB AGREEMENT                                ROCKFORD, MI 49351
        of the debtor's interest


        State the term remaining      Term Not Stated
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    PROFESSIONAL SERVICES AGREEMENT                    CHAIN STORE
        lease is for and the nature                                                      JOHN F CATANESE
2.126                                                                                    81 UNION ST
        of the debtor's interest
                                                                                         P.O. BOX 2008
                                                                                         ATTLEBORO, MA 02703

        State the term remaining      07/10/2019 - 07/10/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE CONTRACT                                   CHAIN STORE
        lease is for and the nature                                                      JOHN F CATANESE
2.127                                                                                    81 UNION ST
        of the debtor's interest
                                                                                         P.O. BOX 2008
                                                                                         ATTLEBORO, MA 02703

        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                           CHARITY GLOBAL INC
        lease is for and the nature   COMMERCIAL CO-VENTURE AGREEMENT                    40 WORTH
2.128                                 ADDENDUM                                           ST # 330
        of the debtor's interest
                                                                                         NEW YORK, NY 10013


        State the term remaining      02/07/2020 - 03/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    CHICAGO TITLE & TRUST
        lease is for and the nature   OFFICE LEASE                                       7627 LAKE ST
2.129                                                                                    RIVER FOREST, IL 60305
        of the debtor's interest


        State the term remaining      11/09/2018 - 05/31/2020
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   CHING FUNG NA INC
        lease is for and the nature                                                      36 W 44TH ST, STE 304
2.130                                                                                    NEW YORK, NY 10036
        of the debtor's interest


        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                                   CHUBB EUROPEAN GROUP SE
        lease is for and the nature   CASUALTY POLICY SCHEDULE                           31, PL DES COROLLES
2.131                                                                                    ESPLANADE NORD
        of the debtor's interest
                                                                                         COURBEVOIE, 92400
                                                                                         FRANCE

        State the term remaining      12/18/2019 - 12/17/2020
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    INSURANCE POLICY                             CHUBB EUROPEAN GROUP SE
        lease is for and the nature   CASUALTY POLICY SCHEDULE                     31, PLACE DES COROLLES
2.132                                                                              ESPLANADE NORD
        of the debtor's interest
                                                                                   COURBEVOIE, 92400
                                                                                   FRANCE

        State the term remaining      12/18/2019 - 12/17/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             CHUBB USA
        lease is for and the nature                                                FOREIGN CASUALTY CLAIMS
2.133                                                                              P.O. BOX 5116
        of the debtor's interest
                                                                                   SCRANTON, PA 18505-0546


        State the term remaining      12/18/2019 - 12/17/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             CHUBB USA
        lease is for and the nature                                                ATTN: A MURPHY
2.134                                                                              1 BEAVER VALLEY RD, 3W
        of the debtor's interest
                                                                                   WILMINGTON, DE 19803


        State the term remaining      12/18/2019 - 12/17/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             CHUBB USA
        lease is for and the nature                                                1133 AVE OF THE AMERICAS
2.135                                                                              NEW YORK, NY 10036
        of the debtor's interest


        State the term remaining      12/18/2019 - 12/17/2020
        List the contract number of
        any government contract


        State what the contract or    FIRST AMENDMENT TO                           CIPHERTECHS, INC
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              55 BROADWAY
2.136                                                                              FL. 11TH
        of the debtor's interest
                                                                                   NEW YORK, NY 10006


        State the term remaining      06/30/2017 - 06/30/2021
        List the contract number of
        any government contract


        State what the contract or    STORAGE LEASE                                CJ SEGERSTROM & SONS
        lease is for and the nature                                                3315 FAIRVIEW RD
2.137                                                                              COSTA MESA, CA 92626
        of the debtor's interest


        State the term remaining      05/21/2010 - 01/31/2021
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SAAS AGREEMENT                               CLARIP INC
        lease is for and the nature                                                1521 CONCORD PIKE STE. 301
2.138                                                                              WILMINGTON, DE 19803
        of the debtor's interest


        State the term remaining      12/12/2019 - 12/12/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              COLORADO MILLS LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.139                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              COLORADO MILLS MALL GP, L.L.C.
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.140                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              COLORADO MILLS MALL LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.141                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              COLORADO RETAIL DEVELOPMENT COMPANY, L.L.C.
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.142                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            COLOR-X, INC
        lease is for and the nature                                                33 EAST 17TH ST
2.143                                                                              NEW YORK, NY 10003
        of the debtor's interest


        State the term remaining      10/30/2007
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                             State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease
        State what the contract or    NON-DISCLOSURE AGREEMENT                        COLOR-X, INC
        lease is for and the nature                                                   33 EAST 17TH ST
2.144                                                                                 NEW YORK, NY 10003
        of the debtor's interest


        State the term remaining      9/5/2007
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                           COLUMBUS CONSULTING INTERNATIONAL LLC
        lease is for and the nature   J.CREW JDA EP SERVER EDITION ENHANCEMENTS - 4200 REGENT ST, STE 1200
2.145                                 RETAIL HYBRID PLANNING AND DIRECT PLANNING  COLUMBUS, OH 43219
        of the debtor's interest
                                      STATEMENT OF WORK DECEMBER 13, 2019


        State the term remaining      03/19/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                               COLUMBUS CONSULTING INTERNATIONAL LLC
        lease is for and the nature   J. CREW EP EKB RETAIL PLANNING PLUS             4200 REGENT ST, STE 1200
2.146                                 ADDITIONAL CHANGES DISCOVERY PHASE              COLUMBUS, OH 43219
        of the debtor's interest
                                      STATEMENT OF WORK SEPTEMBER 9, 2019


        State the term remaining      03/19/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                                COLUMBUS CONSULTING INTERNATIONAL LLC
        lease is for and the nature   AGREEMENT FOR PROFESSIONAL SERVICES             ATTENTION: RICHARD AMARI
2.147                                 BETWEEN J.CREW GROUP, INC. AND COLUMBUS         4200 REGENT ST, STE 200
        of the debtor's interest
                                      CONSULTING INTERNATIONAL LLC                    COLUMBUS, OH 43219


        State the term remaining      03/19/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                          COLUMBUS CONSULTING INTERNATIONAL LLC
        lease is for and the nature   J.CREW PLANNING SOLUTION RE-PLATFORM PHASE 4200 REGENT ST, STE 200
2.148                                 0 STATEMENT OF WORK MARCH 24, 2015         COLUMBUS, OH 43219
        of the debtor's interest


        State the term remaining      03/24/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                       COMPSYCH CORPORATION
        lease is for and the nature   AMENDMENT TO AGREEMENT BETWEEN J. CREW          455 N CITYFRONT PLZ, 13TH FL
2.149                                 GROUP, INC. AND COMPSYCH CORPORATION            CHICAGO, IL 60611-5322
        of the debtor's interest


        State the term remaining      09/13/2018 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              CONCORD MILLS MALL GP, LLC
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.150                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              CONCORD MILLS MALL LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.151                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    SUPPLY AGREEMENT                             CONSTELLATION NEWENERGY, INC
        lease is for and the nature   ELECTRICITY SUPPLY AGREEMENT - FIXED PRICE   ATTN: CONTRACTS ADMINISTRATION
2.152                                 SOLUTIONS                                    1001 LOUISIANA ST
        of the debtor's interest
                                                                                   CONSTELLATION STE 2300
                                                                                   HOUSTON, TX 77002

        State the term remaining      1/31/2020
        List the contract number of
        any government contract


        State what the contract or    SUPPLY AGREEMENT                             CONSTELLATION NEWENERGY, INC.
        lease is for and the nature   ELECTRICITY SUPPLY AGREEMENT - FIXED PRICE   ATTN: CONTRACTS ADMINISTRATION
2.153                                 SOLUTIONS                                    1001 LOUISIANA ST
        of the debtor's interest
                                                                                   CONSTELLATION SUITE 2300
                                                                                   HOUSTON, TX 77002

        State the term remaining      01/31/2020 - N/A
        List the contract number of
        any government contract


        State what the contract or    SUPPLY AGREEMENT                             CONSTELLATION NEWENERGY, INC.
        lease is for and the nature   ELECTRICITY SUPPLY AGREEMENT - FIXED PRICE   ATTN: CONTRACTS ADMINISTRATION
2.154                                 SOLUTIONS                                    1221 LAMAR ST, STE 750
        of the debtor's interest
                                                                                   HOUSTON, TX 77010


        State the term remaining      09/26/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    SUPPLY AGREEMENT                             CONSTELLATION NEWENERGY, INC.
        lease is for and the nature   ELECTRICITY SUPPLY AGREEMENT - FIXED PRICE   ATTN: CONTRACTS ADMINISTRATION
2.155                                 SOLUTIONS                                    1221 LAMAR ST, STE 750
        of the debtor's interest
                                                                                   HOUSTON, TX 77010


        State the term remaining      09/26/2018 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    FIRST AMENDMENT TO                           COPESAN SERVICES, INC
        lease is for and the nature   SERVICE AGREEMENT                            ATTENTION: LEGAL DEPARTMENT
2.156                                                                              W175 N5711 TECHNOLOGY DR
        of the debtor's interest
                                                                                   MENOMONEE FALLS, WI 53051


        State the term remaining      10/01/2017 - 09/30/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              CORE CAPITAL AND SANTA FE LOFTS LLC
        lease is for and the nature   STANDARD INDUSTRIAL/COMMERCIAL MULTI-        120 S SANTA FE AVE
2.157                                 TENANT LEASE - NET                           LOS ANGELES, CA 90021
        of the debtor's interest


        State the term remaining      06/23/2016 - 06/23/2021
        List the contract number of
        any government contract


        State what the contract or    RELOCATION SERVICE AGREEMENT                 CORNERSTONE RELOCATION GROUP, LLC
        lease is for and the nature                                                106 ALLEN RD
2.158                                                                              BASKING RIDGE
        of the debtor's interest
                                                                                   NEW JERSEY, 07920


        State the term remaining      03/02/2011 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              COROC/HILTON HEAD I L.L.C.
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTENTION: LEGAL DEPARTMENT
2.159                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      10/08/2012 -10/08/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              COROC/REHOBOTH III L.L.C.
        lease is for and the nature                                                ATTENTION: LEGAL DEPARTMENT
2.160                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      12/17/2010 -01/31/2021
        List the contract number of
        any government contract


        State what the contract or    SOURCING AGREEMENT                           COUGAR SHOES, INC.
        lease is for and the nature   SOURCING AGENT AGREEMENT                     2 MASONRY COURT
2.161                                                                              BURLINGTON, ON
        of the debtor's interest
                                                                                   CANADA


        State the term remaining      09/00/2018 - 09/00/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    NON-DISCLOSURE AGREEMENT                     COUGAR SHOES, INC.
        lease is for and the nature                                                2 MASONRY COURT
2.162                                                                              BURLINGTON, ON
        of the debtor's interest
                                                                                   CANADA


        State the term remaining      09/00/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    SUBSCRIPTION AGREEMENT                       COUPA SOFTWARE, INC
        lease is for and the nature                                                1855 S. GRANT ST
2.163                                                                              SAN MATEO, CA 94402
        of the debtor's interest


        State the term remaining      01/01/2018 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    ORDER FORM                                   COUPA SOFTWARE, INC.
        lease is for and the nature   COUPA ORDER ID 40832                         1855 S GRANT ST
2.164                                                                              SAN MATEO, CA 94402
        of the debtor's interest


        State the term remaining      09/28/2018 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    MASTER SUBSCRIPTION AGREEMENT                COUPA SOFTWARE, INC.
        lease is for and the nature                                                1855 S GRANT ST
2.165                                                                              SAN MATEO, CA 94402
        of the debtor's interest


        State the term remaining      02/03/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    ORDER FORM                                   COUPA SOFTWARE, INC.
        lease is for and the nature                                                1855 S GRANT ST
2.166                                                                              SAN MATEO, CA 94402
        of the debtor's interest


        State the term remaining      12/20/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    ORDER FORM                                   COUPA SOFTWARE, INC.
        lease is for and the nature   COUPA ORDER ID 15996                         1855 S GRANT ST
2.167                                                                              SAN MATEO, CA 94402
        of the debtor's interest


        State the term remaining      01/01/2018 - 12/31/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    LEASE AGREEMENT                                    CPI-BURLINGTON CORPORATION
        lease is for and the nature   BURLINGTON MALL LEASE                              C/O MS MANAGEMENT ASSOCIATES INC
2.168                                                                                    225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                         INDIANAPOLIS, IN 46204-3438


        State the term remaining      07/28/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    CRAIG REALTY GROUP - SILVERTHORNE, LLC
        lease is for and the nature                                                      4100 MACARTHUR BOULEVARD
2.169                                                                                    SUITE 200
        of the debtor's interest
                                                                                         NEWPORT BEACH, CA 92660


        State the term remaining      07/22/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    CRAIG REALTY GROUP - SILVERTHORNE, LLC
        lease is for and the nature                                                      4100 MACARTHUR BOULEVARD
2.170                                                                                    SUITE 200
        of the debtor's interest
                                                                                         NEWPORT BEACH, CA 92660


        State the term remaining      07/22/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    MARKETPLACE AGREEMENT                              CREDITOR
2.171   lease is for and the nature
        of the debtor's interest


        State the term remaining      N/A - N/A
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                                  CULTURE AMP INC
        lease is for and the nature   SOFTWARE AS A SERVICE LICENSE AGREEMENT            ATTN: LEGAL TEAM
2.172                                                                                    LEVEL 10
        of the debtor's interest
                                                                                         31 QUEEN ST
                                                                                         MELBOURNE, VI 3000
                                                                                         AUSTRALIA
        State the term remaining      06/29/2018 - 06/29/2020
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   CW FASTENERS & ZIPPER CORP
        lease is for and the nature                                                      142 W 36TH ST, 5TH FL
2.173                                                                                    NEW YORK, NY 10018
        of the debtor's interest


        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                             State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease
        State what the contract or    SEPARATION AGREEMENT AND GENERAL RELEASE DANIEL WINKWORTH
        lease is for and the nature                                            ADDRESS REDACTED
2.174
        of the debtor's interest


        State the term remaining      3/4/2020
        List the contract number of
        any government contract


        State what the contract or    ENTERPRISE DISCOUNT PROGRAM ADDENDUM            DATAPIPE, INC
        lease is for and the nature                                                   C/O RACKSPACE
2.175                                                                                 1 FANATICAL PL
        of the debtor's interest
                                                                                      CITY OF WINCREST
                                                                                      SAN ANTONIO, TX 78218

        State the term remaining      07/25/2017 - 08/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                                DDR CORP.
        lease is for and the nature                                                   ATTN: GENERAL COUNSEL
2.176                                                                                 3300 ENTERPRISE PARKWAY
        of the debtor's interest
                                                                                      BEACHWOOD, OH 44122


        State the term remaining      09/26/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT                 DEFACTO RELATIONS GMBH
        lease is for and the nature                                                   ATTN: MARCUS WAILERSBACHER
2.177                                                                                 AM PESTALOZZIRING 1-2
        of the debtor's interest
                                                                                      91058 ERLANGEN
                                                                                      GERMANY

        State the term remaining      Term Not Stated
        List the contract number of
        any government contract


        State what the contract or    DATA PROCESSING ADDENDUM                        DEFACTO RELATIONS GMBH
        lease is for and the nature                                                   ATTN: [MARCUS WAILERSBACHER]
2.178                                                                                 AM PESTALOZZIRING 1-2
        of the debtor's interest
                                                                                      91058 ERLANGEN
                                                                                      GERMANY

        State the term remaining      05/18/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT                 DEFACTO RELATIONS GMBH
        lease is for and the nature                                                   ATTN: [MARCUS WAILERSBACHER]
2.179                                                                                 AM PESTALOZZIRING 1-2
        of the debtor's interest
                                                                                      91058 ERLANGEN
                                                                                      GERMANY

        State the term remaining      N/A - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              DEL AMO FASHION CENTER HOLDING COMPANY, L.L.C.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.180                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      09/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DEL AMO FASHION CENTER HOLDING COMPANY, L.L.C.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.181                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      09/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DEL AMO FASHION CENTER OPERATING COMPANY, L.L.C.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.182                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      09/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DEL AMO FASHION CENTER OPERATING COMPANY, L.L.C.
        lease is for and the nature                                                P.O. BOX 409657
2.183                                                                              ATLANTA, GA 30384-9657
        of the debtor's interest


        State the term remaining      09/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DEL AMO FASHION CENTER OPERATING COMPANY, L.L.C.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.184                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      09/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DEL AMO MILLS, L.L.C
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.185                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      09/29/2015 - 01/31/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    LEASE AGREEMENT                                    DEL AMO MILLS, LLC
        lease is for and the nature                                                      C/O MS MANAGEMENT ASSOCIATES INC
2.186                                                                                    225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                         INDIANAPOLIS, IN 46204-3438


        State the term remaining      09/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                                 DELOITTE & TOUCHE USA LLP
        lease is for and the nature   MASTER SERVICES AGREEMENT
2.187
        of the debtor's interest


        State the term remaining      07/20/2006 - 3 yrs term, 1 yr evergreen renewals
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                                   DELOITTE TAX LLP
        lease is for and the nature   WORK ORDER NUMBER: TAX 1-2020                      2 JERICHO PLZ
2.188                                                                                    JERICHO, NY 11753
        of the debtor's interest


        State the term remaining      07/20/2006 - 02/28/2021
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                                   DELOITTE TAX LLP
        lease is for and the nature   WORK ORDER NUMBER: TAX 1-2020                      2 JERICHO PLAZA
2.189                                                                                    JERICHO, NY 11753
        of the debtor's interest


        State the term remaining      07/20/2006 - 02/28/2021
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                                   DELOITTE TAX LLP
        lease is for and the nature   WORK ORDER NUMBER: TAX 1-2019                      TWO JERICHO PLZ
2.190                                                                                    JERICHO, NY 11753-1683
        of the debtor's interest


        State the term remaining      07/20/2006 - N/A
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                                   DELOITTE TAX LLP
        lease is for and the nature                                                      TWO JERICHO PLAZA
2.191                                                                                    JERICHO, NY 11753-1683
        of the debtor's interest


        State the term remaining      04/15/2019 - N/A
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    WORK ORDER NUMBER: TAX 1-2020                DELOITTE TAX LLP
        lease is for and the nature                                                2 JERICHO PLAZA
2.192                                                                              JERICHO, NY 11753
        of the debtor's interest


        State the term remaining      03/01/2020 - 02/28/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DELSHAH GANSEVOORT 69, LLC
        lease is for and the nature   ARTICLE 1 - SALIENT LEASE TERMS              C/O DELSHAH CAPITAL LLC
2.193                                                                              ATTN: MICHAEL SHAH
        of the debtor's interest
                                                                                   14 EAST 13TH ST
                                                                                   NEW YORK, NY 10003

        State the term remaining      07/09/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            DERRIS LLC
        lease is for and the nature   J.CREW SCOPE OF WORK PUBLIC RELATIONS AND    48 W 25TH ST
2.194                                 BRAND STRATEGY                               FLOOR 11
        of the debtor's interest
                                                                                   NEW YORK, NY 10010


        State the term remaining      01/01/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            DERRIS LLC
        lease is for and the nature   MADEWELL SCOPE OF WORK PUBLIC RELATIONS      48 W 25TH ST
2.195                                 AND BRAND STRATEGY                           FLOOR 11
        of the debtor's interest
                                                                                   NEW YORK, NY 10010


        State the term remaining      01/01/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    ORDER FORM                                   DOCUSIGN, INC
        lease is for and the nature                                                221 MAIN ST
2.196                                                                              SUITE 1000
        of the debtor's interest
                                                                                   SAN FRANCISCO, CA 94105


        State the term remaining      05/15/2019 - 05/14/2022
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    DONNELLY MECHANICAL CORP
        lease is for and the nature   AMENDMENT TO PROFESSIONAL SERVICES           96-59 222ND ST
2.197                                 AGREEMENT                                    QUEENS VILLAGE, NY 11429-1313
        of the debtor's interest


        State the term remaining      Term Not Stated
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT                                    DONNELLY MECHANICAL CORP.
        lease is for and the nature   AMENDMENT TO PROFESSIONAL SERVICES           ATTN: DINO MANGIONE
2.198                                 AGREEMENT                                    96-59 222ND ST
        of the debtor's interest
                                                                                   QUEENS VILLAGE, NY


        State the term remaining      N/A - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DUKE REALTY CORPORATION
        lease is for and the nature                                                C/O DUKE REALTY CORPORATION
2.199                                                                              ATTN: V.P., ASSET MANAGEMENT AND CUSTOMER SERVICE
        of the debtor's interest
                                                                                   4900 SEMINARY RD
                                                                                   SUITE 900
                                                                                   ALEXANDRIA, VA 22311
        State the term remaining      08/14/2013 -01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              DUKE REALTY LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O DUKE REALTY CORPORATION
2.200                                                                              ATTN: V.P., ASSET MANAGEMENT AND CUSTOMER SERVICE
        of the debtor's interest
                                                                                   4900 SEMINARY RD
                                                                                   SUITE 900
                                                                                   ALEXANDRIA, VA 22311
        State the term remaining      08/14/2013 -01/31/2023
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                             DUNBAR ARMORED, INC.
        lease is for and the nature   CASH MANAGER MASTER SERVICES CONTRACT        50 SCHILLING RD
2.201                                 SERVICE CONTRACT # 51001134                  HUNT VALLEY, MD 21031
        of the debtor's interest


        State the term remaining      03/17/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            DUNBAR ARMORED, INC.
        lease is for and the nature   DUNBAR ARMORED, INC. SERVICE CONTRACT        50 SCHILLING RD
2.202                                 #43000625 ENDORSEMENT NO. 222163             HUNT VALLEY, MD 21031
        of the debtor's interest


        State the term remaining      02/01/2010 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            DUNBAR ARMORED, INC.
        lease is for and the nature   DUNBAR ARMORED, INC. SERVICE CONTRACT        50 SCHILLING RD
2.203                                 #43000625 ENDORSEMENT NO. 240646             HUNT VALLEY, MD 21031
        of the debtor's interest


        State the term remaining      02/01/2010 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICES AGREEMENT                           DYNEGY ENERGY SERVICES, LLC
        lease is for and the nature   ELECTRIC SERVICE AGREEMENT                   6555 SIERRA DR
2.204                                                                              IRVING, TX 75039
        of the debtor's interest


        State the term remaining      09/23/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     EASTVIEW MALL, LLC
        lease is for and the nature                                                ATTN: GENERAL COUNSEL
2.205                                                                              1265 SCOTTSVILLE RD
        of the debtor's interest
                                                                                   ROCHESTER, NY 14624


        State the term remaining      12/04/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     EASTVIEW MALL, LLC
        lease is for and the nature                                                P.O. BOX 8000
2.206                                                                              DEPT 976
        of the debtor's interest
                                                                                   BUFFALO, NY 14267


        State the term remaining      12/04/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     EASTVIEW MALL, LLC
        lease is for and the nature                                                P.O. BOX 8000
2.207                                                                              DEPT 976
        of the debtor's interest
                                                                                   BUFFALO, NY 14267


        State the term remaining      12/04/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              EASTVIEW MALL, LLC
        lease is for and the nature   GUARANTY TO LEASE AGREEMENT                  P.O. BOX 8000
2.208                                                                              DEPT 976
        of the debtor's interest
                                                                                   BUFFALO, NY 14267


        State the term remaining      12/04/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     EASTVIEW MALL, LLC
        lease is for and the nature                                                1265 SCOTTSVILLE RD
2.209                                                                              ROCHESTER, NY 14624
        of the debtor's interest


        State the term remaining      12/22/2011 - 01/31/2022
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT                                    ECOVA, INC.
        lease is for and the nature   AMENDMENT TO LG&P PARTICIPANT SERVICE        CONTACT: JENNA BITNEY
2.210                                 JOINDER AGREEMENT                            1313 NORTH ATLANTIC
        of the debtor's interest
                                                                                   5TH FL
                                                                                   SPOKANE, WA 99201

        State the term remaining      12/04/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              EDENS GP, LLC
        lease is for and the nature   SHOPPING CENTER LEASE AGREEMENT              C/O EDENS LIMITED PARTNERSHIP
2.211                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1221 MAIN ST, STE 1000
                                                                                   COLUMBIA, SC 29201

        State the term remaining      09/21/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              EDENS LIMITED PARTNERSHIP
        lease is for and the nature   SHOPPING CENTER LEASE AGREEMENT              C/O EDENS LIMITED PARTNERSHIP
2.212                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1221 MAIN ST, STE 1000
                                                                                   COLUMBIA, SC 29201

        State the term remaining      09/21/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              EDENS LIMITED PARTNERSHIP
        lease is for and the nature   DEED OF SHOPPING CENTER LEASE AGREEMENT      C/O EDENS LIMITED PARTNERSHIP
2.213                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1221 MAIN ST, STE 1000
                                                                                   COLUMBIA, SC 29201

        State the term remaining      03/25/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              EDGEHILL VILLAGE INVESTORS, LLC
        lease is for and the nature                                                C/O DTZ
2.214                                                                              1033 DEMONBREUN, STE 600
        of the debtor's interest
                                                                                   NASHVILLE, TN 37203


        State the term remaining      10/23/2015 - 10/23/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              EDGEHILL VILLAGE MANAGING MEMBER, LLC
        lease is for and the nature                                                C/O DTZ
2.215                                                                              1033 DEMONBREUN, STE 600
        of the debtor's interest
                                                                                   NASHVILLE, TN 37203


        State the term remaining      10/23/2015 - 10/23/2025
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    STANDARD LEASE AGREEMENT                     EDUCATIONAL REALTY OP GP, INC.
        lease is for and the nature                                                530 OAK COURT DR, STE 300
2.216                                                                              MEMPHIS, TN 38117
        of the debtor's interest


        State the term remaining      04/07/2015 -04/07/2025
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     EDUCATIONAL REALTY OPERATING PARTNERSHIP, LP
        lease is for and the nature                                                530 OAK COURT DR, STE 300
2.217                                                                              MEMPHIS, TN 38117
        of the debtor's interest


        State the term remaining      04/07/2015 -04/07/2025
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    ELITE INVESTIGATION LTD.
        lease is for and the nature   AMENDMENT TO PROFESSIONAL SERVICES           ATT: KENNETH J GROSSBERGER, VICE PRESIDENT
2.218                                 AGREEMENT                                    538 WEST
        of the debtor's interest
                                                                                   29TH ST
                                                                                   NEW YORK, NY 10001

        State the term remaining      01/09/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    ELITE INVESTIGATION LTD.
        lease is for and the nature                                                ATT: KENNETH J GROSSBERGER, VICE PRESIDENT
2.219                                                                              538 WEST
        of the debtor's interest
                                                                                   29TH ST
                                                                                   NEW YORK, NY 10001

        State the term remaining      05/28/2002 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    ELITE INVESTIGATION LTD.
        lease is for and the nature   AMENDMENT TO PROFESSIONAL SERVICES           ATT: KENNETH J GROSSBERGER, VICE PRESIDENT
2.220                                 AGREEMENT                                    538 WEST
        of the debtor's interest
                                                                                   29TH ST
                                                                                   NEW YORK, NY 10001

        State the term remaining      07/25/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    SUPPORT AGREEMENT                            ELOYALTY CORPORATION
        lease is for and the nature   MAINTENANCE AND SUPPORT AGREEMENT            150 FIELD DR, STE 250
2.221                                                                              LAKE FOREST, IL 60045
        of the debtor's interest


        State the term remaining      09/22/2010 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT                                    ELOYALTY, LLC
        lease is for and the nature                                                9197 SOUTH PEORIA ST
2.222                                                                              ENGLEWOOD, CO 80112
        of the debtor's interest


        State the term remaining      09/22/2010 - N/A
        List the contract number of
        any government contract


        State what the contract or    CONFIRMATION AGREEMENT                       ENGIE RESOURCES LLC
        lease is for and the nature   SALES CONFIRMATION                           1990 POST OAK BLVD
2.223                                                                              HOUSTON, TX 77056
        of the debtor's interest


        State the term remaining      09/26/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    CONFIRMATION AGREEMENT                       ENGIE RESOURCES LLC
        lease is for and the nature   SALES CONFIRMATION                           1990 POST OAK BLVD
2.224                                                                              HOUSTON, TX 77056
        of the debtor's interest


        State the term remaining      09/23/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              ESKRIDGE (E&A), LLC
        lease is for and the nature   DEED OF SHOPPING CENTER LEASE AGREEMENT      C/O EDENS LIMITED PARTNERSHIP
2.225                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1221 MAIN ST, STE 1000
                                                                                   COLUMBIA, SC 29201

        State the term remaining      03/25/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              ESKRIDGE (E&A), LLC
        lease is for and the nature   DEED OF SHOPPING CENTER LEASE AGREEMENT      DEPARTMENT 2356
2.226                                                                              POST OFFICE BOX 822315
        of the debtor's interest
                                                                                   PHILADELPHIA, PA 19182-2315


        State the term remaining      03/25/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              ESKRIDGE (E&A), LLC
        lease is for and the nature   DEED OF SHOPPING CENTER LEASE AGREEMENT      C/O EDENS - 2356
2.227                                                                              ATTN: VICE PRESIDENT OF LEASING, MID ATLANTIC REGION
        of the debtor's interest
                                                                                   7200 WISCONSIN AVE, STE 400
                                                                                   BETHESDA, MD 20814

        State the term remaining      03/25/2015 - 01/31/2025
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   EU DESIGN
        lease is for and the nature                                                      73 SPRING ST, STE 506
2.228                                                                                    NEW YORK, NY 10012
        of the debtor's interest


        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    EUREKA REALTY PARTNERS, INC.
        lease is for and the nature                                                      4100 MACARTHUR BOULEVARD
2.229                                                                                    SUITE 200
        of the debtor's interest
                                                                                         NEWPORT BEACH, CA 92660


        State the term remaining      07/22/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    EUREKA REALTY PARTNERS, INC.
        lease is for and the nature                                                      4100 MACARTHUR BOULEVARD
2.230                                                                                    SUITE 200
        of the debtor's interest
                                                                                         NEWPORT BEACH, CA 92660


        State the term remaining      07/22/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                                   EVANSTON INSURANCE COMPANY
        lease is for and the nature   COMMERCIAL PROPERTY POLICY DECLARATIONS            10 PARKWAY NORTH
2.231                                                                                    DEERFIELD, IL 60015
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                                   EVANSTON INSURANCE COMPANY
        lease is for and the nature   COMMERCIAL PROPERTY POLICY DECLARATIONS            10 PARKWAY NORTH
2.232                                                                                    DEERFIELD, IL 60015
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                                   FACTORY OWNER LLC
        lease is for and the nature                                                      C/O ATLAS CAPITAL GROUP, LLC
2.233                                                                                    450 PARK AVE
        of the debtor's interest
                                                                                         4TH FLOOR
                                                                                         NEW YORK, NY 10022

        State the term remaining      04/11/2016 - 10/31/2027
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              FACTORY OWNER LLC
        lease is for and the nature                                                C/O ATLAS CAPITAL GROUP, LLC
2.234                                                                              ATTN: ANDREW B COHEN AND JAY FEHSKENS
        of the debtor's interest
                                                                                   4TH FLOOR
                                                                                   NEW YORK, NY 10022

        State the term remaining      04/11/2016 - 10/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              FACTORY OWNER LLC
        lease is for and the nature                                                C/O ATLAS CAPITAL GROUP, LLC
2.235                                                                              450 PARK AVE, 4TH FL
        of the debtor's interest
                                                                                   NEW YORK, NY 10022


        State the term remaining      04/11/2016 - 10/31/2027
        List the contract number of
        any government contract


        State what the contract or    6/30/2009                                    FAIR FACTORIES CLEARINGHOUSE
        lease is for and the nature   FAIR FACTORIES CLEARINGHOUSE AGREEMENT       C/O ABBOTT AND COMPANY
2.236                                                                              1 MILITIA DRIVE SUITE 202
        of the debtor's interest
                                                                                   LEXINGTON, MA 02421


        State the term remaining      01/00/1900 - evergreen, one year periods
        List the contract number of
        any government contract


        State what the contract or    AGREEMENT                                    FAIR TRADE USA
        lease is for and the nature   FAIR TRADE USA CERTIFICATION AND LICENSE     ATTN: MAYA SPAULL
2.237                                 AGREEMENT                                    1500 BROADWAY, SUITE 400
        of the debtor's interest
                                                                                   OAKLAND, CA 94612


        State the term remaining      05/04/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    THIRD AMENDMENT TO                           FAIR TRADE USA
        lease is for and the nature   APPENDIX: FEE PAYMENT SCHEDULE               ATTN: MAYA SPAULL
2.238                                                                              1500 BROADWAY, SUITE 400
        of the debtor's interest
                                                                                   OAKLAND, CA 94612


        State the term remaining      04/15/2020 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      FASHION CENTRE ASSOCIATES, LLC
        lease is for and the nature   DEED OF LEASE                                P.O. BOX 402792
2.239                                                                              ATLANTA, GA 30384-2792
        of the debtor's interest


        State the term remaining      07/12/2010 - 07/12/2020
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    RENEWAL                                      FASHION CENTRE ASSOCIATES, LLC
        lease is for and the nature   DEED OF LEASE                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.240                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      07/12/2010 - 07/12/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             FASHION MALL PARTNERS, L.P.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.241                                                                              NATIONAL CITY CENTER
        of the debtor's interest
                                                                                   115 W WASHINGTON
                                                                                   INDIANAPOLIS, IN 46204

        State the term remaining      07/24/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              FASHION VALLEY MALL, LLC
        lease is for and the nature   FASHION VALLEY MALL LEASE                    C/O MS MANAGEMENT ASSOCIATES INC
2.242                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/15/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              FASHION VALLEY MALL, LLC
        lease is for and the nature   FASHION VALLEY MALL LEASE                    P.O. BOX 53271
2.243                                                                              LOS ANGELES, CA 90074-3271
        of the debtor's interest


        State the term remaining      02/15/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                           FEDERAL EXPRESS CORPORATION
        lease is for and the nature   FEDEX TRANSPORTATION SERVICES AGREEMENT      P.O. BOX 1140
2.244                                                                              MEMPHIS, TN 38101-1140
        of the debtor's interest


        State the term remaining      04/04/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    MODIFICATION AGREEMENT                       FEDERAL REALTY INVESTMENT TRUST
        lease is for and the nature   LEASE MODIFICATION AGREEMENT                 ATTN: LEGAL DEPT
2.245                                                                              1626 EAST JEFFERSON ST
        of the debtor's interest
                                                                                   ROCKVILLE, MD 20852-4041


        State the term remaining      02/25/2019 -01/31/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              FEDERAL REALTY PARTNERS, INC.
        lease is for and the nature                                                ATTN: LEGAL DEPT
2.246                                                                              1626 EAST JEFFERSON ST
        of the debtor's interest
                                                                                   ROCKVILLE, MD 20852-4041


        State the term remaining      02/04/2016 - 02/04/2026
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                           FEDEX FREIGHT INC.
        lease is for and the nature   FEDEX TRANSPORTATION SERVICES AGREEMENT      P.O. BOX 223125
2.247                                                                              PITTSBURGH, PA 15251
        of the debtor's interest


        State the term remaining      04/04/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                           FEDEX GROUND PACKAGE SYSTEM, INC.
        lease is for and the nature   FEDEX TRANSPORTATION SERVICES AGREEMENT      P.O. BOX 371741
2.248                                                                              PITTSBURGH, PA 15250
        of the debtor's interest


        State the term remaining      04/04/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                     FIRST DATA SERVICES, LLC
        lease is for and the nature   TRANSARMOR DATA PROTECTION SERVICES          5565 GLENRIDGE CONNECTOR NE, STE 2000
2.249                                 ADDENDUM                                     ATLANTA, GA 30342
        of the debtor's interest


        State the term remaining      06/21/2018 - 06/21/2020
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    FIRST DATA SERVICES, LLC
        lease is for and the nature   AMENDMENT NO. 8 TO SELECT MERCHANT           5565 GLENRIDGE CONNECTOR NE, STE 2000
2.250                                 PAYMENT CARD PROCESSING AGREEMENT            ATLANTA, GA 30342
        of the debtor's interest


        State the term remaining      12/17/2018 - 08/04/2022
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT # 002                              FLEXPRINT LLC
        lease is for and the nature                                                2845 N OMAHA ST
2.251                                                                              MESA, AZ 85215
        of the debtor's interest


        State the term remaining      09/30/2016 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SALES AGREEMENT                              FLO-TECH LLC
        lease is for and the nature   SALES ORDER                                  545 LONG WHARF DR
2.252                                                                              NEW HAVEN, CT 06511
        of the debtor's interest


        State the term remaining      Term Not Stated
        List the contract number of
        any government contract


        State what the contract or    SALES AGREEMENT                              FLO-TECH LLC
        lease is for and the nature   SALES ORDER                                  545 LONG WHARF DR
2.253                                                                              NEW HAVEN, CT 06511
        of the debtor's interest


        State the term remaining      N/A - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              FOLSOM CENTRAL, LLC
        lease is for and the nature   LEASE AND OPERATING AGREEMENT                C/O TRAINOR FAIRBROOK
2.254                                                                              ATTN: JENNIFER L. PRUSKI
        of the debtor's interest
                                                                                   PO BOX 255824
                                                                                   SACRAMENTO, CA 95865

        State the term remaining      07/22/2015 -07/22/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              FORBES/COHEN FLORIDA PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature                                                100 GALLERIA OFFICENTRE, STE 427
2.255                                                                              SOUTHFIELD, MI 48034
        of the debtor's interest


        State the term remaining      10/13/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              FORBES/COHEN FLORIDA PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature                                                100 GALLERIA OFFICENTRE, STE 427
2.256                                                                              SOUTHFIELD, MI 48034
        of the debtor's interest


        State the term remaining      10/13/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              FORBES/COHEN PROPERTIES, L.L.C.
        lease is for and the nature                                                100 GALLERIA OFFICENTRE, STE 427
2.257                                                                              SOUTHFIELD, MI 48034
        of the debtor's interest


        State the term remaining      10/13/2014 - 01/31/2024
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    MODIFICATION AGREEMENT                             FR WESTGATE MALL, LLC
        lease is for and the nature   LEASE MODIFICATION AGREEMENT                       ATTENTION: LEGAL DEPARTMENT
2.258                                                                                    C/O FEDERAL REALTY INVESTMENT TRUST
        of the debtor's interest
                                                                                         1626 EAST JEFFERSON ST
                                                                                         ROCKVILLE, MD 20852-4041

        State the term remaining      02/25/2019 -01/31/2025
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   FREUDENBERG AND VILENE INTERNATIONAL LTD
        lease is for and the nature                                                      828 CHEUNG SHA WAN RD, 8TH FL
2.259                                                                                    KOWLOON
        of the debtor's interest
                                                                                         HONG KONG


        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    FRIT SAN JOSE TOWN AND COUNTRY VILLAGE, LLC
        lease is for and the nature                                                      C/O FEDERAL REALTY INVESTMENT TRUST
2.260                                                                                    P.O. BOX 79408
        of the debtor's interest
                                                                                         CITY OF INDUSTRY, CA 91716-9408


        State the term remaining      10/25/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    FRIT SAN JOSE TOWN AND COUNTRY VILLAGE, LLC
        lease is for and the nature                                                      C/O FEDERAL REALTY INVESTMENT TRUST
2.261                                                                                    ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                         1626 EAST JEFFERSON ST
                                                                                         ROCKVILLE, MD 20852-4041

        State the term remaining      10/25/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    GALVESTON OUTLETS, LLC
        lease is for and the nature                                                      C/O TANGER PROPERTIES LP
2.262                                                                                    ATTENTION: LEGAL DEPARTMENT
        of the debtor's interest
                                                                                         3200 NORTHLINE AVE
                                                                                         SUITE 360
                                                                                         GREENSBORO, NC 27408
        State the term remaining      08/07/2012 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                                  GARDA CL ATLANTIC, INC.
        lease is for and the nature   ARMORED CAR SERVICE AGREEMENT                      3209 MOMENTUM PL
2.263                                                                                    CHICAGO, IL 60689-0001
        of the debtor's interest


        State the term remaining      09/01/2017 - N/A
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease
        State what the contract or    SERVICE AGREEMENT                             GARDA CL TECHNICAL SERVICES, INC.
        lease is for and the nature   ARMORED CAR SERVICE AGREEMENT                 2000 NW CORPORATE BLVD
2.264                                                                               BOCA RATON, FL 33431-7304
        of the debtor's interest


        State the term remaining      06/26/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                      GARTNER INC.
        lease is for and the nature                                                 56 TOP GALLANT RD
2.265                                                                               STAMFORD, CT 06902
        of the debtor's interest


        State the term remaining      10/26/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                       GARTNER, INC.
        lease is for and the nature   GARTNER, INC. SERVICE AGREEMENT FOR J CREW    56 TOP GALLANT RD
2.266                                 GROUP INC.                                    STAMFORD, CT 06904
        of the debtor's interest


        State the term remaining      09/26/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                             GARTNER, INC.
        lease is for and the nature   GARTNER, INC. SERVICE AGREEMENT FOR J. CREW   56 TOP GALLANT RD
2.267                                 GROUP, INC.                                   STAMFORD, CT 06904
        of the debtor's interest


        State the term remaining      08/27/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                               GATEWAY KNOLLWOOD, LLC
        lease is for and the nature   SHOPPING CENTER LEASE                         C/O HEITMAN CAPITAL MANAGEMENT LLC
2.268                                                                               191 NORTH WACKER DR
        of the debtor's interest
                                                                                    25TH FLOOR
                                                                                    CHICAGO, IL 60606

        State the term remaining      12/14/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    SEPARATION AGREEMENT AND GENERAL RELEASE GAYLE SPANNAUS
        lease is for and the nature                                            ADDRESS REDACTED
2.269
        of the debtor's interest


        State the term remaining      3/11/2019
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE AGREEMENT                            GENERAL INFORMATION SERVICES, INC.
        lease is for and the nature   COMPII-9 SERVICE AGREEMENT                   P.O. BOX 353
2.270                                                                              CHAPIN
        of the debtor's interest
                                                                                   SOUTH CAROLINA, 29036-0363


        State the term remaining      10/23/2008 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    GENERAL INFORMATION SERVICES, INC.
        lease is for and the nature                                                P.O. BOX 353
2.271                                                                              CHAPIN
        of the debtor's interest
                                                                                   SOUTH CAROLINA, 29036-0363


        State the term remaining      03/01/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              GFM, LLC
        lease is for and the nature   RETAIL CENTER LEASE AGREEMENT                C/O THE GROVE
2.272                                                                              C/O CARUSO AFFILIATED
        of the debtor's interest
                                                                                   101 THE GROVE DR
                                                                                   LOS ANGELES, CA 90036

        State the term remaining      05/03/2011 - 05/02/2021
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      GFM, LLC
        lease is for and the nature   LEASE                                        C/O CARUSO AFFILIATED
2.273                                                                              101 THE GROVE DR
        of the debtor's interest
                                                                                   LOS ANGELES, CA 90036


        State the term remaining      05/03/2011 - 05/03/2021
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                     GIRLS INC
        lease is for and the nature   COMMERCIAL CO-VENTURE AGREEMENT              120 WALL ST
2.274                                 ADDENDUM                                     18TH FLOOR
        of the debtor's interest
                                                                                   NEW YORK, NY 10005


        State the term remaining      01/31/2020 - 03/31/2021
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     GIV WEST CLAYTON ATHENS GA INVESTOR, LLC
        lease is for and the nature                                                ATTN: STEVEN BENOS
2.275                                                                              900 N MICHIGAN AVE, STE 1450
        of the debtor's interest
                                                                                   CHICAGO, IL 60611


        State the term remaining      04/07/2015 -04/07/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    RENEWAL                                      GLIMCHER PROPERTIES CORPORATION
        lease is for and the nature   LEASE                                        150 EAST GAY ST
2.276                                                                              24TH FLOOR
        of the debtor's interest
                                                                                   COLUMBUS, OH 43215


        State the term remaining      04/05/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      GLIMCHER PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature   LEASE                                        ATTN: GENERAL COUNSEL
2.277                                                                              20 S 3RD ST
        of the debtor's interest
                                                                                   COLUMBUS, OH 43215


        State the term remaining      04/05/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    THIRD AMENDMENT TO                           GLOBAL FACILITY MANAGEMENT & CONSTRUCTION, INC
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: SEAN BLANK, PRESIDENT
2.278                                                                              525 BROAD HOLLOW RD, STE 100
        of the debtor's interest
                                                                                   MELVILLE, NY 11747


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    THIRD AMENDMENT TO                           GLOBAL FACILITY MANAGEMENT & CONSTRUCTION, INC
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: SEAN BLANK, PRESIDENT
2.279                                                                              525 BROAD HOLLOW RD, STE 100
        of the debtor's interest
                                                                                   MELVILLE, NY 11747


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    THIRD AMENDMENT TO                           GLOBAL FACILITY MANAGEMENT & CONSTRUCTION, INC
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: SEAN BLANK
2.280                                                                              525 BROAD HOLLOW RD
        of the debtor's interest
                                                                                   SUITE 100
                                                                                   MELVILLE, NY 11747

        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    THIRD AMENDMENT TO                           GLOBAL FACILITY MANAGEMENT & CONSTRUCTION, INC.
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: SEAN BLANK, PRESIDENT
2.281                                                                              525 BROAD HOLLOW RD, STE 100
        of the debtor's interest
                                                                                   MELVILLE, NY 11747


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    THIRD AMENDMENT TO                           GLOBAL FACILITY MANAGEMENT & CONSTRUCTION, INC.
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: SEAN BLANK, PRESIDENT
2.282                                                                              525 BROAD HOLLOW RD, STE 100
        of the debtor's interest
                                                                                   MELVILLE, NY 11747


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     GLOBAL FACILITY MANAGEMENT AND CONSTRUCTION INC.
        lease is for and the nature                                                525 BROAD HOLLOW RD
2.283                                                                              MELVILLE, NY 11747
        of the debtor's interest


        State the term remaining      04/10/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              GPT LONGMEADOW, LLC
        lease is for and the nature   SHOPPING CENTER LEASE                        C/O GROVE PROPERTY FUND
2.284                                                                              ATTN: MR ED NAVARRO
        of the debtor's interest
                                                                                   36 WELLES ST, STE 200
                                                                                   GLASTONBURY, CT 06033

        State the term remaining      05/11/2016 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              GPT LONGMEADOW, LLC
        lease is for and the nature   SHOPPING CENTER LEASE                        C/O GROVE PROPERTY FUND
2.285                                                                              ATTN: MR ED NAVARRO
        of the debtor's interest
                                                                                   36 WELLES ST, STE 200
                                                                                   GLASTONBURY, CT 06033

        State the term remaining      05/11/2016 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    THIRD AMENDMENT TO LEASE                     GRAND PLACE LLC
        lease is for and the nature                                                30 EAST SEVENTH ST
2.286                                                                              SUITE 3550
        of the debtor's interest
                                                                                   SAINT PAUL, MN 55101


        State the term remaining      01/20/2017 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    GRANITE
        lease is for and the nature   GRANITE'S RATES ON LOCAL LINE SERVICES       100 NEWPORT AVE EXT
2.287                                                                              QUINCY, MA 02171
        of the debtor's interest


        State the term remaining      03/13/2014 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE AGREEMENT                            GRANITE
        lease is for and the nature   COMMERCIAL ACCOUNT FORM AND LETTER OF        100 NEWPORT AVE EXT
2.288                                 AGENCY MULTI-SERVICES                        QUINCY, MA 02171
        of the debtor's interest


        State the term remaining      12/16/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             GREAT AMERICAN CUSTOM INSURANCE SERVICES
        lease is for and the nature   YOUR GREAT AMERICAN INSURANCE POLICY         725 SOUTH FIGUEROA ST, STE 3400
2.289                                                                              LOS ANGELES, CA 90017
        of the debtor's interest


        State the term remaining      12/18/2019 - 12/18/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             GREAT AMERICAN PROFESSIONAL RISK INS
        lease is for and the nature   YOUR GREAT AMERICAN INSURANCE POLICY         11325 NORTH COMMUNITY HOUSE RD, STE 200
2.290                                                                              CHARLOTTE, NC 28277
        of the debtor's interest


        State the term remaining      12/18/2019 - 12/18/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             GREAT AMERICAN SPIRIT INS COMPANY
        lease is for and the nature   YOUR GREAT AMERICAN INSURANCE POLICY         301 E FOURTH ST
2.291                                                                              CINCINNATI, OH 45202
        of the debtor's interest


        State the term remaining      12/18/2019 - 12/18/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                           GREENE TOWN CENTER, LLC
        lease is for and the nature   STANDARD COMMERCIAL SHOPPING CENTER LEASE C/O MALL PROPERTIES
2.292                                                                           ATTN: LEASE ADMINISTRATION
        of the debtor's interest
                                                                                5500 NEW ALBANY RD EAST, STE 200
                                                                                NEW ALBANY, OH 43054

        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              H&S PROPERTIES DEVELOPMENT CORP
        lease is for and the nature   RETAIL LEASE                                 ATTN: GEORGE PHILIPPOU, ESQUIRE
2.293                                                                              650 SOUTH EXETER ST, STE 200
        of the debtor's interest
                                                                                   BALTIMORE, MD 21202


        State the term remaining      12/00/2011 - 12/00/2021
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              HAMILTON PLACE CMBS, LLC
        lease is for and the nature   LEASE MODIFICATION AGREEMENT                 ATTN: CHIEF LEGAL OFFICER
2.294                                                                              CBL CENTER - STE 500
        of the debtor's interest
                                                                                   2030 HAMILTON PLACE BLVD
                                                                                   CHATTANOOGA, TN 37421

        State the term remaining      01/25/2019 -01/25/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HARBOR EAST PARCEL D-HOLDINGS, LLC
        lease is for and the nature   RETAIL LEASE                                 C/O HARBOR EAST MGMT GROUP, LLC
2.295                                                                              ATTN: TIM O'DONALD
        of the debtor's interest
                                                                                   650 S EXETER ST, STE 200
                                                                                   BALTIMORE, MD 21202

        State the term remaining      12/00/2011 - 12/00/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HARBOR EAST PARCEL D-INVESTORS, LLC
        lease is for and the nature   RETAIL LEASE                                 C/O HARBOR EAST MGMT GROUP, LLC
2.296                                                                              ATTN: TIM O'DONALD
        of the debtor's interest
                                                                                   650 S EXETER ST, STE 200
                                                                                   BALTIMORE, MD 21202

        State the term remaining      12/00/2011 - 12/00/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HARBOR EAST PARCEL D-PARTNERS, LLC
        lease is for and the nature   RETAIL LEASE                                 C/O HARBOR EAST MGMT GROUP, LLC
2.297                                                                              ATTN: TIM O'DONALD
        of the debtor's interest
                                                                                   650 S EXETER ST, STE 200
                                                                                   BALTIMORE, MD 21202

        State the term remaining      12/00/2011 - 12/00/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HARBOR EAST PARCEL D-RETAIL 2, LLC
        lease is for and the nature   RETAIL LEASE                                 C/O HARBOR EAST MANAGEMENT GROUP, LLC
2.298                                                                              TIM O'DONALD
        of the debtor's interest
                                                                                   650 SOUTH EXETER ST
                                                                                   SUITE 200
                                                                                   BALTIMORE, MA 21202
        State the term remaining      12/00/2011 - 12/00/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HARBOR EAST PARCEL D-RETAIL 2, LLC
        lease is for and the nature   RETAIL LEASE                                 C/O H&S PROPERTIES DEVELOPMENT CORP
2.299                                                                              GEORGE PHILIPPOU, ESQUIRE
        of the debtor's interest
                                                                                   650 SOUTH EXETER ST
                                                                                   SUITE 200
                                                                                   BALTIMORE, MA 21202
        State the term remaining      12/00/2011 - 12/00/2021
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              HARTLEY WOOD HOLDINGS LTD
        lease is for and the nature                                                ATTENTION: MR. S.H. CHEAH
2.300                                                                              ATTENTION: T.K. CHEAH
        of the debtor's interest
                                                                                   230 - 1090 WEST GEORGIA ST
                                                                                   VANCOUVER, BC V6E 3V7
                                                                                   CANADA
        State the term remaining      11/01/2011 -11/01/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT AMENDMENT NO. 3            HCL AMERICA INC
        lease is for and the nature                                                330 POTRERO AVE
2.301                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      07/12/2017 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT AMENDMENT NO. 3            HCL AMERICA SOLUTIONS INC
        lease is for and the nature                                                330 PORTREO AVE
2.302                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      07/12/2017 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL AMERICA SOLUTIONS INC
        lease is for and the nature                                                330 PORTREO AVE
2.303                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      03/04/2019 - 03/04/2022
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              HCL AMERICA SOLUTIONS INC
        lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
2.304                                                                              330 POTRERO AVE
        of the debtor's interest
                                                                                   SUNNYVALE, CA 94085


        State the term remaining      07/13/2017 - 07/13/2020
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL AMERICA SOLUTIONS INC
        lease is for and the nature                                                330 PORTREO AVE
2.305                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      06/20/2018 - 06/19/2021
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE AGREEMENT                            HCL AMERICA SOLUTIONS INC.
        lease is for and the nature                                                330 POTRERO AVE
2.306                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      03/04/2019 - 03/04/2022
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              HCL AMERICA SOLUTIONS INC.
        lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
2.307                                                                              330 POTRERO AVE
        of the debtor's interest
                                                                                   SUNNYVALE, CA 94085


        State the term remaining      07/13/2017 - 07/13/2020
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL AMERICA SOLUTIONS INC.
        lease is for and the nature                                                330 POTRERO AVE
2.308                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      06/20/2018 - 06/19/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT AMENDMENT NO. [XX001]      HCL AMERICA SOLUTIONS INC.
        lease is for and the nature                                                330 POTRERO AVE
2.309                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      04/02/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES CORPORATE SERVICES LIMITED
        lease is for and the nature                                                AXON CENTRE
2.310                                                                              CHURCH RD
        of the debtor's interest
                                                                                   EGHAM, SURREY TW20 9QB
                                                                                   UNITED KINGDOM

        State the term remaining      03/04/2019 - 03/04/2022
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES CORPORATE SERVICES LIMITED
        lease is for and the nature                                                AXON CENTRE
2.311                                                                              CHURCH RD
        of the debtor's interest
                                                                                   EGHAM, SURREY TW20 9QB
                                                                                   UNITED KINGDOM

        State the term remaining      06/20/2018 - 06/19/2021
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES CORPORATE SERVICES LIMITED
        lease is for and the nature                                                AXON CENTRE
2.312                                                                              CHURCH RD
        of the debtor's interest
                                                                                   EGHAM, SURREY TW20 9QB
                                                                                   UNITED KINGDOM

        State the term remaining      03/04/2019 - 03/04/2022
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES CORPORATE SERVICES LIMITED
        lease is for and the nature                                                AXON CENTRE
2.313                                                                              CHURCH RD
        of the debtor's interest
                                                                                   EGHAM, SURREY TW20 9QB
                                                                                   UNITED KINGDOM

        State the term remaining      06/20/2018 - 06/19/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT AMENDMENT NO. [XX001]      HCL TECHNOLOGIES CORPORATE SERVICES LIMITED
        lease is for and the nature                                                AXON CENTRE
2.314                                                                              CHURCH RD
        of the debtor's interest
                                                                                   EGHAM, SURREY TW20 9QB
                                                                                   UNITED KINGDOM

        State the term remaining      04/02/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT AMENDMENT NO. 3            HCL TECHNOLOGIES CORPORATE SERVICES LTD
        lease is for and the nature                                                AXON CENTRE
2.315                                                                              CHURCH RD
        of the debtor's interest
                                                                                   EGHAM, SURREY TW20 9QB
                                                                                   UNITED KINGDOM

        State the term remaining      07/12/2017 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT AMENDMENT NO. 3            HCL TECHNOLOGIES LTD
        lease is for and the nature                                                C/O HCL AMERICA SOLUTIONS INC
2.316                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   330 POTRERO AVE
                                                                                   SUNNYVALE, CA 94085

        State the term remaining      07/12/2017 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES LTD
        lease is for and the nature                                                806 SIDDHARTH
2.317                                                                              NEHRU PLACE, ND 110019
        of the debtor's interest


        State the term remaining      03/04/2019 - 03/04/2022
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES LTD
        lease is for and the nature                                                806 SIDDHARTH
2.318                                                                              NEHRU PLACE, ND 110019
        of the debtor's interest


        State the term remaining      06/20/2018 - 06/19/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES LTD
        lease is for and the nature                                                806 SIDDHARTH
2.319                                                                              NEHRU PLACE, ND 110019
        of the debtor's interest


        State the term remaining      03/04/2019 - 03/04/2022
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            HCL TECHNOLOGIES LTD
        lease is for and the nature                                                806 SIDDHARTH
2.320                                                                              NEHRU PLACE, ND 110019
        of the debtor's interest


        State the term remaining      06/20/2018 - 06/19/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT AMENDMENT NO. [XX001]      HCL TECHNOLOGIES LTD
        lease is for and the nature                                                806 SIDDHARTH
2.321                                                                              NEHRU PLACE, ND 110019
        of the debtor's interest


        State the term remaining      04/02/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HEAD ACQUISITION, L.P.
        lease is for and the nature                                                C/O CT CORPORATION SYSTEM
2.322                                                                              4400 EASTON COMMONS WAY, STE 125
        of the debtor's interest
                                                                                   COLUMBUS, OH 43219


        State the term remaining      12/12/2012 - 12/12/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HELP II, LLC
        lease is for and the nature   RETAIL LEASE                                 C/O HARBOR EAST MANAGEMENT GROUP, LLC
2.323                                                                              650 SOUTH EXETER ST, STE 200
        of the debtor's interest
                                                                                   BALTIMORE, MD 21202


        State the term remaining      10/22/2014 - 01/31/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    STORAGE LEASE                                HENRY T. SEGERSTROM MANAGEMENT LLC
        lease is for and the nature                                                C/O C.J. SEGERSTROM & SONS
2.324                                                                              3315 FAIRVIEW RD
        of the debtor's interest
                                                                                   COSTA MESA, CA 92626


        State the term remaining      05/21/2010 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HENRY T. SEGERSTROM MANAGEMENT LLC
        lease is for and the nature                                                C/O C.J. SEGERSTROM & SONS
2.325                                                                              3315 FAIRVIEW RD
        of the debtor's interest
                                                                                   COSTA MESA, CA 92626


        State the term remaining      03/01/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HIGHLAND VILLAGE GP LLC
        lease is for and the nature   LEASE CONTRACT                               4055 WESTHEIMER
2.326                                                                              HOUSTON, TX 77027
        of the debtor's interest


        State the term remaining      03/26/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HIGHLAND VILLAGE LIMITED PARTNERSHIP
        lease is for and the nature   LEASE CONTRACT                               4055 WESTHEIMER
2.327                                                                              HOUSTON, TX 77027
        of the debtor's interest


        State the term remaining      03/26/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HIGHWOODS PROPERTIES, INC.
        lease is for and the nature   RETAIL LEASE                                 ATTN: LEASE ADMINISTRATOR
2.328                                                                              3100 SMOKETREE COURT, STE 600
        of the debtor's interest
                                                                                   RALEIGH, NC 27604


        State the term remaining      03/12/2015 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    SECOND AMENDMENT TO LEASE                    HIGHWOODS PROPERTIES, INC.
        lease is for and the nature                                                ATTN: GLENN STEPHENSON
2.329                                                                              4706 BROADWAY
        of the debtor's interest
                                                                                   SUITE 260
                                                                                   KANSAS CITY, MO 64112

        State the term remaining      10/03/2011 - 01/31/2022
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SECOND AMENDMENT TO LEASE                    HIGHWOODS PROPERTIES, INC.
        lease is for and the nature                                                ATTN: LEASE ADMINISTRATION
2.330                                                                              3100 SMOKETREE COURT
        of the debtor's interest
                                                                                   SUITE # 600
                                                                                   RALEIGH, NC 27604

        State the term remaining      10/03/2011 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HIGHWOODS REALTY LIMITED PARTNERSHIP
        lease is for and the nature   RETAIL LEASE                                 ATTN: GLENN E STEPHENSON
2.331                                                                              4706 BROADWAY, STE 260
        of the debtor's interest
                                                                                   KANSAS CITY, MI 64112


        State the term remaining      03/12/2015 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    SECOND AMENDMENT TO LEASE                    HIGHWOODS REALTY LIMITED PARTNERSHIP
        lease is for and the nature                                                P.O. BOX 409425
2.332                                                                              ATLANTA, GA 30384
        of the debtor's interest


        State the term remaining      10/03/2011 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    STORAGE LEASE                                HILLDALE SHOPPING CENTER LLC
        lease is for and the nature   INDENTURE OF LEASE HILLDALE                  C/O WS ASSET MANAGEMENT, INC
2.333                                                                              33 BOYLSTON ST, STE 3000
        of the debtor's interest
                                                                                   CHESTNUT HILL, MA 02467


        State the term remaining      11/14/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    STORAGE LEASE                                HTS MANAGEMENT CO., INC.
        lease is for and the nature                                                C/O C.J. SEGERSTROM & SONS
2.334                                                                              3315 FAIRVIEW RD
        of the debtor's interest
                                                                                   COSTA MESA, CA 92626


        State the term remaining      05/21/2010 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              HTS MANAGEMENT CO., INC.
        lease is for and the nature                                                C/O C.J. SEGERSTROM & SONS
2.335                                                                              3315 FAIRVIEW RD
        of the debtor's interest
                                                                                   COSTA MESA, CA 92626


        State the term remaining      03/01/2012 - 01/31/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   IDEAL FASTENER
        lease is for and the nature                                                      10800 BISCAYNNE BLVD, STE 350B
2.336                                                                                    MIAMI, FL 33161
        of the debtor's interest


        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                                  INTELLEGO CONSULTING, LLC
        lease is for and the nature                                                      1200 BRICKELL AVE, STE 800
2.337                                                                                    MIAMI, FL 33131
        of the debtor's interest


        State the term remaining      03/06/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                                  INTELLEGO CONSULTING, LLC
        lease is for and the nature                                                      1200 BRICKELL AVE, STE 800
2.338                                                                                    MIAMI, FL 33131
        of the debtor's interest


        State the term remaining      05/15/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                                 INTERIM LEGAL TALENT
        lease is for and the nature   SERVICES AGREEMENT                                 A DIVISION OF MLA - SOLUTIONS PRACTICE GROUP, LLC
2.339
        of the debtor's interest


        State the term remaining      09/30/2010 - one year + evergreen renewals
        List the contract number of
        any government contract


        State what the contract or    12/9/2019                                          INTERIM LEGAL TALENT
        lease is for and the nature   MAJOR, LINDSEY & AFRICA - EXHIBIT A - RUHY         A DIVISION OF MLA - SOLUTIONS PRACTICE GROUP, LLC
2.340                                 NARANG
        of the debtor's interest


        State the term remaining      Term Not Stated
        List the contract number of
        any government contract


        State what the contract or    9/6/2017                                           INTERNATIONAL FINANCE CORP
        lease is for and the nature   AGREEMENT FOR COOPERATION AND                      2121 PENNSYLVANIA AVE NW
2.341                                 ENGAGEMENT IN THE ILO/IFC BETTER WORK              WASHINGTON, DC 20433
        of the debtor's interest
                                      PROGRAMME


        State the term remaining      evergreen
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    9/6/2017                                     INTERNATIONAL LABOUR ORGANIZATION
        lease is for and the nature   AGREEMENT FOR COOPERATION AND                4 ROUTE DES MORILLONS
2.342                                 ENGAGEMENT IN THE ILO/IFC BETTER WORK        CH-1211, GENÈVE
        of the debtor's interest
                                      PROGRAMME                                    SWITZERLAND


        State the term remaining      evergreen
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     INX TECHNOLOGIES, INC.
        lease is for and the nature                                                515 PLAINFIELD AGE, STE 2
2.343                                                                              EDISON, NJ 08817
        of the debtor's interest


        State the term remaining      00/00/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    GENERAL RELEASE                              JAMES BRETT
        lease is for and the nature                                                ADDRESS REDACTED
2.344
        of the debtor's interest


        State the term remaining      11/17/2018
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JAMESTOWN PCM MASTER TENANT, L.P.
        lease is for and the nature   RETAIL LEASE AGREEMENT                       PONCE CITY MARKET
2.345                                                                              675 PONCE DE LEON AVE
        of the debtor's interest
                                                                                   NE
                                                                                   7TH FL
                                                                                   ATLANTA, GA 30308
        State the term remaining      02/27/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JAMESTOWN PCM MASTER TENANT, L.P.
        lease is for and the nature   RETAIL LEASE AGREEMENT                       ATTN: GENERAL MANAGER
2.346                                                                              PONCE CITY MARKET
        of the debtor's interest
                                                                                   675 PONCE DE LEON AVE, NE
                                                                                   7TH FL
                                                                                   ATLANTA, GA 30308
        State the term remaining      02/27/2015 - 02/27/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JAMESTOWN US PROPERTIES CORP
        lease is for and the nature   RETAIL LEASE                                 ATLANTA, GA 30339
2.347
        of the debtor's interest


        State the term remaining      07/30/2014 - 07/30/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              JAMESTOWN WAREHOUSE ROW, L.P.
        lease is for and the nature   RETAIL LEASE                                 ATTN: ASSET MANAGER
2.348                                                                              ONE OVERTON PARK
        of the debtor's interest
                                                                                   TWELFTH FLOOR
                                                                                   ATLANTA, GA 30339

        State the term remaining      07/30/2014 - 07/30/2024
        List the contract number of
        any government contract


        State what the contract or    EMPLOYMENT AGREEMENT                         JAN SINGER
2.349   lease is for and the nature
        of the debtor's interest


        State the term remaining      1/26/2020
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    JDA SOFTWARE, INC.
        lease is for and the nature   SCHEDULE 10-A: AMENDED MAINTENANCE           15059 N SCOTTSDALE RD, STE 400
2.350                                 SCHEDULE AND MAINTENANCE TERMINATION         SCOTTSDALE, AZ 85254
        of the debtor's interest


        State the term remaining      09/13/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    SEPARATION AGREEMENT AND GENERAL RELEASE JOHANNA UURASJARVI
        lease is for and the nature                                            ADDRESS REDACTED
2.351
        of the debtor's interest


        State the term remaining      4/10/2019
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JONES LANG LASALLE
        lease is for and the nature                                                4747 EXECUTIVE DR, STE 400
2.352                                                                              SAN DIEGO, CA 92121
        of the debtor's interest


        State the term remaining      12/30/2013 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JONES LANG LASALLE AMERICAS, INC.
        lease is for and the nature                                                ATTN: PRESIDENT AND CEO, RETAIL
2.353                                                                              3344 PEACHTREE RD NE, STE 1200
        of the debtor's interest
                                                                                   ATLANTA, GA 30326


        State the term remaining      12/30/2013 - 01/31/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    FIRST AMENDMENT TO                           JONES LANG LASALLE BROKERAGE, INC.
        lease is for and the nature   SERVICES AGREEMENT                           330 MADISON AVE
2.354                                                                              NEW YORK, NY 10017
        of the debtor's interest


        State the term remaining      05/08/2018 - 12/31/2022
        List the contract number of
        any government contract


        State what the contract or    FIRST AMENDMENT TO                           JONES LANG LASALLE BROKERAGE, INC.
        lease is for and the nature   SERVICES AGREEMENT                           330 MADISON AVE
2.355                                                                              NEW YORK, NY 10017
        of the debtor's interest


        State the term remaining      05/08/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             JOSEPH WILLIAMS
        lease is for and the nature                                                331 SUMMER ST, UNIT 1
2.356                                                                              SOMERVILLE, MA 02144
        of the debtor's interest


        State the term remaining      05/28/2020 - 08/28/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JT PCM GP, L.P.
        lease is for and the nature   RETAIL LEASE AGREEMENT                       PONCE CITY MARKET
2.357                                                                              675 PONCE DE LEON AVE
        of the debtor's interest
                                                                                   NE
                                                                                   7TH FL
                                                                                   ATLANTA, GA 30308
        State the term remaining      02/27/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JT PCM GP, L.P.
        lease is for and the nature   RETAIL LEASE AGREEMENT                       PONCE CITY MARKET
2.358                                                                              675 PONCE DE LEON AVE
        of the debtor's interest
                                                                                   NE
                                                                                   7TH FL
                                                                                   ATLANTA, GA 30308
        State the term remaining      02/27/2015 - 02/27/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              JT PONCE CITY MARKET GP, LLC
        lease is for and the nature   RETAIL LEASE AGREEMENT                       PONCE CITY MARKET
2.359                                                                              675 PONCE DE LEON AVE
        of the debtor's interest
                                                                                   NE
                                                                                   7TH FL
                                                                                   ATLANTA, GA 30308
        State the term remaining      02/27/2015 - 01/31/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                             State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease
        State what the contract or    LEASE AGREEMENT                                 JT PONCE CITY MARKET GP, LLC
        lease is for and the nature   RETAIL LEASE AGREEMENT                          PONCE CITY MARKET
2.360                                                                                 675 PONCE DE LEON AVE
        of the debtor's interest
                                                                                      NE
                                                                                      7TH FL
                                                                                      ATLANTA, GA 30308
        State the term remaining      02/27/2015 - 02/27/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                 JT WAREHOUSE ROW, LLC
        lease is for and the nature   RETAIL LEASE                                    ATLANTA, GA 30339
2.361
        of the debtor's interest


        State the term remaining      07/30/2014 - 07/30/2024
        List the contract number of
        any government contract


        State what the contract or    SEPARATION AGREEMENT AND GENERAL RELEASE KAREN CLEMENT
        lease is for and the nature                                            ADDRESS REDACTED
2.362
        of the debtor's interest


        State the term remaining      9/16/2019
        List the contract number of
        any government contract


        State what the contract or    SEPARATION AGREEMENT AND GENERAL RELEASE KAREN KRIGSMAN
        lease is for and the nature                                            ADDRESS REDACTED
2.363
        of the debtor's interest


        State the term remaining      8/7/2019
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                               KEPLER GROUP LLC
        lease is for and the nature   MEDIA BUYING SERVICES - 2019 STATEMENT OF       6 E 32ND ST 9TH FL
2.364                                 WORK                                            NEW YORK, NY 10016
        of the debtor's interest


        State the term remaining      06/27/2019 - 06/30/2020
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                        KEPLER GROUP LLC
        lease is for and the nature                                                   6 E 32ND ST
2.365                                                                                 9TH FL
        of the debtor's interest
                                                                                      NEW YORK, NY 10016


        State the term remaining      07/19/2017 - N/A
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              KIMCO SUBURBAN SQUARE GP BUSINESS TRUST
        lease is for and the nature                                                C/O KIMCO REALTY CORPORATION
2.366                                                                              3333 NEW HYDE PARK RD, STE 100
        of the debtor's interest
                                                                                   P.O. BOX 5020
                                                                                   NEW HYDE PARK, NY 11042-0020

        State the term remaining      12/31/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                           KMO-361 REALTY ASSOCIATES, LLC.
        lease is for and the nature   STANDARD COMMERCIAL SHOPPING CENTER LEASE C/O MALL PROPERTIES, INC
2.367                                                                           ATTN: LEASE ADMINISTRATION
        of the debtor's interest
                                                                                5500 NEW ALBANY RD
                                                                                EAST THIRD FL
                                                                                NEW ALBANY, OH 43054
        State the term remaining      08/20/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    ENGAGEMENT LETTER                            KPMG LLP
        lease is for and the nature                                                SUITE 400
2.368                                                                              2200 CABOT DR
        of the debtor's interest
                                                                                   LISLE, IL 60532


        State the term remaining      10/29/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             KPMG LLP
        lease is for and the nature   ENGAGEMENT LETTER                            SUITE 400
2.369                                                                              2200 CABOT DR
        of the debtor's interest
                                                                                   LISLE, IL 60532


        State the term remaining      10/17/2019 - 09/30/2020
        List the contract number of
        any government contract


        State what the contract or    SCOPE OF WORK                                KRAMER DESIGN GROUP LLC
        lease is for and the nature                                                601 W 26TH ST, STE 1345
2.370                                                                              NEW YORK, NY 10001
        of the debtor's interest


        State the term remaining      06/02/2020 - 07/02/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              KRE COLONIE OWNER, LLC
        lease is for and the nature   SHOPPING CENTER LEASE                        100 NORTH SEPULVEDA BLVD, STE 1925
2.371                                                                              EL SEGUNDO, CA 90245
        of the debtor's interest


        State the term remaining      04/04/2016 - 01/31/2026
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    LEASE AGREEMENT                                    KRE COLONIE OWNER, LLC
        lease is for and the nature   SHOPPING CENTER LEASE                              C/O COLONIE CENTER
2.372                                                                                    ATTN: MALL MANAGEMENT OFFICE
        of the debtor's interest
                                                                                         131 COLONIE CENTER
                                                                                         ALBANY, NY 12205

        State the term remaining      04/04/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    KRG RIVERS EDGE, LLC
        lease is for and the nature                                                      C/O KITE REALTY GROUP
2.373                                                                                    ATTN: ASSET MANAGEMENT
        of the debtor's interest
                                                                                         30 SOUTH MERIDIAN, STE 1100
                                                                                         INDIANAPOLIS, IN 46204

        State the term remaining      07/29/2016 - 07/29/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    KRG RIVERS EDGE, LLC
        lease is for and the nature                                                      ATTN: PROPERTY ACCOUNTANT
2.374                                                                                    P.O. BOX 752
        of the debtor's interest
                                                                                         INDIANAPOLIS, IN 46206-0752


        State the term remaining      07/29/2016 - 07/29/2026
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                            L2 INC.
        lease is for and the nature   MEMBERSHIP AGREEMENT                               740 BROADWAY
2.375                                                                                    5TH FL
        of the debtor's interest
                                                                                         NEW YORK, NY 10003


        State the term remaining      09/06/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    LAHAM CAPITAL GROUP, L.L.C.
        lease is for and the nature                                                      150 N MARKET
2.376                                                                                    WICHITA, KS 67202
        of the debtor's interest


        State the term remaining      01/11/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   LANDES GLOBAL
        lease is for and the nature                                                      LANDES HONG KONG LTD
2.377                                                                                    3/F, KRAS ASIA INDUSTRIAL BLDG
        of the debtor's interest
                                                                                         79 HUNG TO RD
                                                                                         KWUN TONG, KOWLOON
                                                                                         HONG KONG
        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              LEGACY PLACE PROPERTIES LLC
        lease is for and the nature   INDENTURE OF LEASE LEGACY PLACE              1330 BOYLSTON ST
2.378                                                                              CHESTNUT HILL, MA 02467
        of the debtor's interest


        State the term remaining      02/04/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    CO-MARKETING AGREEMENT                       LENZING AKTIENGESELLSCHAFT
        lease is for and the nature                                                WERKSTRABE 2
2.379                                                                              A-4860
        of the debtor's interest
                                                                                   LENZING
                                                                                   AUSTRIA

        State the term remaining      07/02/2019 - 07/31/2020
        List the contract number of
        any government contract


        State what the contract or    CO-MARKETING AGREEMENT                       LENZING AKTIENGESELLSCHAFT
        lease is for and the nature                                                WERKSTRABE 2
2.380                                                                              A-4860 LENZING
        of the debtor's interest
                                                                                   AUSTRIA


        State the term remaining      07/02/2019 - 07/31/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              LFP HOLDINGS, LLC
        lease is for and the nature                                                C/O NAPERVILLE CHAMBER OF COMMERCE
2.381                                                                              55 S. MAIN ST
        of the debtor's interest
                                                                                   SUITE 351
                                                                                   NAPERVILLE, IL 60540

        State the term remaining      04/29/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              LFP HOLDINGS, LLC
        lease is for and the nature                                                C/O BBM INCORPORATED
2.382                                                                              55 S. MAIN ST
        of the debtor's interest
                                                                                   SUITE 351
                                                                                   NAPERVILLE, IL 60540

        State the term remaining      04/29/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              LFP HOLDINGS, LLC
        lease is for and the nature                                                PO BOX 544
2.383                                                                              NAPERVILLE, IL 60566-0544
        of the debtor's interest


        State the term remaining      04/29/2013 - 01/31/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    LETTER AGREEMENT                                   LIBBY WADLE
        lease is for and the nature                                                      ADDRESS REDACTED
2.384
        of the debtor's interest


        State the term remaining      11/28/2011 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT TO EMPLOYMENT AGREEMENT                  LIBBY WADLE
        lease is for and the nature                                                      ADDRESS REDACTED
2.385
        of the debtor's interest


        State the term remaining      11/26/2019
        List the contract number of
        any government contract


        State what the contract or    EMPLOYMENT AGREEMENT                               LIBBY WADLE
        lease is for and the nature                                                      ADDRESS REDACTED
2.386
        of the debtor's interest


        State the term remaining      11/28/2011 - 3 yrs term, 1 yr evergreen renewals
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                                   LIBERTY INSURANCE CORPORATION
        lease is for and the nature   COMMERCIAL LIABILITY - UMBRELLA
2.387                                 DECLARATIONS
        of the debtor's interest


        State the term remaining      12/18/2019 - 12/18/2020
        List the contract number of
        any government contract


        State what the contract or    CONFIRMATION AGREEMENT                             LIBERTY POWER HOLDINGS LLC
        lease is for and the nature   TRANSACTION SALES CONFIRMATION                     25901 NETWORK PLACE
2.388                                                                                    CHICAGO, IL 60673-1259
        of the debtor's interest


        State the term remaining      06/11/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    CONFIRMATION AGREEMENT                             LIBERTY POWER HOLDINGS LLC
        lease is for and the nature   TRANSACTION SALES CONFIRMATION                     25901 NETWORK PLACE
2.389                                                                                    CHICAGO, IL 60673-1259
        of the debtor's interest


        State the term remaining      09/25/2019 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    EMPLOYMENT AGREEMENT                         LINDA MARKOE
2.390   lease is for and the nature
        of the debtor's interest


        State the term remaining      9/14/2017
        List the contract number of
        any government contract


        State what the contract or    ORDER AGREEMENT                              LINKEDIN
        lease is for and the nature   CONTRACT #: CS4565496-18                     1000 WEST MAUDE AVE
2.391                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      02/27/2020 - 02/27/2022
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      LINKEDIN
        lease is for and the nature   CONTRACT #: CS5253211-18                     1000 WEST MAUDE AVE
2.392                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      12/16/2019 - 12/16/2020
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      LINKEDIN
        lease is for and the nature   CONTRACT #: CS6579261-19                     1000 WEST MAUDE AVE
2.393                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      12/16/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    MARKETING AGREEMENT                          LINKEDIN CORPORATION
        lease is for and the nature   CO-MARKETING AGREEMENT                       1000 WEST MAUDE
2.394                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      05/19/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     LINKEDIN CORPORATION
        lease is for and the nature                                                1000 WEST MAUDE
2.395                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      10/27/2016 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT                                    LINKEDIN CORPORATION
        lease is for and the nature   AMENDMENT TO LINKEDIN CORPORATE              2029 STIERLIN COURT
2.396                                 SUBSCRIPTION AGREEMENT (LCSA)                MOUNTAIN VIEW, CA 94043
        of the debtor's interest


        State the term remaining      12/12/2008 - N/A
        List the contract number of
        any government contract


        State what the contract or    CONTRACT                                     LINKEDIN CORPORATION
        lease is for and the nature   CONTRACT #: C54565496-18                     1000 WEST MAUDE AVE
2.397                                                                              SUNNYVALE, CA 94085
        of the debtor's interest


        State the term remaining      02/28/2020 - 02/27/2022
        List the contract number of
        any government contract


        State what the contract or    EMPLOYMENT AGREEMENT                         LISA GREENWALD
2.398   lease is for and the nature
        of the debtor's interest


        State the term remaining      1/31/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              LOEB & LOEB LLP
        lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: RAYMOND A SANSEVERINO, ESQ
2.399                                                                              345 PARK AVE
        of the debtor's interest
                                                                                   NEW YORK, NY 10154


        State the term remaining      05/10/2018 - 09/30/2034
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              LRC NORTHWAY MALL ACQUISITIONS LLC
        lease is for and the nature                                                ATTN: FRANK A LICATA
2.400                                                                              1585 FREDERICK BLVD
        of the debtor's interest
                                                                                   AKRON, OH 44320


        State the term remaining      09/02/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            LUXHR, INC
        lease is for and the nature   MASTER LICENSE AND SERVICES AGREEMENT
2.401                                 RENEWAL
        of the debtor's interest


        State the term remaining      09/06/2019 - 09/06/2021
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    MASTER LICENSE AND SERVICES AGREEMENT        LUXHR, INC
        lease is for and the nature   RENEWAL
2.402
        of the debtor's interest


        State the term remaining      12/9/2019 - 12/9/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              MADISON MARQUETTE
        lease is for and the nature                                                ATTN: CHRIS GAVRELIS
2.403                                                                              9132 STRADA PLACE, STE 11103
        of the debtor's interest
                                                                                   NAPLES, FL 34108


        State the term remaining      04/21/2016 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              MALL AT CONCORD MILLS GP, LLC
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.404                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              MALL AT CONCORD MILLS LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O M.S. MANAGEMENT ASSOCIATES INC.
2.405                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            MANHATTAN ASSOCIATES, INC
        lease is for and the nature   SOFTWARE AS A SERVICE LICENSE AGREEMENT      ATTN: CHIEF LEGAL OFFICER
2.406                                                                              2300 WINDY RIDGE PARKWAY
        of the debtor's interest
                                                                                   ATLANTA, GA 30339


        State the term remaining      06/29/2018 - 06/29/2022
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            MANHATTAN ASSOCIATES, INC.
        lease is for and the nature   SOFTWARE LICENSE, SERVICES, SUPPORT AND      2300 WINDY RIDGE PARKWAY
2.407                                 ENHANCEMENTS AGREEMENT                       ATLANTA, GA 30339
        of the debtor's interest


        State the term remaining      12/29/2005 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    INSURANCE POLICY                             MARKEL CLAIMS
        lease is for and the nature   COMMERCIAL PROPERTY POLICY DECLARATIONS      P.O. BOX 2009
2.408                                                                              GLEN ALLEN, VA 23058-2009
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             MARKEL CLAIMS
        lease is for and the nature   COMMERCIAL PROPERTY POLICY DECLARATIONS      P.O. BOX 2009
2.409                                                                              GLEN ALLEN, VA 23058-2009
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             MARKET STREET WOODLANDS, L.P.
        lease is for and the nature   RETAIL LEASE                                 C/O TRADEMARK MANAGEMENT, LTD.
2.410                                                                              ATTN: PROPERTY MGMT-MARKET ST AT THE WOODLANDS
        of the debtor's interest
                                                                                   1701 RIVER RUN, STE 500
                                                                                   FORTH WORTH, TX 76107

        State the term remaining      09/28/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    CLAIMANT AGREEMENT                           MARKETSPHERE CONSULTING LLC
        lease is for and the nature                                                9393 WEST 110TH ST, STE. 430
2.411                                                                              OVERLAND PARK, KS 66210
        of the debtor's interest


        State the term remaining      02/26/2020 - N/A
        List the contract number of
        any government contract


        State what the contract or    GUARANTY                                     MAYFLOWER CAPE COD, LLC
        lease is for and the nature                                                C/O SIMON PROPERTY GROUP
2.412                                                                              NATIONAL CITY CENTER
        of the debtor's interest
                                                                                   115 WEST WASHINGTON ST
                                                                                   INDIANAPOLIS, IN 46204

        State the term remaining      06/28/2010 - N/A
        List the contract number of
        any government contract


        State what the contract or    GUARANTY                                     MAYFLOWER REALTY, LLC
        lease is for and the nature                                                NATIONAL CITY CENTER
2.413                                                                              115 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      06/28/2010 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              MCKAY INVESTMENT COMPANY, LLC
        lease is for and the nature   SHOPPING CENTER LEASE                        2350 OAKMONT WAY
2.414                                                                              SUITE 204
        of the debtor's interest
                                                                                   EUGENE, OR 97401


        State the term remaining      07/29/2015 -07/29/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              MCKENZIE LAIRD, PLLC
        lease is for and the nature                                                ATTN: TALBOTT OTTINGER
2.415                                                                              3835 CLEGHORN AVE, STE 250
        of the debtor's interest
                                                                                   NASHVILLE, TN 37215


        State the term remaining      10/23/2015 - 10/23/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              MEPT BREWERY BLOCK 2, LLC
        lease is for and the nature                                                C/O BENTALL KENNEDY (US) LP
2.416                                                                              ATTN: SENIOR VICE PRESIDENT - ASSET MANAGEMENT
        of the debtor's interest
                                                                                   1215 FOURTH AVE, STE 2400
                                                                                   SEATTLE, WA 98161

        State the term remaining      11/06/2013 - 1/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              MEPT EDGEMOOR REIT LLC
        lease is for and the nature                                                P.O. BOX 932886
2.417                                                                              CLEVELAND, OH 44193
        of the debtor's interest


        State the term remaining      11/06/2013 - 1/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              MEPT EDGEMOOR REIT LLC
        lease is for and the nature                                                P.O. BOX 932886
2.418                                                                              CLEVELAND, OH 44193
        of the debtor's interest


        State the term remaining      11/06/2013 - 1/31/2023
        List the contract number of
        any government contract


        State what the contract or    SEPARATION AGREEMENT AND GENERAL RELEASE MICHAEL DEMARTINI
        lease is for and the nature                                            ADDRESS REDACTED
2.419
        of the debtor's interest


        State the term remaining      9/13/2019
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                             State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease
        State what the contract or    EMPLOYMENT AGREEMENT                            MICHAEL J. NICHOLSON
2.420   lease is for and the nature
        of the debtor's interest


        State the term remaining      12/3/2015
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT TO LETTER AGREEMENT                   MICHAEL J. NICHOLSON
2.421   lease is for and the nature
        of the debtor's interest


        State the term remaining      8/7/2017
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                 MIDLAND LOAN SERVICES, INC.
        lease is for and the nature                                                   ATTN: ASSET MANAGEMENT
2.422                                                                                 10851 MASTIN, STE 300
        of the debtor's interest
                                                                                      OVERLAND PARK, KS 66210


        State the term remaining      12/30/2009 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                 MILLS-KAN AM COLORADO LIMITED PARTNERSHIP
        lease is for and the nature                                                   C/O M.S. MANAGEMENT ASSOCIATES INC.
2.423                                                                                 225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                      INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/10/2014 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                               MIRAKL INC.
        lease is for and the nature   SOFTWARE AS A SERVICE (SAAS) LICENSE            100 DOVER ST
2.424                                 AGREEMENT                                       SOMERVILLE, MA 02144
        of the debtor's interest


        State the term remaining      08/08/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                 MISSION VIEJO ASSOCIATES, L.P.
        lease is for and the nature                                                   C/O MS MANAGEMENT ASSOCIATES INC
2.425                                                                                 SHOPS AT MV, LLC
        of the debtor's interest
                                                                                      225 WEST WASHINGTON ST
                                                                                      INDIANAPOLIS, IN 46204-3438

        State the term remaining      10/26/2015 - 01/31/2025
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE ORDER NO. 5                          MONETATE, INC
        lease is for and the nature                                                951 E HECTOR ST
2.426                                                                              CONSHOHOCKEN, PA 19428
        of the debtor's interest


        State the term remaining      12/06/2012 - 03/04/2021
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICE AGREEMENT                     MONETATE, INC
        lease is for and the nature                                                1001 EAST HECTOR ST
2.427                                                                              SUITE 401
        of the debtor's interest
                                                                                   CONSHOHOCKEN, PA 19428


        State the term remaining      03/25/2019 - 03/04/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE ORDER NO. 5                          MONETATE, INC.
        lease is for and the nature                                                951 E HECTOR ST
2.428                                                                              CONSHOHOCKEN, PA 19428
        of the debtor's interest


        State the term remaining      12/06/2012 - 03/04/2021
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                     MONETATE, INC.
        lease is for and the nature   ACTION BUILDER ADDENDUM                      951 E HECTOR ST
2.429                                                                              CONSHOHOCKEN, PA 19428
        of the debtor's interest


        State the term remaining      12/06/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                             MONETATE, INC.
        lease is for and the nature   MONETATE SERVICE ORDER                       951 E HECTOR ST
2.430                                                                              CONSHOHOCKEN, PA 19428
        of the debtor's interest


        State the term remaining      01/17/2013 - 07/17/2013
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            MONETATE, INC.
        lease is for and the nature   MONETATE SERVICE ORDER                       951 E HECTOR ST
2.431                                                                              CONSHOHOCKEN, PA 19428
        of the debtor's interest


        State the term remaining      01/17/2015 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease
        State what the contract or    LEASE AGREEMENT                                     NAP ATLANTA MANAGEMENT COMPANY, INC.
        lease is for and the nature   SHOPPING CENTER LEASE                               C/O NORTH AMERICAN PROPERTIES
2.432                                                                                     ATTN: LEASE ADMINISTRATION
        of the debtor's interest
                                                                                          212 E THIRD ST, STE 300
                                                                                          CINCINNATI, OH 34202-5500

        State the term remaining      06/05/2015 - 06/05/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                     NAP AVALON LLC
        lease is for and the nature   SHOPPING CENTER LEASE                               C/O NORTH AMERICAN PROPERTIES
2.433                                                                                     ATTN: LEASE ADMINISTRATION
        of the debtor's interest
                                                                                          212 E THIRD ST, STE 300
                                                                                          CINCINNATI, OH 34202-5500

        State the term remaining      06/05/2015 - 06/05/2025
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                            NEW RELIC, INC.
        lease is for and the nature                                                       188 SPEAR ST, STE 1200
2.434                                                                                     SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      10/12/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                     NEWTOWER TRUST COMPANY
        lease is for and the nature                                                       C/O NEWTOWER TRUST COMPANY
2.435                                                                                     ATTN: PRESIDENT/MEPT OR PATRICK O MAYBERRY
        of the debtor's interest
                                                                                          MULTI-EMPLOYER PROPERTY TRUST
                                                                                          THREE BETHESDA METRO CENTER, STE 1600
                                                                                          BETHESDA, MD 20814
        State the term remaining      11/06/2013 - 1/31/2023
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                    NEXGEN PACKAGING, LLC
        lease is for and the nature                                                       1010 EXECUTIVE CT, STE 100
2.436                                                                                     WESTMONT, IL 60559
        of the debtor's interest


        State the term remaining      11/01/2018 - 12/31/19 with m-to-m evergreen claus
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT                     NIKE COMMUNICATIONS INC
        lease is for and the nature                                                       ATTN: NINA KAMINER, PRESIDENT
2.437                                                                                     75 BOARD ST
        of the debtor's interest
                                                                                          #815
                                                                                          NEW YORK, NY 10004

        State the term remaining      07/29/2019 - 07/29/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              NORTHPARK GP, LLC
        lease is for and the nature   SHOPPING CENTER LEASE                        8080 NORTH CENTRAL EXPRESSWAY, STE 1100
2.438                                                                              DALLAS, TX 75206-1807
        of the debtor's interest


        State the term remaining      10/24/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              NORTHPARK PARTNERS, LP
        lease is for and the nature   SHOPPING CENTER LEASE                        8080 NORTH CENTRAL EXPRESSWAY, STE 1100
2.439                                                                              DALLAS, TX 75206-1807
        of the debtor's interest


        State the term remaining      10/24/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              NORTHPARK PARTNERS, LP
        lease is for and the nature                                                8080 NORTH CENTRAL EXPRESSWAY
2.440                                                                              SUITE 1100
        of the debtor's interest
                                                                                   DALLAS, TX 75206-1807


        State the term remaining      06/26/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              OCEAN CITY FACTORY OUTLETS I, LC
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           P.O. BOX 417333
2.441                                                                              BOSTON, MA 02241-7333
        of the debtor's interest


        State the term remaining      12/14/2016 -01/31/2024
        List the contract number of
        any government contract


        State what the contract or    RENEWAL AGREEMENT                          ONE CLIPBOARD, INC
        lease is for and the nature   AMENDMENT TO SOFTWARE AS A SERVICE LICENSE 122 W 26TH ST
2.442                                 AGREEMENT                                  4TH FLOOR
        of the debtor's interest
                                                                                 NEW YORK
                                                                                 NEW YORK, NY 10001

        State the term remaining      06/30/2018 - 09/30/2021
        List the contract number of
        any government contract


        State what the contract or    FIFTH AMENDMENT OF LEASE                     ONE COLORADO INVESTMENTS LLC
        lease is for and the nature                                                ONE COLORADO
2.443                                                                              OLD PASADENA
        of the debtor's interest
                                                                                   24 E UNION ST
                                                                                   PASADENA, CA 91103

        State the term remaining      06/01/2010 - 05/31/2020
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    FIFTH AMENDMENT OF LEASE                     ONE COLORADO MANAGEMENT INC.
        lease is for and the nature                                                120 MONTGOMERY ST, STE 1230
2.444                                                                              SAN FRANCISCO, CA 94104
        of the debtor's interest


        State the term remaining      06/01/2010 - 05/31/2020
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              ONE DIVERSIFIED, LLC
        lease is for and the nature                                                37 MARKET ST
2.445                                                                              KENILWORTH, NJ 0747
        of the debtor's interest


        State the term remaining      04/30/2019 - 04/30/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AMENDING AGREEMENT                     OPGI MANAGEMENT GP INC.
        lease is for and the nature                                                ATTN: REAL ESTATE MANAGEMENT LEGAL SERVICES
2.446                                                                              ROYAL BANK PLAZA, NORTH TOWER
        of the debtor's interest
                                                                                   200 BAY ST, SUITE 900
                                                                                   TORONTO, ON M5J 2J2
                                                                                   CANADA
        State the term remaining      11/04/2011 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AMENDING AGREEMENT                     OPGI MANAGEMENT LIMITED PARTNERSHIP
        lease is for and the nature                                                ATTN: REAL ESTATE MANAGEMENT LEGAL SERVICES
2.447                                                                              ROYAL BANK PLAZA, NORTH TOWER
        of the debtor's interest
                                                                                   200 BAY ST, SUITE 900
                                                                                   TORONTO, ON M5J 2J2
                                                                                   CANADA
        State the term remaining      11/04/2011 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      ORACLE AMERICA, INC.
        lease is for and the nature   ORDERING DOCUMENT                            500 ORACLE PARKWAY
2.448                                                                              REDWOOD SHORES, CA 94065
        of the debtor's interest


        State the term remaining      07/09/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PAGOSA PARTNERS II, LTD.
        lease is for and the nature                                                P.O. BOX 65207
2.449                                                                              LUBBOCK, TX 79464
        of the debtor's interest


        State the term remaining      03/08/2016 - 01/31/2026
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    LEASE AGREEMENT                                    PAGOSA PARTNERS II, LTD.
        lease is for and the nature                                                      C/O GRACO REAL ESTATE DEVELOPMENT, INC
2.450                                                                                    ATTN: PROPERTY MANAGEMENT
        of the debtor's interest
                                                                                         5307 W LOOP 289, STE 302
                                                                                         LUBBOCK, TX 79414

        State the term remaining      03/08/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                            PARKER POE ADAMS & BERNSTEIN
        lease is for and the nature   LEASE                                              ATTN: JAMES A.L. DANIEL, JR., ESQ.
2.451                                                                                    THREE WACHOVIA CENTER
        of the debtor's interest
                                                                                         401 SOUTH TRYON ST
                                                                                         SUITE 3000
                                                                                         CHARLOTTE, NC 28202
        State the term remaining      05/03/2011 - 05/03/2021
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   PCC ASIA LLC
        lease is for and the nature                                                      25/F
2.452                                                                                    9 WING HONG ST
        of the debtor's interest
                                                                                         CHEUNG SHA WAN
                                                                                         KOWLOON
                                                                                         HONG KONG
        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                                  PEANUTS WORLDWIDE LLC
        lease is for and the nature                                                      ATTN: LEGAL & BUSINESS AFFAIRS
2.453                                                                                    352 PARK AVE SO. FL 8
        of the debtor's interest
                                                                                         NEW YORK, NY 10010


        State the term remaining      05/30/2020 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                                   PENN ROSS JOINT VENTURE
        lease is for and the nature   ROSS PARK MALL LEASE                               C/O MS MANAGEMENT ASSOCIATES INC
2.454                                                                                    225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                         INDIANAPOLIS, IN 46204-3438


        State the term remaining      10/04/2011 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                                   PENN ROSS JOINT VENTURE
        lease is for and the nature   ROSS PARK MALL LEASE                               1326 PAYSPHERE CIRCLE
2.455                                                                                    CHICAGO, IN 60674
        of the debtor's interest


        State the term remaining      10/04/2011 - 01/31/2022
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              PENN SQUARE MALL LIMITED PARTNERSHIP
        lease is for and the nature   PENN SQUARE MALL LEASE                       C/O MS MANAGEMENT ASSOCIATES INC
2.456                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      05/26/2015 - 1/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PENN SQUARE MALL LIMITED PARTNERSHIP
        lease is for and the nature   PENN SQUARE MALL LEASE                       32122 COLLECTIONS CENTER DR
2.457                                                                              CHICAGO, IL 60693
        of the debtor's interest


        State the term remaining      05/26/2015 - 1/31/2025
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      PENTAGON ASSOCIATES, LLC
        lease is for and the nature   DEED OF LEASE                                MS MANAGEMENT ASSOCIATES, INC
2.458                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      07/12/2010 - 07/12/2020
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      PENTAGON CITY ASSOCIATES
        lease is for and the nature   DEED OF LEASE                                P.O. BOX 402792
2.459                                                                              ATLANTA, GA 30384-2792
        of the debtor's interest


        State the term remaining      07/12/2010 - 07/12/2020
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      PENTAGON CITY SHOPPING CENTER COMPANY LIMITED
        lease is for and the nature   DEED OF LEASE                                PARTNERSHIP
2.460                                                                              MS MANAGEMENT ASSOCIATES, INC
        of the debtor's interest
                                                                                   225 WEST WASHINGTON ST
                                                                                   INDIANAPOLIS, IN 46204-3438

        State the term remaining      07/12/2010 - 07/12/2020
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             PES PARTNERS, LLC
        lease is for and the nature                                                C/O ST RETAIL, INC.
2.461                                                                              ATTN: LEGAL DEPARTMENT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      02/06/2007 - 01/31/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LETTER AGREEMENT                             PES PARTNERS, LLC
        lease is for and the nature                                                C/O ST RETAIL, INC.
2.462                                                                              ATTN: LEGAL DEPARTMENT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      02/06/2007 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    CO-VENTURE AGREEMENT                         PFLAG, INC
        lease is for and the nature   COMMERCIAL CO-VENTURE AGREEMENT              ATTN: MAGGIE ARDIENTE
2.463                                                                              DIRECTOR OF DEVELOPMENT
        of the debtor's interest
                                                                                   1828 L ST NW
                                                                                   SUITE 660
                                                                                   WASHINGTON, DC 20036
        State the term remaining      01/29/2020 - 06/01/2021
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    PFP COLUMBUS II, LLC
        lease is for and the nature   LEASE MODIFICATION AGREEMENT NO. 2           180 EAST BROAD ST
2.464                                                                              21ST FLOOR
        of the debtor's interest
                                                                                   COLUMBUS, OH 43215


        State the term remaining      05/01/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      PFP COLUMBUS, LLC
        lease is for and the nature   LEASE                                        180 EAST BROAD ST
2.465                                                                              21ST FLOOR
        of the debtor's interest
                                                                                   COLUMBUS, OH 43215


        State the term remaining      04/05/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      PFP COLUMBUS, LLC
        lease is for and the nature   LEASE                                        POLARIS FASHION PLACE
2.466                                                                              L-2353
        of the debtor's interest
                                                                                   COLUMBUS, OH 43260


        State the term remaining      04/05/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     PITTSFORD PLAZA SPE, LLC
        lease is for and the nature                                                P.O. BOX 8000
2.467                                                                              DEPT. 984
        of the debtor's interest
                                                                                   BUFFALO, NY 14267


        State the term remaining      12/04/2014 -12/04/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    STANDARD LEASE AGREEMENT                     PITTSFORD PLAZA SPE, LLC
        lease is for and the nature                                                ATTN: GENERAL COUNSEL
2.468                                                                              1265 SCOTTSVILLE RD
        of the debtor's interest
                                                                                   ROCHESTER, NY 14624


        State the term remaining      12/04/2014 -12/04/2024
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    POLARIS FASHION PLACE REIT, LLC
        lease is for and the nature   LEASE MODIFICATION AGREEMENT NO. 2           C/O GLIMCHER PROPERTIES LIMITED PARTNERSHIP
2.469                                                                              ATTN: GENERAL COUNSEL
        of the debtor's interest
                                                                                   180 EAST BROAD ST
                                                                                   21ST FL
                                                                                   COLUMBUS, OH 43215
        State the term remaining      05/01/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      POLARIS MALL, LLC
        lease is for and the nature   LEASE                                        20 SOUTH THIRD ST
2.470                                                                              COLUMBUS, OH 43215
        of the debtor's interest


        State the term remaining      04/05/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     POSTERSCOPE USA
        lease is for and the nature                                                150 E 42ND ST
2.471                                                                              14TH FL
        of the debtor's interest
                                                                                   NEW YORK, NY 10017


        State the term remaining      06/12/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PP 301 W BROUGHTON LLC
        lease is for and the nature                                                ATTENTION: BEN M. CARTER AND QUITO ANDERSON
2.472                                                                              3060 PEACHTREE RD, N.W.
        of the debtor's interest
                                                                                   SUITE 1800
                                                                                   ATLANTA, GA 30305

        State the term remaining      04/28/2014 - 04/28/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PR MERCATO, LLC
        lease is for and the nature                                                C/O MADISON MARQUETTE
2.473                                                                              ATTN: CHRIS GAVRELIS
        of the debtor's interest
                                                                                   9132 STRADA PLACE, STE 11103
                                                                                   NAPLES, FL 34108

        State the term remaining      04/21/2016 - 01/31/2027
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    RENEWAL AGREEMENT                            PRACTISING LAW INSTITUTE
        lease is for and the nature   PLI PRIVILEGED MEMBERSHIP RENEWAL            1177 AVE OF THE AMERICAS
2.474                                 AGREEMENT                                    NEW YORK, NY 10036
        of the debtor's interest


        State the term remaining      06/05/2019 - 04/26/2021
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    PREIT SERVICES, LLC
        lease is for and the nature   THIRD AMENDMENT OF LEASE REDUCTION OF        THE BELLEVUE
2.475                                 PREMISES AND EXTENSION                       200 SOUTH BROAD ST
        of the debtor's interest
                                                                                   PHILADELPHIA, PA 19102


        State the term remaining      09/19/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PRESIDENTIAL INVESTORS LIMITED PARTNERSHIP LLLP
        lease is for and the nature   RETAIL LEASE                                 C/O H&S PROPERTIES DEVELOPMENT CORP
2.476                                                                              650 S EXETER ST, STE 200
        of the debtor's interest
                                                                                   BALTIMORE, MD 21202


        State the term remaining      12/00/2011 - 12/00/2021
        List the contract number of
        any government contract


        State what the contract or    FIRST AMENDMENT TO LEASE                     PRINCIPAL REAL ESTATE INVESTORS, LLC
        lease is for and the nature                                                801 GRAND AVE
2.477                                                                              DES MOINES, IA 50392-1450
        of the debtor's interest


        State the term remaining      07/31/2011 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PRISA LHC, LLC
        lease is for and the nature                                                C/O MADISON MARQUETTE
2.478                                                                              ATTN: CHRIS GAVRELIS
        of the debtor's interest
                                                                                   9132 STRADA PLACE, STE 11103
                                                                                   NAPLES, FL 34108

        State the term remaining      04/21/2016 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PRISA LHC, LLC
        lease is for and the nature                                                C/O MADISON MARQUETTE
2.479                                                                              ATTN: CHRIS GAVRELIS
        of the debtor's interest
                                                                                   9132 STRADA PLACE, STE 11103
                                                                                   NAPLES, FL 34108

        State the term remaining      04/21/2016 - 01/31/2027
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              PRISA LHC, LLC
        lease is for and the nature                                                C/O MADISON MARQUETTE
2.480                                                                              ATTN: CHRIS GAVRELIS
        of the debtor's interest
                                                                                   9132 STRADA PLACE, STE 11103
                                                                                   NAPLES, FL 34108

        State the term remaining      04/21/2016 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              PROTIVITI INC.
        lease is for and the nature                                                ATTN: MICHAEL WALTER
2.481                                                                              1180 W PEACHTREE ST
        of the debtor's interest
                                                                                   NE SUITE 400
                                                                                   ATLANTA, GA 30309

        State the term remaining      10/30/2019 - 10/30/2022
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                             PROTIVITI INC.
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: MICHAEL WALTER, MANAGING DIRECTOR
2.482                                                                              1180 W PEACHTREE ST
        of the debtor's interest
                                                                                   NE SUITE 400
                                                                                   ATLANTA, GA 30309

        State the term remaining      10/31/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PRSC HOLDINGS (EDENS), LLC
        lease is for and the nature   SHOPPING CENTER LEASE AGREEMENT              C/O EDENS LIMITED PARTNERSHIP
2.483                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1221 MAIN ST, STE 1000
                                                                                   COLUMBIA, SC 29201

        State the term remaining      09/21/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              PRUDENTIAL REAL ESTATE INVESTORS
        lease is for and the nature                                                ATTN: MICHAEL HARRINGTON
2.484                                                                              7 GIRALDA FARMS
        of the debtor's interest
                                                                                   MADISON, NJ 07940


        State the term remaining      04/21/2016 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    PTC CUSTOMER AGREEMENT                       PTC INC.
        lease is for and the nature                                                140 KENDRICK ST
2.485                                                                              NEEDHAM, MA 02494
        of the debtor's interest


        State the term remaining      06/16/2017 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   QST ASIA LIMITED
        lease is for and the nature                                                      9/F PLAYMATES FACTORY BUILDING
2.486                                                                                    1 TIN HAU RD
        of the debtor's interest
                                                                                         TUEN MUN
                                                                                         HONG KONG

        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract


        State what the contract or    THIS FOURTH AMENDMENT TO                           QUAD/GRAPHICS, INC.
        lease is for and the nature   THE PRINT AND PREMEDIA AGREEMENT                   N61 W23044 HARRY'S WAY
2.487                                                                                    SUSSEX, WI 53089-2827
        of the debtor's interest


        State the term remaining      05/26/2016 - N/A
        List the contract number of
        any government contract


        State what the contract or    THIS FOURTH AMENDMENT TO                           QUAD/GRAPHICS, INC.
        lease is for and the nature   THE PRINT AND PREMEDIA AGREEMENT                   N61 W23044 HARRY'S WAY
2.488                                                                                    SUSSEX, WI 53089-2827
        of the debtor's interest


        State the term remaining      05/26/2016 - N/A
        List the contract number of
        any government contract


        State what the contract or    SOFTWARE LICENSE AGREEMENT                         QUAD/GRAPHICS, INC.
        lease is for and the nature   ASSET MANAGER STATEMENT OF WORK                    N63 W23075 HARRY'S WAY
2.489                                                                                    SUSSEX, WI 53089
        of the debtor's interest


        State the term remaining      00/00/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    ENTERPRISE DISCOUNT PROGRAM ADDENDUM               RACKSPACE US, INC
        lease is for and the nature                                                      GENERAL COUNSEL
2.490                                                                                    ONE FANATICAL PLACE, CITY OF WINDCREST
        of the debtor's interest
                                                                                         SAN ANTONIO, TX 78218


        State the term remaining      07/25/2017 - 08/31/2021
        List the contract number of
        any government contract


        State what the contract or    RACKSPACE GLOBAL SERVICES AGREEMENT                RACKSPACE US, INC
        lease is for and the nature                                                      GENERAL COUNSEL
2.491                                                                                    ONE FANATICAL PLACE, CITY OF WINDCREST
        of the debtor's interest
                                                                                         SAN ANTONIO, TX 78218


        State the term remaining      Term Not Stated
        List the contract number of
        any government contract       08/29/2018 - 08/31/2021




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE ORDER                                RACKSPACE US, INC.
        lease is for and the nature                                                GENERAL COUNSEL
2.492                                                                              ONE FANATICAL PLACE
        of the debtor's interest
                                                                                   CITY OF WINDCREST
                                                                                   SAN ANTONIO, TX 78218

        State the term remaining      09/01/2018 - 08/31/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            RACKSPACE US, INC.
        lease is for and the nature   ENTERPRISE DISCOUNT PROGRAM ADDENDUM         GENERAL COUNSEL
2.493                                                                              ONE FANATICAL PLACE
        of the debtor's interest
                                                                                   CITY OF WINDCREST
                                                                                   SAN ANTONIO, TX 78218

        State the term remaining      09/01/2018 - 08/31/2021
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      RCPI LANDMARK PROPERTIES, LLC
        lease is for and the nature   LEASE                                        C/O TISHMAN SPEYER PROPERTIES, L.P.
2.494                                                                              45 ROCKEFELLER PLAZA
        of the debtor's interest
                                                                                   NEW YORK, NY 10111


        State the term remaining      12/18/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    MASTER SUBSCRIPTION AGREEMENT                RESPONSYS, INC.
        lease is for and the nature                                                10 VAN DE GRAAFF DR
2.495                                                                              BURLINGTON, MA 01803
        of the debtor's interest


        State the term remaining      06/27/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              RESTON TOWN CENTER JV LLC
        lease is for and the nature   DEED OF LEASE                                C/O BOSTON PROPERTIES
2.496                                                                              ATTN: REGIONAL COUNSEL
        of the debtor's interest
                                                                                   2200 PENNSYLVANIA AVE NW, STE 200W
                                                                                   WASHINGTON, DC 20037

        State the term remaining      11/12/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              RESTON TOWN CENTER PROPERTY LLC
        lease is for and the nature   DEED OF LEASE                                BOSTON PROPERTIES
2.497                                                                              ATTN: REGIONAL COUNSEL
        of the debtor's interest
                                                                                   2200 PENNSYLVANIA AVE NW, STE 200W
                                                                                   WASHINGTON, DC 20037

        State the term remaining      11/12/2015 - 01/31/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.498                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      12/05/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.499                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      11/01/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.500                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      12/05/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.501                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.502                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      12/05/2018 - 12/05/2020
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.503                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.504                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      12/05/2018 - 12/05/2020
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            RKB
        lease is for and the nature                                                330 MOTOR PKWY, STE 306
2.505                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AMENDMENT                              ROCKAWAY CENTER ASSOCIATES
        lease is for and the nature   FIFTH LEASE AMENDMENT                        ATTN: GENERAL COUNSEL
2.506                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      02/01/2019 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             ROSECRANS-SEPULVEDA PARTNERS 3, LLC
        lease is for and the nature                                                C/O ST RETAIL, INC.
2.507                                                                              ATTN: LEGAL DEPARTMENT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      02/06/2007 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             ROSECRANS-SEPULVEDA PARTNERS 3, LLC
        lease is for and the nature                                                C/O ST RETAIL, INC.
2.508                                                                              ATTN: LEGAL DEPARTMENT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      02/06/2007 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              ROUTE 35 SHREWSBURY LIMITED PARTNERSHIP
        lease is for and the nature                                                PROPERTY 4800
2.509                                                                              LOCKBOX 9320
        of the debtor's interest
                                                                                   P.O. BOX 8500
                                                                                   PHILADELPHIA, PA 19178-9320

        State the term remaining      02/04/2016 - 02/04/2026
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              ROUTE 35 SHREWSBURY LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.510                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      02/04/2016 - 02/04/2026
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            RSM US LLP
        lease is for and the nature                                                333 THORNALL ST
2.511                                                                              6TH FL
        of the debtor's interest
                                                                                   EDISON, NJ 08837


        State the term remaining      07/01/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             RT SPECIALTY, LLC
        lease is for and the nature   COMMERCIAL PROPERTY POLICY DECLARATIONS      1345 AVE OF THE AMERICAS, 4TH FL
2.512                                                                              NEW YORK, NY 10105
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             RT SPECIALTY, LLC
        lease is for and the nature   COMMERCIAL PROPERTY POLICY DECLARATIONS      1345 AVE OF THE AMERICAS
2.513                                                                              4TH FL
        of the debtor's interest
                                                                                   NEW YORK, NY 10105


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    CUSTOMER AGREEMENT                      SADA SYSTEMS, INC.
        lease is for and the nature   GOOGLE MAPS PLATFORM CUSTOMER AGREEMENT ATTN: ACCOUNTING
2.514                                                                         5250 LANKERSHIM BLVD, STE 620
        of the debtor's interest
                                                                              NORTH HOLLYWOOD, CA 91601


        State the term remaining      09/09/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    CUSTOMER AGREEMENT                      SADA SYSTEMS, INC.
        lease is for and the nature   GOOGLE MAPS PLATFORM CUSTOMER AGREEMENT ATTN: ACCOUNTING
2.515                                                                         5250 LANKERSHIM BLVD, STE 620
        of the debtor's interest
                                                                              NORTH HOLLYWOOD, CA 91601


        State the term remaining      09/09/2019 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    MASTER SUBSCRIPTION AGREEMENT                SALESFORCE.COM, INC.
        lease is for and the nature                                                ONE MARKET, STE 3000
2.516                                                                              SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      07/26/2017 - 08/26/2017
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    SALESFORCE.COM, INC.
        lease is for and the nature   AMENDMENT 1 TO MASTER SUBSCRIPTION           ONE MARKET, STE 300
2.517                                 AGREEMENT                                    SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      07/27/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                     SALESFORCE.COM, INC.
        lease is for and the nature   TO MASTER SUBSCRIPTION AGREEMENT             ONE MARKET, STE 300
2.518                                                                              SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      07/27/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    MASTER SUBSCRIPTION AGREEMENT                SALESFORCE.COM, INC.
        lease is for and the nature                                                ONE MARKET, STE 300
2.519                                                                              SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      07/27/2017 - 08/11/2022
        List the contract number of
        any government contract


        State what the contract or    ORDER FORM                                   SALESFORCE.COM, INC.
        lease is for and the nature   QUOTE NUMBER: Q-02516138                     ONE MARKET, STE 300
2.520                                                                              SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      02/01/2019 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    ORDER FORM                                   SALESFORCE.COM, INC.
        lease is for and the nature   QUOTE NUMBER: Q-02339502                     ONE MARKET, STE 300
2.521                                                                              SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      02/01/2019 - 01/31/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    ORDER FORM                                   SAP INDUSTRIES, INC
        lease is for and the nature   SOFTWARE ORDER FORM NO. 33                   3999 WEST CHESTER PIKE
2.522                                                                              NEWTOWN SQUARE, PA 19073
        of the debtor's interest


        State the term remaining      12/22/2016 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            SAP INDUSTRIES, INC
        lease is for and the nature   SOFTWARE LICENSE AGREEMENT                   3999 WEST CHESTER PIKE
2.523                                                                              NEWTOWN SQUARE, PA 19073
        of the debtor's interest


        State the term remaining      12/14/2015 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    FIRST AMENDMENT TO                           SAYRE ENTERPRISES, INC.
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTENTION: COMMERCIAL CONTRACTS
2.524                                                                              P.O. BOX 52
        of the debtor's interest
                                                                                   NATURAL BRIDGE STATION
                                                                                   , VI 24579

        State the term remaining      11/01/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    AGREEMENT                                    SAYRE ENTERPRISES, INC.
        lease is for and the nature                                                PO B0X 52
2.525                                                                              NATURAL BRIDGE STATION, VA 24579
        of the debtor's interest


        State the term remaining      11/01/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    FIRST AMENDMENT TO                           SAYRE ENTERPRISES, INC.
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTENTION: COMMERCIAL CONTRACTS
2.526                                                                              P.O. BOX 52
        of the debtor's interest
                                                                                   NATURAL BRIDGE STATION
                                                                                   , VI 24579

        State the term remaining      10/29/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            SAYRE ENTERPRISES, INC.
        lease is for and the nature                                                ATTENTION: COMMERCIAL CONTRACTS
2.527                                                                              P.O. BOX 52
        of the debtor's interest
                                                                                   NATURAL BRIDGE STATION
                                                                                   VIRGINIA, VA 24579

        State the term remaining      11/01/2017 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE AGREEMENT                            SAYRE ENTERPRISES, INC.
        lease is for and the nature                                                ATTENTION: COMMERCIAL CONTRACTS
2.528                                                                              P.O. BOX 52
        of the debtor's interest
                                                                                   NATURAL BRIDGE STATION
                                                                                   , VI 24579

        State the term remaining      11/01/2017 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    SALES AGREEMENT                              SCANA ENERGY MARKETING, INC
        lease is for and the nature   FIRM NATURAL GAS SALES AGREEMENT             CONTRACT ADMINISTRATION
2.529                                                                              3344 PEACHTREE RD, STE 2150
        of the debtor's interest
                                                                                   ATLANTA, GA 30326


        State the term remaining      07/25/2018 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    SALES AGREEMENT                              SCANA ENERGY MARKETING, INC
        lease is for and the nature   FIRM NATURAL GAS SALES AGREEMENT             SELLER CONTACT: GLENN E. GOUGE
2.530                                                                              CONTRACT ADMINISTRATION
        of the debtor's interest
                                                                                   3344 PEACHTREE RD
                                                                                   SUITE 2150
                                                                                   ATLANTA, GA 30326
        State the term remaining      09/01/2018 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    SALES AGREEMENT                              SCANA ENERGY MARKETING, INC.
        lease is for and the nature   FIRM NATURAL GAS SALES AGREEMENT             CONTRACT ADMINISTRATION
2.531                                                                              3344 PEACHTREE RD, STE 2150
        of the debtor's interest
                                                                                   ATLANTA, GA 30326


        State the term remaining      07/25/2018 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    STORAGE LEASE                                SCHIFF HARDIN LLP
        lease is for and the nature                                                ATTN: DAVID A GROSSBERG
2.532                                                                              233 S WACKER DR, STE 6600
        of the debtor's interest
                                                                                   CHICAGO, IL 60606


        State the term remaining      07/19/2017 - 05/31/2023
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    SCHWARZ PAPER COMPANY
        lease is for and the nature   AMENDMENT #3 TO SERVICES AGREEMENT SIGNED    ATTN: CHIEF FINANCIAL OFFICER
2.533                                 ON AUGUST 29 2012 BY SCHWARZ PAPER COMPANY   8338 AUSTIN AVE
        of the debtor's interest
                                      AND J.CREW GROUP                             MORTON GROVE, IL 60053-3288


        State the term remaining      07/31/2012 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENTS                             SDG FASHION MALL LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.534                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      12/13/2011 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             SDG FASHION MALL LIMITED PARTNERSHIP
        lease is for and the nature                                                2627 MOMENTUM PLACE
2.535                                                                              CHICAGO, IL 60689-5326
        of the debtor's interest


        State the term remaining      12/13/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             SDG WESTCHESTER ASSOCIATES
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.536                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      07/24/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    SERENGETI TRACKER SERVICE AGREEMENT          SERENGETI
        lease is for and the nature                                                610 OPPERMAN DR
2.537                                                                              P.O. BOX 64833
        of the debtor's interest
                                                                                   ST PAUL, MN 55164-1803


        State the term remaining      12/23/2014
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            SESSION M, INC
        lease is for and the nature   SOFTWARE AS A SERVICE LICENSE AGREEMENT      LEGAL DEPARTMENT
2.538                                                                              2 SEAPORT LN
        of the debtor's interest
                                                                                   11TH FLOOR
                                                                                   BOSTON, MA 02210

        State the term remaining      07/18/2018 - 07/18/2021
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            SESSION M, INC.
        lease is for and the nature   SOFTWARE AS A SERVICE (SAAS) LICENSE         ATTN: LEGAL DEPT
2.539                                 AGREEMENT                                    2 SEAPORT LN, 11TH FL
        of the debtor's interest
                                                                                   BOSTON, MA 02210


        State the term remaining      07/18/2018 - 07/18/2021
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    APPLICATION FORM                             SFA
        lease is for and the nature   SFA MEMBERSHIP APPLICATION                   41 BRYN AWELON
2.540                                                                              MOLD
        of the debtor's interest
                                                                                   CLWYD, CH7 1LT
                                                                                   UNITED KINGDOM

        State the term remaining      07/10/2019 - 07/10/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SHOPPES AT MONTAGE, LLC
        lease is for and the nature                                                C/O DUKE REALTY CORPORATION
2.541                                                                              ATTN: V.P., ASSET MANAGEMENT AND CUSTOMER SERVICE
        of the debtor's interest
                                                                                   4900 SEMINARY RD
                                                                                   SUITE 900
                                                                                   ALEXANDRIA, VA 22311
        State the term remaining      08/14/2013 -01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SHOPS AT MISSION VIEJO, LLC
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.542                                                                              SHOPS AT MV, LLC
        of the debtor's interest
                                                                                   225 WEST WASHINGTON ST
                                                                                   INDIANAPOLIS, IN 46204-3438

        State the term remaining      10/26/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SHOPS AT MISSION VIEJO, LLC
        lease is for and the nature                                                7415 SOLUTION CENTER
2.543                                                                              CHICAGO, IL 60677-7004
        of the debtor's interest


        State the term remaining      10/26/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SHOPS AT SADDLE CREEK, INC.
        lease is for and the nature   SHOPPING CENTER LEASE                        C/O HEITMAN CAPITAL MANAGEMENT LLC
2.544                                                                              ATTN: PORTFOLIO MANAGER
        of the debtor's interest
                                                                                   191 NORTH WACKER DR
                                                                                   25TH FL
                                                                                   CHICAGO, IL 60606
        State the term remaining      01/28/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SHOPS AT SADDLE CREEK, INC.
        lease is for and the nature   SHOPPING CENTER LEASE                        C/O PROPERTY MANAGER
2.545                                                                              7509 POPLAR AVE, STE 1
        of the debtor's interest
                                                                                   GERMANTOWN, TN 38138


        State the term remaining      01/28/2013 - 01/31/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    FIRST AMENDMENT TO LEASE                     SHOPS AT SADDLE CREEK, INC.
        lease is for and the nature                                                C/O HEITMAN CAPITAL MANAGEMENT LLC
2.546                                                                              ATTN: PORTFOLIO MANAGER
        of the debtor's interest
                                                                                   191 NORTH WACKER DR
                                                                                   SUITE 2500
                                                                                   CHICAGO, IL 60606
        State the term remaining      12/10/2010 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    FIRST AMENDMENT TO LEASE                     SHOPS AT SADDLE CREEK, INC.
        lease is for and the nature                                                C/O PROPERTY MANAGER
2.547                                                                              7509 POPLAR AVE
        of the debtor's interest
                                                                                   SUITE 1
                                                                                   GERMANTOWN, TN

        State the term remaining      12/10/2010 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    GUARANTY                                     SHORT PUMP TOWN CENTER, LLC
        lease is for and the nature                                                TERMINAL TOWER
2.548                                                                              50 PUBLIC SQUARE
        of the debtor's interest
                                                                                   SUITE 1160
                                                                                   CLEVELAND, OH 44113-2267

        State the term remaining      01/29/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SHREWSBURY MALL ASSOCIATES, LLC
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.549                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1626 E JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      02/04/2016 - 02/04/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, INC.
        lease is for and the nature   STANFORD SHOPPING CENTER LEASE               C/O MS MANAGEMENT ASSOCIATES INC
2.550                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, INC.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.551                                                                              SHOPS AT MV, LLC
        of the debtor's interest
                                                                                   225 WEST WASHINGTON ST
                                                                                   INDIANAPOLIS, IN 46204-3438

        State the term remaining      10/26/2015 - 01/31/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENTS                             SIMON PROPERTY GROUP, INC.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.552                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      07/24/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, INC.
        lease is for and the nature   FASHION VALLEY MALL LEASE                    C/O MS MANAGEMENT ASSOCIATES INC
2.553                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      02/15/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, INC.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.554                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      01/23/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, INC.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.555                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      SIMON PROPERTY GROUP, INC.
        lease is for and the nature   DEED OF LEASE                                C/O MS MANAGEMENT ASSOCIATES INC
2.556                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      07/12/2010 - 07/12/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, L.P.
        lease is for and the nature   STANFORD SHOPPING CENTER LEASE               C/O MS MANAGEMENT ASSOCIATES INC
2.557                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, L.P.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.558                                                                              SHOPS AT MV, LLC
        of the debtor's interest
                                                                                   225 WEST WASHINGTON ST
                                                                                   INDIANAPOLIS, IN 46204-3438

        State the term remaining      10/26/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             SIMON PROPERTY GROUP, L.P.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.559                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      07/24/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, L.P.
        lease is for and the nature   FASHION VALLEY MALL LEASE                    C/O MS MANAGEMENT ASSOCIATES INC
2.560                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      02/15/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, L.P.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.561                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      01/23/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SIMON PROPERTY GROUP, L.P.
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.562                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      SIMON PROPERTY GROUP, L.P.
        lease is for and the nature   DEED OF LEASE                                C/O MS MANAGEMENT ASSOCIATES INC
2.563                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      07/12/2010 - 07/12/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease
        State what the contract or    MASTER SUBSCRIPTION AGREEMENT                       SLACK TECHNOLOGIES, INC.
        lease is for and the nature                                                       155 5TH ST
2.564                                                                                     6TH FL
        of the debtor's interest
                                                                                          SAN FRANCISCO, CA 94103


        State the term remaining      02/22/2018 - 03/24/2018
        List the contract number of
        any government contract


        State what the contract or    ORDER AGREEMENT                                     SLACK TECHNOLOGIES, INC.
        lease is for and the nature   ORDER FORM Q-30447                                  500 HOWARD ST
2.565                                                                                     SAN FRANCISCO, CA 94105
        of the debtor's interest


        State the term remaining      02/24/2020 - 02/21/2021
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                    SML
        lease is for and the nature                                                       1 HARMON PLZ, 6TH FL, STE 610
2.566                                                                                     SECAUCUS, NJ 07094
        of the debtor's interest


        State the term remaining      05/01/2017 - 12/31/19 with m-to-m evergreen claus
        List the contract number of
        any government contract


        State what the contract or    SECOND AMENDMENT TO                                 SOLUTIONS MANAGEMENT INC
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT                     PO BOX 989
2.567                                                                                     REMSENBURG, NY 11960
        of the debtor's interest


        State the term remaining      11/01/2018 - 11/01/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                     SOMERSET COLLECTION GP, INC.
        lease is for and the nature                                                       16129 COLLECTIONS CENTER DR
2.568                                                                                     CHICAGO, IL 60693
        of the debtor's interest


        State the term remaining      10/15/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    STORAGE LEASE                                       SOMERSET COLLECTION LIMITED PARTNERSHIP
        lease is for and the nature                                                       16129 COLLECTIONS CENTER DR
2.569                                                                                     CHICAGO, IL 60693
        of the debtor's interest


        State the term remaining      05/27/2011 - 01/31/2022
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              SOMERSET COLLECTION LIMITED PARTNERSHIP
        lease is for and the nature                                                16129 COLLECTIONS CENTER DR
2.570                                                                              CHICAGO, IL 60693
        of the debtor's interest


        State the term remaining      10/15/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICE AGREEMENT                     SOUNDTRACK YOUR BRAND USA INC
        lease is for and the nature                                                800 FIFTH AVE
2.571                                                                              SUITE 4100
        of the debtor's interest
                                                                                   SEATTLE, WA 98104


        State the term remaining      06/16/2017 - 06/16/2020
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                    SOURCE 44 LLC DBA SOURCE INTELLIGENCE
        lease is for and the nature                                                ATTN: CONTRACTS ADMINISTRATION
2.572                                                                              1921 PALOMAR OAKS WAY, STE 205
        of the debtor's interest
                                                                                   CARLSBAD, CA 92008


        State the term remaining      12/01/1916 - evergreen
        List the contract number of
        any government contract


        State what the contract or    STORAGE LEASE                                SOUTH COAST PLAZA
        lease is for and the nature                                                FILE NO 54876
2.573                                                                              LOS ANGELES, CA 90074-4876
        of the debtor's interest


        State the term remaining      05/21/2010 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SOUTH COAST PLAZA
        lease is for and the nature                                                ATTN: GENERAL MANAGER
2.574                                                                              3333 BRISTOL ST
        of the debtor's interest
                                                                                   COSTA MESA, CA 92626


        State the term remaining      03/01/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SOUTH COAST PLAZA
        lease is for and the nature                                                ATTN: CFO
2.575                                                                              3315 FAIRVIEW RD
        of the debtor's interest
                                                                                   COSTA MESA, CA 92626


        State the term remaining      03/01/2012 - 01/31/2023
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    STORAGE LEASE                                SOUTH COAST PLAZA DESIGN COMMITTEE
        lease is for and the nature                                                C/O MANAGEMENT OFFICES
2.576                                                                              3333 BRISTOL ST
        of the debtor's interest
                                                                                   COSTA MESA, CA 92626


        State the term remaining      05/21/2010 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             SOUTHDALE LIMITED PARTNERSHIP
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.577                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      08/02/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             SOUTHDALE LIMITED PARTNERSHIP
        lease is for and the nature                                                P.O. BOX 404874
2.578                                                                              ATLANTA, GA 30384-4874
        of the debtor's interest


        State the term remaining      08/02/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             SOUTHPOINT MALL, LLC
        lease is for and the nature                                                C/O THE STS AT SOUTHPOINT
2.579                                                                              ATTN: LAW/LEASE ADMINISTRATION DEPT
        of the debtor's interest
                                                                                   110 N WACKER DR
                                                                                   CHICAGO, IL 60606

        State the term remaining      02/09/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             SOUTHPOINT MALL, LLC
        lease is for and the nature                                                SDS-12-2886
2.580                                                                              P.O. BOX 86
        of the debtor's interest
                                                                                   MINNEAPOLIS, MN 55486-2886


        State the term remaining      02/09/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SPECTRUM BLOOMFIELD, LLC
        lease is for and the nature                                                781 LARSON ST
2.581                                                                              JACKSON, MS 39202
        of the debtor's interest


        State the term remaining      05/16/2012 -01/31/2022
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              SPG CENTER, LLC
        lease is for and the nature   STANFORD SHOPPING CENTER LEASE               C/O MS MANAGEMENT ASSOCIATES INC
2.582                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SPG CENTER, LLC
        lease is for and the nature   STANFORD SHOPPING CENTER LEASE               STANFORD CENTER
2.583                                                                              FILE NO 57331
        of the debtor's interest
                                                                                   LOS ANGELES, CA 90074-7331


        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SPG CENTER, LLC
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.584                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      02/05/2016 - 01/31/2026
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              SPG HEAD GP, LLC
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.585                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204


        State the term remaining      12/12/2012 - 12/12/2022
        List the contract number of
        any government contract


        State what the contract or    GUARANTY                                     SPG MAYFLOWER, LLC
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.586                                                                              NATIONAL CITY CENTER
        of the debtor's interest
                                                                                   115 W WASHINGTON
                                                                                   INDIANAPOLIS, IN 46204

        State the term remaining      06/28/2010 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              ST. JOHNS VENTURE, LLC
        lease is for and the nature                                                1274 49TH ST, STE 542
2.587                                                                              BROOKLYN, NY 11219
        of the debtor's interest


        State the term remaining      01/23/2014 - 01/31/2024
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    RENEWAL                                      STAPLES CONTRACT & COMMERCIAL, INC.
        lease is for and the nature   PARTICIPANT AGREEMENT                        500 STAPLES DR
2.588                                                                              FRAMINGHAM, MA 01702
        of the debtor's interest


        State the term remaining      04/01/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      STAPLES CONTRACT & COMMERCIAL, INC.
        lease is for and the nature   PARTICIPANT AGREEMENT                        500 STAPLES DR
2.589                                                                              FRAMINGHAM, MA 01702
        of the debtor's interest


        State the term remaining      04/01/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES CONTRACT & COMMERCIAL, INC.
        lease is for and the nature                                                500 STAPLES DR
2.590                                                                              FRAMINGHAM, MA 01702
        of the debtor's interest


        State the term remaining      05/06/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES CONTRACT & COMMERCIAL, INC.
        lease is for and the nature                                                500 STAPLES DR
2.591                                                                              FRAMINGHAM, MA 01702
        of the debtor's interest


        State the term remaining      05/06/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES CONTRACT & COMMERCIAL, INC.
        lease is for and the nature   TPG PARTICIPANT AGREEMENT                    500 STAPLES DR
2.592                                                                              FRAMINGHAM, MA 01702
        of the debtor's interest


        State the term remaining      07/24/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES CONTRACT & COMMERCIAL, INC.
        lease is for and the nature   TPG PARTICIPANT AGREEMENT                    500 STAPLES DR
2.593                                                                              FRAMINGHAM, MA 01702
        of the debtor's interest


        State the term remaining      07/24/2018 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES CONTRACT & COMMERCIAL, INC.
        lease is for and the nature                                                500 STAPLES DR
2.594                                                                              FRAMINGHAM, MA 01702
        of the debtor's interest


        State the term remaining      04/01/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      STAPLES, INC.
        lease is for and the nature   PARTICIPANT AGREEMENT                        ATTENTION: GENERAL COUNSEL
2.595                                                                              500 STAPLES DR
        of the debtor's interest
                                                                                   FRAMINGHAM, MA 01702


        State the term remaining      04/01/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      STAPLES, INC.
        lease is for and the nature   PARTICIPANT AGREEMENT                        ATTENTION: GENERAL COUNSEL
2.596                                                                              500 STAPLES DR
        of the debtor's interest
                                                                                   FRAMINGHAM, MA 01702


        State the term remaining      04/01/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES, INC.
        lease is for and the nature                                                ATTENTION: GENERAL COUNSEL
2.597                                                                              500 STAPLES DR
        of the debtor's interest
                                                                                   FRAMINGHAM, MA 01702


        State the term remaining      05/06/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES, INC.
        lease is for and the nature                                                ATTENTION: GENERAL COUNSEL
2.598                                                                              500 STAPLES DR
        of the debtor's interest
                                                                                   FRAMINGHAM, MA 01702


        State the term remaining      05/06/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    PARTICIPANT AGREEMENT                        STAPLES, INC.
        lease is for and the nature                                                ATTENTION: GENERAL COUNSEL
2.599                                                                              500 STAPLES DR
        of the debtor's interest
                                                                                   FRAMINGHAM, MA 01702


        State the term remaining      04/01/2015 - N/A
        List the contract number of
        any government contract




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    STORAGE LEASE                                STARBUCKS CORPORATION
        lease is for and the nature                                                2401 UTAH AVE SOUTH
2.600                                                                              8TH FLOOR
        of the debtor's interest
                                                                                   SEATTLE, WA 98134


        State the term remaining      07/25/2017 - 05/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              STJTC II, LLC
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.601                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      01/23/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              STJTC II, LLC
        lease is for and the nature                                                P.O. BOX 100177
2.602                                                                              ATLANTA, GA 30384-0177
        of the debtor's interest


        State the term remaining      01/23/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     STRATEGIC LEASING LAW GROUP, LLP
        lease is for and the nature                                                120 SOUTH RIVERSIDE PLAZA
2.603                                                                              SUITE 2190
        of the debtor's interest
                                                                                   CHICAGO, IL 60606


        State the term remaining      04/07/2015 -04/07/2025
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      STRATFORD C. WALLACE
        lease is for and the nature   LEASE                                        C/O MR WILLIAM F WALLACE
2.604                                                                              170 MASON ST
        of the debtor's interest
                                                                                   GREENWICH, CT 06830


        State the term remaining      04/11/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              STREET RETAIL WEST 3, L.P.
        lease is for and the nature   LEASE EXTENSION AGREEMENT                    C/O FEDERAL REALTY INVESTMENT TRUST
2.605                                                                              P.O. BOX 79408
        of the debtor's interest
                                                                                   CITY OF INDUSTRY, CA 91716-9408


        State the term remaining      04/10/2017 - 01/31/2023
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENTS                             STREET RETAIL WEST GP, INC.
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.606                                                                              P.O. BOX 79408
        of the debtor's interest
                                                                                   CITY OF INDUSTRY, CA 91716-9408


        State the term remaining      07/30/2012 - 07/30/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             STREET RETAIL WEST I, LP
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.607                                                                              P.O. BOX 79408
        of the debtor's interest
                                                                                   CITY OF INDUSTRY, CA 91716-9408


        State the term remaining      07/30/2012 - 07/30/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             STREET RETAIL WEST I, LP
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.608                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      07/30/2012 - 07/30/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              STREET RETAIL, INC.
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.609                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      07/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              STREET RETAIL, INC.
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.610                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      07/29/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              STREET RETAIL, INC.
        lease is for and the nature                                                C/O FEDERAL REALTY INVESTMENT TRUST
2.611                                                                              ATTN: LEGAL DEPT
        of the debtor's interest
                                                                                   1626 EAST JEFFERSON ST
                                                                                   ROCKVILLE, MD 20852-4041

        State the term remaining      10/25/2012 - 01/31/2022
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    RENEWAL AGREEMENT                                  STYLESCAPE INC
        lease is for and the nature   SOFTWARE AS A SERVICE LICENSE AGREEMENT -          EDITED
2.612                                 AMENDMENT NUMBER 1                                 1412 BROADWAY
        of the debtor's interest
                                                                                         22ND FLOOR
                                                                                         NEW YORK, NY 10018

        State the term remaining      06/21/2019 - 06/20/2020
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                          STYLESCAPE INC
        lease is for and the nature   AMENDMENT NUMBER 1 TO SOFTWARE AS A                1412 BROADWAY
2.613                                 SERVICE (SAAS) LICENSE AGREEMENT                   22ND FLOOR
        of the debtor's interest
                                                                                         NEW YORK, NY 10018


        State the term remaining      06/21/2019 - 06/20/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    SUBURBAN SQUARE LP
        lease is for and the nature                                                      C/O KIMCO REALTY CORPORATION
2.614                                                                                    3333 NEW HYDE PARK RD, STE 100
        of the debtor's interest
                                                                                         P.O. BOX 5020
                                                                                         NEW HYDE PARK, NY 11042-0020

        State the term remaining      12/31/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                                  SUCCESSFACTORS, INC
        lease is for and the nature   SAP CLOUD SERVICE SCHEDULE                         3999 WEST CHESTER PIKE
2.615                                                                                    NEWTOWN SQUARE, PA 19073
        of the debtor's interest


        State the term remaining      10/16/2019 - 10/16/2021
        List the contract number of
        any government contract


        State what the contract or    VOLUME-BASED INCENTIVE AGREEMENT                   SUNLINE SANKEI YOKOHAMA CO LTD
        lease is for and the nature                                                      2/F D J SECURITIES BLDG
2.616                                                                                    171 HOI BUN RD
        of the debtor's interest
                                                                                         KWUN TONG
                                                                                         KOWLOON
                                                                                         HONG KONG
        State the term remaining      01/01/2019 - 1/1/20 with m-to-m evergreen clause
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                                  SZ BLOCKPRINTS LTD
        lease is for and the nature   LICENSE AGREEMENT                                  42 COOPERSALE RD
2.617                                                                                    LONDON, E9 6BA
        of the debtor's interest
                                                                                         UNITED KINGDOM


        State the term remaining      04/24/2020 - 12/31/2020
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              TAMPA WESTSHORE ASSOCIATES LIMITED PARTNERSHIP
        lease is for and the nature                                                DEPARTMENT 177001
2.618                                                                              P.O. BOX 67000
        of the debtor's interest
                                                                                   DETROIT, MI 48267-1770


        State the term remaining      05/09/2013 - 05/09/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TAMPA WESTSHORE ASSOCIATES LIMITED PARTNERSHIP
        lease is for and the nature                                                200 EAST LONG LAKE RD
2.619                                                                              P.O. BOX 200
        of the debtor's interest
                                                                                   BLOOMFIELD HILLS, MI 48303-0200


        State the term remaining      05/09/2013 - 05/09/2023
        List the contract number of
        any government contract


        State what the contract or    MODIFICATION AGREEMENT                       TANGA PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTN: LEGAL DEPT
2.620                                                                              3200 NORTHLINE AVE, STE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      02/26/2019 -01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER DEVCO, LLC
        lease is for and the nature                                                C/O TANGER PROPERTIES LP
2.621                                                                              ATTENTION: LEGAL DEPARTMENT
        of the debtor's interest
                                                                                   3200 NORTHLINE AVE
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408
        State the term remaining      08/07/2012 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    MODIFICATION AGREEMENT                       TANGER GP TRUST
        lease is for and the nature   SIXTH LEASE MODIFICATION AGREEMENT           ATTENTION: LEGAL DEPARTMENT
2.622                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      12/17/2015 -12/17/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER GP TRUST
        lease is for and the nature                                                ATTENTION: LEGAL DEPARTMENT
2.623                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      02/13/2013 -02/13/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              TANGER GP TRUST
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTENTION: LEGAL DEPARTMENT
2.624                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      12/14/2016 -12/14/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER GP TRUST
        lease is for and the nature                                                ATTENTION: LEGAL DEPARTMENT
2.625                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      05/29/2012 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER HOUSTON, LLC
        lease is for and the nature                                                C/O TANGER PROPERTIES LP
2.626                                                                              ATTENTION: LEGAL DEPARTMENT
        of the debtor's interest
                                                                                   3200 NORTHLINE AVE
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408
        State the term remaining      08/07/2012 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    MODIFICATION AGREEMENT                       TANGER MANAGEMENT, LLC
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTN: LEGAL DEPT
2.627                                                                              3200 NORTHLINE AVE, STE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      02/26/2019 -01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER MANAGEMENT, LLC
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTN: LEGAL DEPT
2.628                                                                              3200 NORTHLINE AVE, STE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      02/26/2019 -02/28/2021
        List the contract number of
        any government contract


        State what the contract or    MODIFICATION AGREEMENT                       TANGER MANAGEMENT, LLC
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTN: LEGAL DEPT
2.629                                                                              3200 NORTHLINE AVE, STE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      02/19/2019 - 02/28/2021
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    MODIFICATION AGREEMENT                       TANGER PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature   SIXTH LEASE MODIFICATION AGREEMENT           ATTENTION: LEGAL DEPARTMENT
2.630                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      12/17/2015 -12/17/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature                                                ATTENTION: LEGAL DEPARTMENT
2.631                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      02/13/2013 -02/13/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTN: LEGAL DEPT
2.632                                                                              3200 NORTHLINE AVE, STE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      02/26/2019 -02/28/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTN: LEGAL DEPT
2.633                                                                              3200 NORTHLINE AVE, STE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      12/14/2016 -12/14/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TANGER PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature                                                ATTENTION: LEGAL DEPARTMENT
2.634                                                                              3200 NORTHLINE AVE
        of the debtor's interest
                                                                                   SUITE 360
                                                                                   GREENSBORO, NC 27408

        State the term remaining      05/29/2012 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    MODIFICATION AGREEMENT                       TANGER PROPERTIES LIMITED PARTNERSHIP
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           ATTN: LEGAL DEPT
2.635                                                                              3200 NORTHLINE AVE, STE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      02/19/2019 - 02/28/2021
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AMENDMENT                              TANGER PROPERTIES LP, COROC/RIVIERA LLC,
        lease is for and the nature   MASTER AGREEMENT RO MODIFY LEASES            FASHION OUTLETS AT FOXWOODS, LLC AND OUTLET MALL OF
2.636                                                                              SAVANNAH, LLC
        of the debtor's interest
                                                                                   3200 NORTHLINE AVE
                                                                                   ATTN: LEGAL DEPT
                                                                                   GREENSBORO, NC 27408
        State the term remaining      Term Not Stated
        List the contract number of
        any government contract


        State what the contract or    LEASE AMENDMENT                              TANGER PROPERTIES LP, COROC/RIVIERA LLC,
        lease is for and the nature   MASTER AGREEMENT TO MODIFY LEASES            FASHION OUTLETS AT FOXWOODS, LLC AND OUTLET MALL OF
2.637                                                                              SAVANNAH, LLC
        of the debtor's interest
                                                                                   ATTN: LEGAL DEPT
                                                                                   3200 NORTHLINE AVE
                                                                                   GREENSBORO, NC 27408
        State the term remaining      Term Not Stated
        List the contract number of
        any government contract


        State what the contract or    SOFTWARE LICENSE AGREEMENT                   TANGO ANALYTICS, LLC
        lease is for and the nature   SOFTWARE AS A SERVICE (SAAS) LICENSE         ATTN: PRANAV TYAGI
2.638                                 AGREEMENT                                    9797 ROMBAUER RD, STE 450
        of the debtor's interest
                                                                                   DALLAS, TX 75019


        State the term remaining      01/26/2018 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            TANGO ANALYTICS, LLC
        lease is for and the nature   01 FOR TANGO'S IMPLEMENTATION SERVICES       ATTN: PRANAV TYAGI
2.639                                                                              6225 N STATE HWY 161, STE 300
        of the debtor's interest
                                                                                   IRVING, TX 75038


        State the term remaining      01/26/2018 - 12/31/2020
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    TANGOE US, INC
        lease is for and the nature   AMENDMENT NO. 1 TO COMMCARE PREMIUM          169 LACKAWANNA AVE
2.640                                 INTEGRATED SCHEDULE                          PARSIPPANY, NY 07054
        of the debtor's interest


        State the term remaining      03/31/2015 - 08/31/2020
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    TANGOE US, INC.
        lease is for and the nature   AMENDMENT NO. 1 TO COMMCARE PREMIUM          P.O. BOX 731352
2.641                                 INTEGRATED SCHEDULE                          DALLAS, TX 75373-1352
        of the debtor's interest


        State the term remaining      03/31/2015 - 08/31/2020
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LICENSE AGREEMENT                            TANGOE, INC.
        lease is for and the nature   SOFTWARE AS A SERVICE (SAAS) LICENSE         35 EXECUTIVE BLVD
2.642                                 AGREEMENT                                    ORANGE, CT 06477
        of the debtor's interest


        State the term remaining      03/31/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    PREMIUM AGREEMENT                            TANGOE, INC.
        lease is for and the nature   COMMCARE PREMIUM INTEGRATED SCHEDULE         35 EXECUTIVE BLVD
2.643                                                                              ORANGE, CT 06477
        of the debtor's interest


        State the term remaining      03/31/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            TANGOE, INC.
        lease is for and the nature   SOFTWARE AS A SERVICE (SAAS) LICENSE         35 EXECUTIVE BLVD
2.644                                 AGREEMENT                                    ORANGE, CT 06477
        of the debtor's interest


        State the term remaining      03/31/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TARTER KRINSKY & DROGIN LLP
        lease is for and the nature                                                ATTN: ALAN TARTER, ESQ AND ARTHUR ZAGORSKY, ESQ
2.645                                                                              1350 BROADWAY
        of the debtor's interest
                                                                                   NEW YORK, NY 10018


        State the term remaining      04/11/2016 - 10/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TARTER KRINSKY & DROGIN, LLP
        lease is for and the nature   ARTICLE 1 - SALIENT LEASE TERMS              ATTN: WILLIAM W WEISNER, ESQ
2.646                                                                              NEW YORK, NY 10018
        of the debtor's interest


        State the term remaining      07/09/2015 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TAUBMAN CHERRY CREEK LIMITED PARTNERSHIP
        lease is for and the nature                                                200 EAST LONG LAKE RD
2.647                                                                              P.O. BOX 200
        of the debtor's interest
                                                                                   BLOOMFIELD HILLS, MI 48303-0200


        State the term remaining      10/18/2010 - 10/18/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              TAUBMAN CHERRY CREEK LIMITED PARTNERSHIP
        lease is for and the nature                                                DEPARTMENT 89801
2.648                                                                              P.O. BOX 67000
        of the debtor's interest
                                                                                   DETROIT, MI 48267-0898


        State the term remaining      10/18/2010 - 10/18/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              T-C FORUM AT CARLSBAD LLC
        lease is for and the nature                                                ATTN: GLOBAL REAL ESTATE ASSET MANAGEMENT
2.649                                                                              730 3RD AVE
        of the debtor's interest
                                                                                   14TH FLOOR
                                                                                   NEW YORK, NY 10017

        State the term remaining      12/30/2013 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            TECHOLUTION
        lease is for and the nature                                                3 WORLD FINANCIAL CENTER, 24TH FL
2.650                                                                              NEW YORK, NY 10281
        of the debtor's interest


        State the term remaining      05/01/2019 - 05/01/2020
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              THE A LIST
        lease is for and the nature                                                ATTN: GENERAL COUNSEL
2.651                                                                              9294 CIVIC CENTER DR.
        of the debtor's interest
                                                                                   BEVERLY HILLS, CA 90210


        State the term remaining      03/07/2019 - 03/07/2021
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             THE BANK OF NEW YORK MELLON
        lease is for and the nature   SUBLEASE AGREEMENT                           101 BARCLAY ST - AIM 101-0700
2.652                                                                              NEW YORK, NY 10286
        of the debtor's interest


        State the term remaining      05/09/2018 - 05/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
        lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: BNY MELLON, LEASE NO: 107-0000, STE 300
2.653                                                                              6055 PRIMARY PARKWAY BUILDING II
        of the debtor's interest
                                                                                   MEMPHIS, TN 38119


        State the term remaining      05/10/2018 - 09/30/2034
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
        lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: DIRECTOR OF GLOBAL REAL ESTATE SERVICES
2.654                                                                              101 BARCLAY ST - 7E
        of the debtor's interest
                                                                                   NEW YORK, NY 10286


        State the term remaining      05/10/2018 - 09/30/2034
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
        lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: REAL ESTATE COUNSEL
2.655                                                                              BNY MELLON CENTER, AIM 151-1910
        of the debtor's interest
                                                                                   500 GRANT ST
                                                                                   PITTSBURGH, PA 15258-0001

        State the term remaining      05/10/2018 - 09/30/2034
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
        lease is for and the nature   FINANCIAL INFORMATION CONFIDENTIALITY        225 LIBERTY ST
2.656                                 AGREEMENT                                    NEW YORK, NY 10286
        of the debtor's interest


        State the term remaining      12/20/2018 - N/A
        List the contract number of
        any government contract


        State what the contract or    PRODUCT PURCHASE AGREEMENT                   THE BERNARD GROUP, INC.
        lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
2.657                                                                              102 JONATHAN BLVD NO
        of the debtor's interest
                                                                                   CHASKA, MN 55318


        State the term remaining      06/09/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    PURCHASE AGREEMENT                      THE BERNARD GROUP, INC.
        lease is for and the nature   AMENDMENT TO PRODUCT PURCHASE AGREEMENT ATTN: LEGAL DEPARTMENT
2.658                                                                         102 JONATHAN BLVD NO
        of the debtor's interest
                                                                              CHASKA, MN 55318


        State the term remaining      04/18/2016 - N/A
        List the contract number of
        any government contract


        State what the contract or    PRODUCT PURCHASE AGREEMENT                   THE BERNARD GROUP, INC.
        lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
2.659                                                                              102 JONATHAN BLVD NO
        of the debtor's interest
                                                                                   CHASKA, MN 55318


        State the term remaining      06/09/2014 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    ADDENDUM                                     THE BERNARD GROUP, INC.
        lease is for and the nature   PRODUCT SCHEDULE A                           ATTN: LEGAL DEPARTMENT
2.660                                                                              102 JONATHAN BLVD NO
        of the debtor's interest
                                                                                   CHASKA, MN 55318


        State the term remaining      06/09/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE CROWN ESTATE COMMISSIONERS
        lease is for and the nature                                                16 NEW BURLINGTON PLACE
2.661                                                                              LONDON, W1S 2HX
        of the debtor's interest
                                                                                   UNITED KINGDOM


        State the term remaining      06/24/2013 - 06/23/2028
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE CROWN ESTATE COMMISSIONERS
        lease is for and the nature                                                16 NEW BURLINGTON PLACE
2.662                                                                              LONDON, W1S 2HX
        of the debtor's interest
                                                                                   UNITED KINGDOM


        State the term remaining      06/24/2013 - 06/23/2028
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE CROWN ESTATE COMMISSIONERS
        lease is for and the nature                                                16 NEW BURLINGTON PLACE
2.663                                                                              LONDON, W1S 2HX
        of the debtor's interest
                                                                                   UNITED KINGDOM


        State the term remaining      06/24/2013 - 06/23/2028
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      THE DOMAIN MALL, LLC
        lease is for and the nature   LEASE                                        C/O MS MANAGEMENT ASSOCIATES INC
2.664                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      11/30/2018 - 11/30/2028
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      THE DOMAIN MALL, LLC
        lease is for and the nature   LEASE                                        POST OFFICE BOX 406597
2.665                                                                              ATLANTA, GA 30384-6597
        of the debtor's interest


        State the term remaining      11/30/2018 - 11/30/2028
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              THE FORUM CARLSBAD
        lease is for and the nature                                                ATTN: PROPERTY MANAGER
2.666                                                                              1905 CALLE BARCELONA, STE 200
        of the debtor's interest
                                                                                   CARLSBAD, CA 92009


        State the term remaining      12/30/2013 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    STORAGE LEASE                                THE LORD COMPANIES LLC
        lease is for and the nature                                                ATTN: KEITH LORD
2.667                                                                              1033 W VAN BUREN, STE 700
        of the debtor's interest
                                                                                   CHICAGO, IL 60607


        State the term remaining      07/19/2017 - 05/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
        lease is for and the nature                                                ATTN: LAW DEPT
2.668                                                                              7 GIRALDA FARMS
        of the debtor's interest
                                                                                   MADISON, NJ 07940


        State the term remaining      04/21/2016 - 01/31/2027
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             THE RETAIL PROPERTY TRUST
        lease is for and the nature   ROOSEVELT FIELD MALL LEASE                   C/O MS MANAGEMENT ASSOCIATES INC
2.669                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      08/25/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             THE RETAIL PROPERTY TRUST
        lease is for and the nature   ROOSEVELT FIELD MALL LEASE                   NEWARK POST OFFICE
2.670                                                                              P.O. BOX 35467
        of the debtor's interest
                                                                                   NEWARK, NJ 07193-5467


        State the term remaining      08/25/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              THE RETAIL PROPERTY TRUST
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.671                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      07/02/2013 - 07/02/2023
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              THE ROSEVILLE FOUNTAINS, L.P.
        lease is for and the nature   LEASE AND OPERATING AGREEMENT                C/O INTER-CAL REAL ESTATE CORPORATION
2.672                                                                              540 FULTON AVE
        of the debtor's interest
                                                                                   SACRAMENTO, CA 95825


        State the term remaining      07/22/2015 -07/22/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             THE STREETS AT SOUTHPOINT
        lease is for and the nature                                                ATTN: GENERAL MANAGER
2.673                                                                              6910 FAYETTEVILLE RD
        of the debtor's interest
                                                                                   DURHAM, NC 27713


        State the term remaining      02/09/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    ORDER FORM                                   THOMSON REUTERS
        lease is for and the nature   NACI FORM
2.674
        of the debtor's interest


        State the term remaining      12/10/2018
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TIAA-CREF
        lease is for and the nature                                                ATTN: GLOBAL REAL ESTATE ASSET MANAGEMENT
2.675                                                                              4675 MACARTHUR COURT, STE 1100
        of the debtor's interest
                                                                                   NEWPORT BEACH, CA 92660


        State the term remaining      12/30/2013 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            TLC ASSOCIATES
        lease is for and the nature                                                THOMAS P. MORONEY
2.676                                                                              4515 20TH AVE SW
        of the debtor's interest
                                                                                   SUITE B
                                                                                   CEDAR RAPIDS, IA 52404

        State the term remaining      01/01/2018 - 01/01/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             TM MARKET STREET, LLC
        lease is for and the nature   RETAIL LEASE                                 ATTN: CHIEF INVESTMENT OFFICER
2.677                                                                              100 E 15TH ST, STE 200
        of the debtor's interest
                                                                                   FORT WORTH, TX 76102


        State the term remaining      09/28/2012 - 01/31/2023
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENTS                             TOWN CENTER PLAZA, L.L.C.
        lease is for and the nature                                                ATTN: EXECUTIVE VICE PRESIDENT
2.678                                                                              3300 ENTERPRISE PARKWAY
        of the debtor's interest
                                                                                   BEACHWOOD, OH 44122


        State the term remaining      09/26/2011 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            TRALIANT, LLC
        lease is for and the nature                                                1600 ROSECRANS AVE
2.679                                                                              4TH FLOOR
        of the debtor's interest
                                                                                   MEDIA CTR
                                                                                   MANHATTAN BEACH, CA 90266

        State the term remaining      07/29/2019 - 09/30/2020
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            TRANSACTION TAX CONSULTING GROUP, LLC
        lease is for and the nature   TAX RECOVERY STATEMENT OF WORK               3850 NE THREE MILE LANE
2.680                                                                              MCMINNVILLE, OR 97128
        of the debtor's interest


        State the term remaining      06/06/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL AGREEMENT                            TRANSACTION TAX RESOURCES, INC
        lease is for and the nature   PRODUCT ORDER FORM - ACCOUNT #: C16796       3850 NE THREE MILE LN
2.681                                                                              MCMINNVILLE, OR 97128
        of the debtor's interest


        State the term remaining      02/28/2020 - 02/28/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AMENDMENT                              TRENHOLM PLAZA, LLC
        lease is for and the nature   FIRST LEASE AMENDMENT
2.682
        of the debtor's interest


        State the term remaining      01/24/2020
        List the contract number of
        any government contract


        State what the contract or    RENEWAL AGREEMENT                            TRINTECH, INC
        lease is for and the nature   QUOTE #: Q-23139                             15851 DALLAS PARKWAY
2.683                                                                              SUITE 900
        of the debtor's interest
                                                                                   ADDISON, TX 75001


        State the term remaining      01/01/2020 - 12/31/2020
        List the contract number of
        any government contract




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                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              TRUMBULL SHOPPING CENTER #2 LLC
        lease is for and the nature                                                ATTENTION: LEGAL DEPARTMENT
2.684                                                                              11601 WILSHIRE BLVD
        of the debtor's interest
                                                                                   11TH FLOOR
                                                                                   LOS ANGELES, CA 90025

        State the term remaining      04/18/2011 - 04/17/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             TSPGP, LLC
        lease is for and the nature   RETAIL LEASE                                 C/O TRADEMARK SIX PINES, LLC
2.685                                                                              1701 RIVER RUN, STE 500
        of the debtor's interest
                                                                                   FORT WORTH, TX 76107


        State the term remaining      09/28/2012 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TWB ASSOCIATES, LLC
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           3200 NORTHLINE AVE
2.686                                                                              SUITE 360
        of the debtor's interest
                                                                                   GREENSBORO, NC 27408


        State the term remaining      02/26/2019 -02/28/2021
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    TWELVE OAKS MALL, LLC
        lease is for and the nature   SECOND MODIFICATION OF LEASE AGREEMENT       C/O THE TAUBMAN COMPANY
2.687                                                                              200 EAST LONG LAKE RD
        of the debtor's interest
                                                                                   P.O. BOX 200
                                                                                   BLOOMFIELD HILLS, MI 48303-0200

        State the term remaining      05/09/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              TWMB ASSOCIATES, LLC
        lease is for and the nature   FIRST LEASE MODIFICATION AGREEMENT           P.O. BOX 65139
2.688                                                                              CHARLOTTE, NC 28265-0139
        of the debtor's interest


        State the term remaining      02/26/2019 -02/28/2021
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            UL VERIFICATION SERVICES INC.
        lease is for and the nature   VERIFICATION SERVICES AGREEMENT              ATTN: PRESIDENT
2.689                                                                              1 MARITIME SQUARE
        of the debtor's interest
                                                                                   HARBOUR FRONT CENTRE, 11-03
                                                                                   , 99253
                                                                                   SINGAPORE
        State the term remaining      01/26/2015 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    TRADEMARK LICENSE AGREEMENT                  UNIFI, INC
        lease is for and the nature                                                7201 W. FRIENDLY AVE
2.690                                                                              GREENSBORO, NC 27410
        of the debtor's interest


        State the term remaining      10/22/2018 - 10/22/2021
        List the contract number of
        any government contract


        State what the contract or    PROGRAM SERVICES AGREEMENT                   UNIFYHR, LLC
        lease is for and the nature                                                ATTN: CHRIS HEINEFIELD, COO
2.691                                                                              105 DECKER COURT SUITE 540
        of the debtor's interest
                                                                                   IRVING, TX 75062


        State the term remaining      06/01/2019 - 06/01/2021
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    UNITED PARCEL SERVICE, INC
        lease is for and the nature   AMENDMENT NO. 5 TO UPS INCENTIVE PROGRAM     55 GLENLAKE PARKWAY NE
2.692                                 AGREEMENT                                    ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      09/14/2015 - 09/05/2020
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    UNITED PARCEL SERVICE, INC.
        lease is for and the nature   UPS INCENTIVE PROGRAM AGREEMENT              55 GLENLAKE PARKWAY
2.693                                 AMENDMENT                                    ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      09/14/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT NO. 1 TO UPS INCENTIVE PROGRAM     55 GLENLAKE PARKWAY NE
2.694                                 AGREEMENT                                    ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      11/01/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    PROGRAM AGREEMENT                            UNITED PARCEL SERVICE, INC.
        lease is for and the nature   UPS INCENTIVE PROGRAM AGREEMENT              55 GLENLAKE PARKWAY NE
2.695                                                                              ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      N/A - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT                                    UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT #11 TO ADDENDUM 1B - SMALL         55 GLENLAKE PARKWAY NE
2.696                                 PACKAGE TRANSPORTATION SERVICES TO THE       ATLANTA, GA 30328
        of the debtor's interest
                                      TRANSPORTATION MANAGEMENT SERVICES
                                      AGREEMENT BETWEEN UNITED PARCEL SERVICE,
                                      INC. AND J. CREW GROUP, INC.
        State the term remaining      04/24/2003 - N/A
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     UNITED PARCEL SERVICE, INC.
        lease is for and the nature                                                55 GLENLAKE PARKWAY NE
2.697                                                                              ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      05/30/2013 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT #5 TO ADDENDUM 1B - SMALL          55 GLENLAKE PARKWAY NE
2.698                                 PACKAGE TRANSPORTATION SERVICES BETWEEN      ATLANTA, GA 30328
        of the debtor's interest
                                      UNITED PARCEL SERVICE, INC. AND J. CREW
                                      GROUP, INC.

        State the term remaining      10/04/2010 - N/A
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                     UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT #6 TO ADDENDUM 1B - SMALL          55 GLENLAKE PARKWAY NE
2.699                                 PACKAGE TRANSPORTATION SERVICES              ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      08/29/2011 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT NO. 1 TO UPS INCENTIVE PROGRAM     ATTN: CONTRACTS
2.700                                 AGREEMENT                                    45 FERNWOOD AVE
        of the debtor's interest
                                                                                   RARITAN CENTER
                                                                                   EDISON, NJ 08837

        State the term remaining      11/01/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    INCENTIVE AGREEMENT                          UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT NO. 10 TO UPS INCENTIVE PROGRAM    55 GLENLAKE PARKWAY NE
2.701                                 AGREEMENT BETWEEN J CREW GROUP, INC. AND     ATLANTA, GA 30328
        of the debtor's interest
                                      UNITED PARCEL SERVICE, INC.


        State the term remaining      09/14/2015 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    INCENTIVE AGREEMENT                          UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT NO. 5 TO UPS INCENTIVE PROGRAM     55 GLENLAKE PARKWAY NE
2.702                                 AGREEMENT BETWEEN J CREW GROUP, INC. AND     ATLANTA, GA 30328
        of the debtor's interest
                                      UNITED PARCEL SERVICE, INC.


        State the term remaining      09/14/2015 - 09/05/2020
        List the contract number of
        any government contract


        State what the contract or    INCENTIVE PROGRAM AGREEMENT                  UNITED PARCEL SERVICE, INC.
        lease is for and the nature   UPS INCENTIVE PROGRAM AGREEMENT              55 GLENLAKE PARKWAY NE
2.703                                                                              ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      09/14/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                     UNITED PARCEL SERVICE, INC.
        lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
2.704                                                                              55 GLENLAKE PARKWAY, NE
        of the debtor's interest
                                                                                   ATLANTA, GA 30328


        State the term remaining      N/A - N/A
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                     UNITED PARCEL SERVICE, INC.
        lease is for and the nature   AMENDMENT NO. 2 TO ADDENDUM NO. 1A - SMALL   55 GLENLAKE PARKWAY NE
2.705                                 PACKAGE TRANSPORTATION SERVICES BETWEEN      ATLANTA, GA 30328
        of the debtor's interest
                                      UNITED PARCEL SERVICE, INC. AND J. CREW
                                      GROUP, INC.

        State the term remaining      06/05/2006 - N/A
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            UPS PROFESSIONAL SERVICES, INC.
        lease is for and the nature   UPS ELECTRONIC MANIFEST AGREEMENT VERSION    55 GLENLAKE PKWY NW
2.706                                 EMC00305312002                               ATLANTA, GA 30328
        of the debtor's interest


        State the term remaining      07/01/2011 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    UPS SUPPLY CHAIN SOLUTIONS, INC.
        lease is for and the nature   AMENDMENT NO. 1 TO THE TRANSPORTATION        12380 MORRIS RD
2.707                                 MANAGEMENT SERVICES AGREEMENT                ALPHARETTA, GA 30005
        of the debtor's interest


        State the term remaining      06/05/2006 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease
        State what the contract or    AMENDMENT                                      UPS SUPPLY CHAIN SOLUTIONS, INC.
        lease is for and the nature   ADDENDUM NO. 2 TO THE TRANSPORTATION           12380 MORRIS RD
2.708                                 MANAGEMENT SERVICES AGREEMENT BETWEEN          ALPHARETTA, GA 30005
        of the debtor's interest
                                      UPS SUPPLY CHAIN SOLUTIONS, INC. AND J. CREW
                                      GROUP, INC.

        State the term remaining      07/13/2009 - N/A
        List the contract number of
        any government contract


        State what the contract or    ADDENDUM                                       UPS SUPPLY CHAIN SOLUTIONS, INC.
        lease is for and the nature   AMENDMENT NO. 1 TO THE TRANSPORTATION          12380 MORRIS RD
2.709                                 MANAGEMENT SERVICES AGREEMENT BETWEEN          ALPHARETTA, GA 30005
        of the debtor's interest
                                      UPS SUPPLY CHAIN SOLUTIONS, INC. AND J. CREW
                                      GROUP, INC.

        State the term remaining      06/05/2006 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                      UPS SUPPLY CHAIN SOLUTIONS, INC.
        lease is for and the nature   AMENDMENT NO. 2 TO THE TRANSPORTATION          12380 MORRIS RD
2.710                                 MANAGEMENT SERVICES AGREEMENT BETWEEN          ALPHARETTA, GA 30005
        of the debtor's interest
                                      UPS SUPPLY CHAIN SOLUTIONS, INC. AND J. CREW
                                      GROUP, INC.

        State the term remaining      07/13/2009 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                URBAN CHESTNUT HILL, LLC
        lease is for and the nature                                                  C/O SIMON PROPERTY GROUP, INC.
2.711                                                                                225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                     INDIANAPOLIS, IN 46204


        State the term remaining      12/12/2012 - 12/12/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                URBAN SHOPPING CENTERS, L.P.
        lease is for and the nature                                                  P.O. BOX 86
2.712                                                                                MINNEAPOLIS, MN 55486-2886
        of the debtor's interest


        State the term remaining      12/12/2012 - 12/12/2022
        List the contract number of
        any government contract


        State what the contract or    SPONSORSHIP AGREEMENT                          USA RUGBY PARTNERS, LLC
        lease is for and the nature   USA RUGBY SPONSORSHIP AGREEMENT                2655 CRESCENT DR
2.713                                                                                SUITE A
        of the debtor's interest
                                                                                     LAFAYETTE, CO 80026


        State the term remaining      07/21/2019 - 07/21/2020
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SPONSORSHIP AGREEMENT                        USA RUGBY PARTNERS, LLC
        lease is for and the nature   USA RUBY SPONSORSHIP AGREEMENT               2655 CRESCENT DR
2.714                                                                              SUITE A
        of the debtor's interest
                                                                                   LAFAYETTE, CO 80026


        State the term remaining      08/30/2019 - 08/30/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              USC PENN SQUARE, INC.
        lease is for and the nature   PENN SQUARE MALL LEASE                       C/O MS MANAGEMENT ASSOCIATES INC
2.715                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      05/26/2015 - 1/31/2025
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                           VANDEGRIFT FORWARDING COMPANY, INC.
        lease is for and the nature   CUSTOMS BROKERAGE SERVICES AGREEMENT         ATTENTION: MITCHEL SCHER, PRESIDENT
2.716                                                                              100 WALNUT AVE, STE 600
        of the debtor's interest
                                                                                   CLARK, NJ 07066


        State the term remaining      07/23/2015 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                           VANDEGRIFT FORWARDING COMPANY, INC.
        lease is for and the nature   CUSTOMS BROKER AGREEMENT                     100 FEDERAL ST
2.717                                                                              BOSTON, MA 02110
        of the debtor's interest


        State the term remaining      03/07/2011 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            VARONIS SYSTEMS, INC
        lease is for and the nature                                                1250 BROADWAY
2.718                                                                              29TH FLOOR
        of the debtor's interest
                                                                                   NEW YORK, NY 10001


        State the term remaining      07/17/2019 - 07/07/2020
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     VAT COMPLIANCE EUROPE LTD
        lease is for and the nature                                                OMNI HOUSE, 1ST FL
2.719                                                                              252 BELSIZE RD
        of the debtor's interest
                                                                                   LONDON, NW6 4BT
                                                                                   UNITED KINGDOM

        State the term remaining      01/04/2017 - N/A
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    NON-DISCLOSURE AGREEMENT                     VAT GLOBAL
        lease is for and the nature                                                252 BELSIZE RD, OMNI HOUSE, 1ST FL
2.720                                                                              LONDON, NW6 4BT
        of the debtor's interest
                                                                                   UNITED KINGDOM


        State the term remaining      01/04/2017 - N/A
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             VATIC OUTSOURCING
        lease is for and the nature   LETTER OF AUTHORIZATION/CONSULTANT NDA       770 BROADWAY
2.721                                                                              NEW YORK, NY 10003
        of the debtor's interest


        State the term remaining      08/18/2014 - N/A
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICE AGREEMENT                     VENIO LLC
        lease is for and the nature                                                450 SEVENTH AVE, STE 1707
2.722                                                                              NEW YORK, NY 10123
        of the debtor's interest


        State the term remaining      05/11/2020 - 05/11/2022
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICE AGREEMENT                     VENIO LLC
        lease is for and the nature                                                450 SEVENTH AVE, STE 1707
2.723                                                                              NEW YORK, NY 10123
        of the debtor's interest


        State the term remaining      05/11/2020 - 05/11/2022
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICE AGREEMENT                     VENIO LLC
        lease is for and the nature                                                450 SEVENTH AVE
2.724                                                                              SUITE 1707
        of the debtor's interest
                                                                                   NEW YORK, NY 10123


        State the term remaining      05/11/2020 - 05/11/2022
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     VERITAS PRIME, LLC
        lease is for and the nature                                                115 MIDDLE ST, STE 200
2.725                                                                              PORTLAND, ME 04101
        of the debtor's interest


        State the term remaining      09/16/2018 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    SERVICE AGREEMENT                            VERITAS PRIME, LLC
        lease is for and the nature   ORDER FORM FOR SAP CLOUD SERVICES            75 MARKET ST, STE 203
2.726                                                                              PORTLAND, ME 04101
        of the debtor's interest


        State the term remaining      10/14/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              VERITAS PRIME, LLC
        lease is for and the nature                                                ATTN: OPERATIONS
2.727                                                                              115 MIDDLE ST, STE 200
        of the debtor's interest
                                                                                   PORTLAND, ME 04101


        State the term remaining      10/29/2018 - 10/29/2019
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                            VERTEX, INC.
        lease is for and the nature   VERTEX, INC. SOFTWARE LICENSE AGREEMENT      1041 OLD CASSATT RD
2.728                                                                              BERWYN, PA 19312
        of the debtor's interest


        State the term remaining      03/23/2007 - N/A
        List the contract number of
        any government contract


        State what the contract or    RENEWAL QUOTE                                VERTEX, INC.
        lease is for and the nature                                                2301 RENAISSANCE BLVD
2.729                                                                              KING OF PRUSSIA, PA 19406
        of the debtor's interest


        State the term remaining      04/01/2019 - 03/06/2020
        List the contract number of
        any government contract


        State what the contract or    LICENSE AGREEMENT                           VERTEX, INC.
        lease is for and the nature   SUPPLEMENTAL SCHEDULE A TO VERTEX, INC.     2301 RENAISSANCE BLVD
2.730                                 SOFTWARE LICENSE AGREEMENT DATED 03/02/2007 KING OF PRUSSIA, PA 19406
        of the debtor's interest
                                      BETWEEN VERTEX, INC. AND J.CREW GROUP, INC.
                                      AS OF 5/7/2012

        State the term remaining      05/07/2012 - N/A
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT TO LETTER AGREEMENT                VINCENT ZANNA
        lease is for and the nature                                                ADDRESS REDACTED
2.731
        of the debtor's interest


        State the term remaining      11/26/2019 - N/A
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease
        State what the contract or    AMENDMENT                                          VINCENT ZANNA
        lease is for and the nature   LETTER AGREEMENT                                   ADDRESS REDACTED
2.732
        of the debtor's interest


        State the term remaining      04/01/2018 - 04/01/2021
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT TO LETTER AGREEMENT                      VINCENT ZANNA
        lease is for and the nature                                                      ADDRESS REDACTED
2.733
        of the debtor's interest


        State the term remaining      11/26/2019
        List the contract number of
        any government contract


        State what the contract or    EMPLOYMENT AGREEMENT                               VINCENT ZANNA
        lease is for and the nature                                                      ADDRESS REDACTED
2.734
        of the debtor's interest


        State the term remaining      3/23/2018
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                                  VISION CRITICAL
        lease is for and the nature                                                      22 W 21ST ST, 8TH FL, STE B
2.735                                                                                    NEW YORK, NY 10010
        of the debtor's interest


        State the term remaining      07/17/2019 - compl/term of the Professional Svcs
        List the contract number of
        any government contract


        State what the contract or    MASTER SUBSCRIPTION AGREEMENT                      VISION CRITICAL
        lease is for and the nature                                                      22 W 21ST ST, 8TH FL, STE B
2.736                                                                                    NEW YORK, NY 10010
        of the debtor's interest


        State the term remaining      06/01/2018
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                                    VNO GT MANAGER LLC
        lease is for and the nature                                                      C/O VERNADO REALTY LP
2.737                                                                                    888 SEVENTH AVE
        of the debtor's interest
                                                                                         NEW YORK, NY 10019


        State the term remaining      08/02/2012 - 01/31/2022
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              VORNADO BERGEN MALL LLC
        lease is for and the nature                                                210 ROUTE 4 EAST
2.738                                                                              PARAMUS, NJ 07652
        of the debtor's interest


        State the term remaining      03/01/2011 -03/01/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              VORNADO BERGEN MALL LLC
        lease is for and the nature                                                210 ROUTE 4 EAST
2.739                                                                              PARAMUS, NJ 07652
        of the debtor's interest


        State the term remaining      03/19/2014 -03/01/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              VORNADO BERGEN MALL LLC
        lease is for and the nature                                                ATTENTION: EXECUTIVE VICE PRESIDENT - FINANCE
2.740                                                                              210 ROUTE 4 EAST
        of the debtor's interest
                                                                                   PARAMUS, NJ 07652


        State the term remaining      03/19/2014 -03/01/2024
        List the contract number of
        any government contract


        State what the contract or    LETTER AGREEMENT                             VORNADO REALTY L.P.
        lease is for and the nature   SUBLEASE AGREEMENT                           888 SEVENTH AVE
2.741                                                                              NEW YORK, NY 10019
        of the debtor's interest


        State the term remaining      05/09/2018 - 05/31/2023
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              VORNADO REALTY L.P.
        lease is for and the nature                                                888 SEVENTH AVE
2.742                                                                              NEW YORK, NY 10019
        of the debtor's interest


        State the term remaining      08/02/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT OF LEASE                           VORNADO REALTY TRUST
        lease is for and the nature                                                ATTN: EVP - FINANCE & ADMINISTRATION & CFO
2.743                                                                              210 ROUTE 4 EAST
        of the debtor's interest
                                                                                   PARAMUS, NJ 07652


        State the term remaining      01/31/2019 - 01/31/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              VORNADO REALTY TRUST
        lease is for and the nature                                                ATTN: EVP - FINANCE & ADMINISTRATION & CFO
2.744                                                                              210 ROUTE 4 EAST
        of the debtor's interest
                                                                                   PARAMUS, NJ 07652


        State the term remaining      08/02/2012 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              VORNADO TWO PENN PROPERTY LLC
        lease is for and the nature   SURRENDER AGREEMENT                          C/O VORNADO OFFICE MANAGEMENT LLC
2.745                                                                              888 SEVENTH AVE
        of the debtor's interest
                                                                                   NEW YORK, NY 10019


        State the term remaining      12/30/2009 - N/A
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            W SERVICES
        lease is for and the nature                                                500 WHEELER RD
2.746                                                                              HAUPPAUGE, NY 11788
        of the debtor's interest


        State the term remaining      04/18/2019 - 04/18/2021
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              W SERVICES GROUP LLC
        lease is for and the nature                                                ATTN: MR MATTHEW WHELAN
2.747                                                                              500 WHEELER RD
        of the debtor's interest
                                                                                   HAUPPAUGE, NY 11788


        State the term remaining      03/11/2019 - 03/11/2021
        List the contract number of
        any government contract


        State what the contract or    PROFESSIONAL SERVICES AGREEMENT              W SERVICES GROUP LLC
        lease is for and the nature                                                ATTN: MR MATTHEW WHELAN
2.748                                                                              500 WHEELER RD
        of the debtor's interest
                                                                                   HAUPPAUGE, NY 11788


        State the term remaining      03/25/2019 - 03/25/2021
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              W/S/M HINGHAM PROPERTIES LLC
        lease is for and the nature   INDENTURE OF LEASE DERBY STREET SHOPPES      1330 BOYLSTON ST
2.749                                                                              CHESTNUT HILL, MA 02467
        of the debtor's interest


        State the term remaining      02/06/2014 - 01/31/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    LEASE AGREEMENT                              W/S/M HINGHAM PROPERTIES LLC
        lease is for and the nature   INDENTURE OF LEASE DERBY STREET SHOPPES      P.O. BOX 3274
2.750                                                                              BOSTON, MA 02241-3274
        of the debtor's interest


        State the term remaining      02/06/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      WACHOVIA BANK, NATIONAL ASSOCIATION
        lease is for and the nature   LEASE                                        ATTN: COMMERCIAL REAL ESTATE SERVICES
2.751                                                                              NC 1075
        of the debtor's interest
                                                                                   8739 RESEARCH DR URP4
                                                                                   CHARLOTTE, NC 28288-1075

        State the term remaining      05/03/2011 - 05/03/2021
        List the contract number of
        any government contract


        State what the contract or    NON-DISCLOSURE AGREEMENT                     WACHTER, INC.
        lease is for and the nature                                                16001 WEST 99TH ST
2.752                                                                              LENEXA, KS 66219
        of the debtor's interest


        State the term remaining      12/12/2016 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              WELLS FARGO BANK, NATIONAL ASSOCIATION
        lease is for and the nature   SHOPPING CENTER LEASE                        ATTN: TREVA LEE
2.753                                                                              608 2ND ST S
        of the debtor's interest
                                                                                   11TH FLOOR
                                                                                   MINNEAPOLIS, MN 55402-1916

        State the term remaining      06/05/2015 - 06/05/2025
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     WEST CLAYTON ATHENS GA HOLDINGS, LLC
        lease is for and the nature                                                ATTN: STEVEN BENOS
2.754                                                                              900 N MICHIGAN AVE, STE 1450
        of the debtor's interest
                                                                                   CHICAGO, IL 60611


        State the term remaining      04/07/2015 -04/07/2025
        List the contract number of
        any government contract


        State what the contract or    STANDARD LEASE AGREEMENT                     WEST CLAYTON ATHENS GA OWNER, LLC
        lease is for and the nature                                                ATTN: STEVEN BENOS
2.755                                                                              900 N. MICHIGAN AVE
        of the debtor's interest
                                                                                   SUITE 1450
                                                                                   CHICAGO, IL 60611

        State the term remaining      04/07/2015 -04/07/2025
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    STANDARD LEASE AGREEMENT                     WEST CLAYTON GA, LLC
        lease is for and the nature                                                ATTN: STEVEN BENOS
2.756                                                                              900 N MICHIGAN AVE, STE 1450
        of the debtor's interest
                                                                                   CHICAGO, IL 60611


        State the term remaining      04/07/2015 -04/07/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             WESTCHESTER MALL, LLC
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.757                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      07/24/2011 - 01/31/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENTS                             WESTCHESTER MALL, LLC
        lease is for and the nature                                                P.O. BOX 643095
2.758                                                                              PITTSBURGH, PA 15264-3095
        of the debtor's interest


        State the term remaining      07/24/2011 - 01/31/2021
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             WESTERN WORLD INSURANCE COMPANY
        lease is for and the nature   COMMERCIAL LINES POLICY                      300 KIMBALL DR, STE 500
2.759                                                                              PARSIPPANY, NJ 07054
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              WFP RETAIL CO. G.P. CORP
        lease is for and the nature   RETAIL LEASE                                 C/O BROOKFIELD FINANCIAL PROPERTIES, LP
2.760                                                                              ATTN: GENERAL COUNSEL
        of the debtor's interest
                                                                                   250 VESEY ST, 15TH FL
                                                                                   NEW YORK, NY 10281-1023

        State the term remaining      11/01/2014 - 01/31/2024
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              WFP RETAIL CO. L.P.
        lease is for and the nature   RETAIL LEASE                                 C/O BROOKFIELD FINANCIAL PROPERTIES, L.P
2.761                                                                              250 VESEY ST 15TH FLOOR
        of the debtor's interest
                                                                                   NEW YORK, NY 10281-1023


        State the term remaining      11/01/2014 - 01/31/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT                                    WG PARK, L.P.
        lease is for and the nature   THIRD AMENDMENT OF LEASE REDUCTION OF        C/O PREIT-RUBIN, INC
2.762                                 PREMISES AND EXTENSION                       ATTN: GENERAL COUNSEL
        of the debtor's interest
                                                                                   200 S BROAD ST, 3RD FLOOR
                                                                                   PHILADELPHIA, PA 19102

        State the term remaining      09/19/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              WHITE PROVISION REDEVELOPMENT, L.P.
        lease is for and the nature   RETAIL LEASE                                 ALYSSA MCKENNA
2.763                                                                              1168 HOWELL MILL RD
        of the debtor's interest
                                                                                   ATLANTA, GA 30318


        State the term remaining      05/26/2013 - 01/31/2023
        List the contract number of
        any government contract


        State what the contract or    RENEWAL                                      WILLIAM F. WALLACE
        lease is for and the nature   LEASE                                        C/O MR WILLIAM F WALLACE
2.764                                                                              170 MASON ST
        of the debtor's interest
                                                                                   GREENWICH, CT 06830


        State the term remaining      04/11/2014 - 01/31/2025
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              WMACH LLC
        lease is for and the nature                                                C/O MS MANAGEMENT ASSOCIATES INC
2.765                                                                              225 WEST WASHINGTON ST
        of the debtor's interest
                                                                                   INDIANAPOLIS, IN 46204-3438


        State the term remaining      12/12/2012 - 12/12/2022
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                              WMACH LLC
        lease is for and the nature                                                P.O. BOX 643748
2.766                                                                              PITTSBURGH, PA 15264-3748
        of the debtor's interest


        State the term remaining      12/12/2012 - 12/12/2022
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                             XCEPTANCE SOFTWARE TECHNOLOGIES, INC
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: SARA YOUNG
2.767                                                                              ONE BROADWAY, 14TH FL
        of the debtor's interest
                                                                                   CAMBRIDGE, MA 02142


        State the term remaining      08/28/2019 - 08/28/2020
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT TO STATEMENT OF WORK               XCEPTANCE SOFTWARE TECHNOLOGIES, INC.
        lease is for and the nature                                                ATTN: SARA YOUNG
2.768                                                                              ONE BROADWAY
        of the debtor's interest
                                                                                   14TH FL
                                                                                   CAMBRIDGE, MA 02142

        State the term remaining      09/22/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                             XCEPTANCE SOFTWARE TECHNOLOGIES, INC.
        lease is for and the nature   PROFESSIONAL SERVICES AGREEMENT              ATTN: SARA YOUNG
2.769                                                                              ONE BROADWAY
        of the debtor's interest
                                                                                   14TH FL
                                                                                   CAMBRIDGE, MA 02142

        State the term remaining      08/28/2019 - 08/28/2020
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                            XCEPTANCE, INC.
        lease is for and the nature                                                1 BROADWAY, 14TH FL
2.770                                                                              CAMBRIDGE, MA 02142
        of the debtor's interest


        State the term remaining      08/21/2019 - N/A
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT AMENDMENT                    YORKDALE SHOPPING CENTRE HOLDINGS INC.
        lease is for and the nature                                                ATTN: REAL ESTATE MANAGEMENT LEGAL SERVICES
2.771                                                                              ROYAL BANK PLAZA, NORTH TOWER
        of the debtor's interest
                                                                                   200 BAY ST, SUITE 900
                                                                                   TORONTO, ON M5J 2J2
                                                                                   CANADA
        State the term remaining      11/04/2011 -01/31/2022
        List the contract number of
        any government contract


        State what the contract or    SEPARATION AGREEMENT AND GENERAL RELEASE YU-YAN FAN
        lease is for and the nature                                            ADDRESS REDACTED
2.772
        of the debtor's interest


        State the term remaining      7/25/2019
        List the contract number of
        any government contract


        State what the contract or    AMENDMENT                                    ZEBRA REATAIL SOLUTIONS, LLC
        lease is for and the nature   AMENDMENT NO. 2 TO GOODS AND PROFESSIONAL    ONE ZEBRA PLAZA
2.773                                 SERVICES AGREEMENT                           HOLTSVILLE, NY 11742-1300
        of the debtor's interest


        State the term remaining      04/28/2014 - 04/28/2022
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    AMENDMENT                                    ZOOM VIDEO COMMUNICATIONS, INC
        lease is for and the nature   AMENDMENT TO ZOOM MASTER SUBSCRIPTION        55 ALMADEN BLVD
2.774                                 AGREEMENT BETWEEN J. CREW GROUP, INC. AND    6TH FLOOR
        of the debtor's interest
                                      ZOOM VIDEO COMMUNICATIONS, INC.              SAN JOSE, CA


        State the term remaining      08/05/2019 - 07/31/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             ZURICH AMERICAN INSURANCE COMPANY
        lease is for and the nature   THE ZURICH EDGE GLOBAL POLICY                1299 ZURICH WAY
2.775                                                                              SCHAUMBURG, IL 60196-1056
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             ZURICH AMERICAN INSURANCE COMPANY
        lease is for and the nature   FOLLOWING FORM EXCESS LIABILITY POLICY       1299 ZURICH WAY
2.776                                 DECLARATIONS                                 SCHAUMBURG, IL 60196-1056
        of the debtor's interest


        State the term remaining      12/18/2019 - 12/18/2020
        List the contract number of
        any government contract


        State what the contract or    INSURANCE POLICY                             ZURICH INSURANCE COMPANY LTD
        lease is for and the nature   ZURICH DOMESTIC PROPERTY PLACEMENT
2.777
        of the debtor's interest


        State the term remaining      06/18/2019 - 06/18/2020
        List the contract number of
        any government contract




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United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):             20-32185


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any codebtors?
        No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes.
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                         Column 2: Creditor

      Name                     Mailing Address                                                   Name                                  Check all schedules
                                                                                                                                       that apply
2.1     CHINOS HOLDINGS, INC.         ATTN: JEREMY BROOKS                                      Avalon North, LLC                                  D
                                      225 LIBERTY ST, 17TH FL
                                                                                                                                                  E/F
                                      NEW YORK, NY 10281
                                                                                                                                                  G



2.2     CHINOS HOLDINGS, INC.         ATTN: JEREMY BROOKS                                      Deloitte Tax LLP                                   D
                                      225 LIBERTY ST, 17TH FL
                                      NEW YORK, NY 10281
                                                                                                                                                  E/F
                                                                                                                                                  G



2.3     CHINOS HOLDINGS, INC.         ATTN: JEREMY BROOKS                                      Deloitte Tax LLP                                   D
                                      225 LIBERTY ST, 17TH FL
                                                                                                                                                  E/F
                                      NEW YORK, NY 10281
                                                                                                                                                  G



2.4     CHINOS HOLDINGS, INC.         ATTN: JEREMY BROOKS                                      North 6th St Realty, LLC                           D
                                      225 LIBERTY ST, 17TH FL
                                      NEW YORK, NY 10281
                                                                                                                                                  E/F
                                                                                                                                                  G



2.5     CHINOS INTERMEDIATE                                                                    Bank of America, NA                                D
        HOLDINGS B, INC.
                                                                                                                                                  E/F
                                                                                                                                                  G




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      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      Column 1: Codebtor                                                             Column 2: Creditor
      Name                   Mailing Address                                           Name                                     Check all schedules
                                                                                                                                that apply
2.6       CHINOS INTERMEDIATE                                                          Wilmington Savings Fund Society, FSB            D
          HOLDINGS B, INC.
                                                                                                                                       E/F
                                                                                                                                       G



2.7       GRACE HOLMES, INC.                                                           100 Galleria Officentre                         D
                                                                                                                                       E/F
                                                                                                                                       G



2.8       GRACE HOLMES, INC.                                                           145 Main Street Corp                            D
                                                                                                                                       E/F
                                                                                                                                       G



2.9       GRACE HOLMES, INC.                                                           16 Newtown Lane, LLC                            D
                                                                                                                                       E/F
                                                                                                                                       G



2.10      GRACE HOLMES, INC.                                                           16 Newtown Lane, LLC                            D
                                                                                                                                       E/F
                                                                                                                                       G



2.11      GRACE HOLMES, INC.                                                           1618 14th Street NW, LLC                        D
                                                                                                                                       E/F
                                                                                                                                       G



2.12      GRACE HOLMES, INC.                                                           264 King Street LLC                             D
                                                                                                                                       E/F
                                                                                                                                       G



2.13      GRACE HOLMES, INC.                                                           50 Hudson LLC                                   D
                                                                                                                                       E/F
                                                                                                                                       G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                     Check all schedules
                                                                                                                             that apply
2.14   GRACE HOLMES, INC.                                                           60 Graham LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.15   GRACE HOLMES, INC.                                                           900 North Michigan, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.16   GRACE HOLMES, INC.                                                           900 North Michigan, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.17   GRACE HOLMES, INC.                                                           91 Fifth Avenue Corp.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.18   GRACE HOLMES, INC.                                                           939 North Avenue Collection, LLC                D
                                                                                                                                    E/F
                                                                                                                                    G



2.19   GRACE HOLMES, INC.                                                           AF Gilmore Company                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.20   GRACE HOLMES, INC.                                                           AG Georgetown Park Holdings I, L.L.C            D
                                                                                                                                    E/F
                                                                                                                                    G



2.21   GRACE HOLMES, INC.                                                           AG Georgetown Park Holdings I, L.L.C            D
                                                                                                                                    E/F
                                                                                                                                    G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                        Check all schedules
                                                                                                                                that apply
2.22   GRACE HOLMES, INC.                                                           AG Georgetown Park Holdings I, L.L.C               D
                                                                                                                                       E/F
                                                                                                                                       G



2.23   GRACE HOLMES, INC.                                                           Argo Management Company, L.P.                      D
                                                                                                                                       E/F
                                                                                                                                       G



2.24   GRACE HOLMES, INC.                                                           Argo Partnership, L.P.                             D
                                                                                                                                       E/F
                                                                                                                                       G



2.25   GRACE HOLMES, INC.                                                           Arista Real Estate Holdings, Inc                   D
                                                                                                                                       E/F
                                                                                                                                       G



2.26   GRACE HOLMES, INC.                                                           Atrium Associates Joint Venture                    D
                                                                                                                                       E/F
                                                                                                                                       G



2.27   GRACE HOLMES, INC.                                                           Aventura Mall Venture                              D
                                                                                                                                       E/F
                                                                                                                                       G



2.28   GRACE HOLMES, INC.                                                           Baltimore Center Associates Limited                D
                                                                                    Partnership                                        E/F
                                                                                                                                       G



2.29   GRACE HOLMES, INC.                                                           Baltimore Center, Inc.                             D
                                                                                                                                       E/F
                                                                                                                                       G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                     Check all schedules
                                                                                                                             that apply
2.30   GRACE HOLMES, INC.                                                           Bank of America, NA                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.31   GRACE HOLMES, INC.                                                           BDL Prince Manager Corp                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.32   GRACE HOLMES, INC.                                                           BDL Prince, LLC                                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.33   GRACE HOLMES, INC.                                                           BDL Prince, LLC                                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.34   GRACE HOLMES, INC.                                                           BDL Prince, LLC                                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.35   GRACE HOLMES, INC.                                                           Beachwood Place Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.36   GRACE HOLMES, INC.                                                           Beachwood Place, Inc.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.37   GRACE HOLMES, INC.                                                           Bellevue Square Managers, Inc.                  D
                                                                                                                                    E/F
                                                                                                                                    G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                      Check all schedules
                                                                                                                              that apply
2.38   GRACE HOLMES, INC.                                                           Braintree Property Associates Limited           D
                                                                                    Partnership                                     E/F
                                                                                                                                    G



2.39   GRACE HOLMES, INC.                                                           Braintree Property Associates Limited           D
                                                                                    Partnership                                     E/F
                                                                                                                                    G



2.40   GRACE HOLMES, INC.                                                           Braintree Property Associates Limited           D
                                                                                    Partnership                                     E/F
                                                                                                                                    G



2.41   GRACE HOLMES, INC.                                                           Brinton Land Development Associates,            D
                                                                                    LP                                              E/F
                                                                                                                                    G



2.42   GRACE HOLMES, INC.                                                           Broughton Street Partners Company LLC           D
                                                                                                                                    E/F
                                                                                                                                    G



2.43   GRACE HOLMES, INC.                                                           C.J. Segerstrom & Sons                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.44   GRACE HOLMES, INC.                                                           C.J. Segerstrom & Sons                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.45   GRACE HOLMES, INC.                                                           Cambridgeside Galleria Associates Trust         D
                                                                                                                                    E/F
                                                                                                                                    G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                       Check all schedules
                                                                                                                               that apply
2.46   GRACE HOLMES, INC.                                                           Cambridgeside Galleria Associates Trust          D
                                                                                                                                     E/F
                                                                                                                                     G



2.47   GRACE HOLMES, INC.                                                           Charles Mall Company Limited                     D
                                                                                    Partnership                                      E/F
                                                                                                                                     G



2.48   GRACE HOLMES, INC.                                                           Charlottesville Fashion Square, LLC              D
                                                                                                                                     E/F
                                                                                                                                     G



2.49   GRACE HOLMES, INC.                                                           Chestnut Hill Atrium Limited Partnership         D
                                                                                                                                     E/F
                                                                                                                                     G



2.50   GRACE HOLMES, INC.                                                           Chicago Title and Trust Company                  D
                                                                                                                                     E/F
                                                                                                                                     G



2.51   GRACE HOLMES, INC.                                                           Concordia Funding, LLC                           D
                                                                                                                                     E/F
                                                                                                                                     G



2.52   GRACE HOLMES, INC.                                                           Concordia Properties, LLC                        D
                                                                                                                                     E/F
                                                                                                                                     G



2.53   GRACE HOLMES, INC.                                                           Copley Place Associates Nominee                  D
                                                                                    Corporation                                      E/F
                                                                                                                                     G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                     Check all schedules
                                                                                                                             that apply
2.54   GRACE HOLMES, INC.                                                           Copley Place Associates, LLC                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.55   GRACE HOLMES, INC.                                                           Copley Place Associates, LLC                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.56   GRACE HOLMES, INC.                                                           Copley Place Associates, LLC                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.57   GRACE HOLMES, INC.                                                           Copley Place Associates, LLC                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.58   GRACE HOLMES, INC.                                                           CPI-Braintree Corporation                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.59   GRACE HOLMES, INC.                                                           CPI-Braintree Corporation                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.60   GRACE HOLMES, INC.                                                           CPI-Braintree Corporation                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.61   GRACE HOLMES, INC.                                                           Crewcuts                                        D
                                                                                                                                    E/F
                                                                                                                                    G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                       Check all schedules
                                                                                                                               that apply
2.62   GRACE HOLMES, INC.                                                           Del Amo Fashion Center Holding                    D
                                                                                    Company, L.L.C.                                   E/F
                                                                                                                                      G



2.63   GRACE HOLMES, INC.                                                           Del Amo Fashion Center Operating                  D
                                                                                    Company, L.L.C.                                   E/F
                                                                                                                                      G



2.64   GRACE HOLMES, INC.                                                           Del Amo Mills, LLC                                D
                                                                                                                                      E/F
                                                                                                                                      G



2.65   GRACE HOLMES, INC.                                                           Delaware Southdale Limited Partnership            D
                                                                                                                                      E/F
                                                                                                                                      G



2.66   GRACE HOLMES, INC.                                                           Eastview Mall, LLC                                D
                                                                                                                                      E/F
                                                                                                                                      G



2.67   GRACE HOLMES, INC.                                                           Edgehill Village Investors, LLC                   D
                                                                                                                                      E/F
                                                                                                                                      G



2.68   GRACE HOLMES, INC.                                                           Edgehill Village Investors, LLC                   D
                                                                                                                                      E/F
                                                                                                                                      G



2.69   GRACE HOLMES, INC.                                                           Edgehill Village Managing Member, LLC             D
                                                                                                                                      E/F
                                                                                                                                      G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                      Check all schedules
                                                                                                                              that apply
2.70   GRACE HOLMES, INC.                                                           Equitable Real Estate Investment                 D
                                                                                    Management, Inc.                                 E/F
                                                                                                                                     G



2.71   GRACE HOLMES, INC.                                                           Fashion Centre Associates, LLC                   D
                                                                                                                                     E/F
                                                                                                                                     G



2.72   GRACE HOLMES, INC.                                                           Fashion Centre Associates, LLC                   D
                                                                                                                                     E/F
                                                                                                                                     G



2.73   GRACE HOLMES, INC.                                                           Fashion Valley Mall, LLC                         D
                                                                                                                                     E/F
                                                                                                                                     G



2.74   GRACE HOLMES, INC.                                                           Fashion Valley Mall, LLC                         D
                                                                                                                                     E/F
                                                                                                                                     G



2.75   GRACE HOLMES, INC.                                                           Fashion Valley Mall, LLC                         D
                                                                                                                                     E/F
                                                                                                                                     G



2.76   GRACE HOLMES, INC.                                                           Fashion Valley Shopping Center                   D
                                                                                                                                     E/F
                                                                                                                                     G



2.77   GRACE HOLMES, INC.                                                           Four Stars Realty Co., LLC                       D
                                                                                                                                     E/F
                                                                                                                                     G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                      Check all schedules
                                                                                                                              that apply
2.78   GRACE HOLMES, INC.                                                           Frankel/Forbes-Cohen Associates                  D
                                                                                                                                     E/F
                                                                                                                                     G



2.79   GRACE HOLMES, INC.                                                           Franklin Park Mall Limited Partnership           D
                                                                                                                                     E/F
                                                                                                                                     G



2.80   GRACE HOLMES, INC.                                                           Franklin Park Mall Limited Partnership           D
                                                                                                                                     E/F
                                                                                                                                     G



2.81   GRACE HOLMES, INC.                                                           Galleria Retail I, LLC                           D
                                                                                                                                     E/F
                                                                                                                                     G



2.82   GRACE HOLMES, INC.                                                           Georgetown Park Associates, Inc.                 D
                                                                                                                                     E/F
                                                                                                                                     G



2.83   GRACE HOLMES, INC.                                                           GFM, LLC                                         D
                                                                                                                                     E/F
                                                                                                                                     G



2.84   GRACE HOLMES, INC.                                                           GFM, LLC                                         D
                                                                                                                                     E/F
                                                                                                                                     G



2.85   GRACE HOLMES, INC.                                                           Glimcher Properties Corporation                  D
                                                                                                                                     E/F
                                                                                                                                     G




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   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                      Check all schedules
                                                                                                                              that apply
2.86   GRACE HOLMES, INC.                                                           Glimcher Properties Limited Partnership          D
                                                                                                                                     E/F
                                                                                                                                     G



2.87   GRACE HOLMES, INC.                                                           Goulston & Storrs, PC                            D
                                                                                                                                     E/F
                                                                                                                                     G



2.88   GRACE HOLMES, INC.                                                           Grand Place LLC                                  D
                                                                                                                                     E/F
                                                                                                                                     G



2.89   GRACE HOLMES, INC.                                                           H&S Properties Development Corp                  D
                                                                                                                                     E/F
                                                                                                                                     G



2.90   GRACE HOLMES, INC.                                                           H.G. Managers, LLC                               D
                                                                                                                                     E/F
                                                                                                                                     G



2.91   GRACE HOLMES, INC.                                                           Hahn Park Meadows Mall, Inc.                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.92   GRACE HOLMES, INC.                                                           Hahn Property Management Corporation             D
                                                                                                                                     E/F
                                                                                                                                     G



2.93   GRACE HOLMES, INC.                                                           Harbor East Parcel D-Holdings, LLC               D
                                                                                                                                     E/F
                                                                                                                                     G




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   Name                     Mailing Address                                         Name                                        Check all schedules
                                                                                                                                that apply
2.94    GRACE HOLMES, INC.                                                          Harbor East Parcel D-Investors, LLC                D
                                                                                                                                       E/F
                                                                                                                                       G



2.95    GRACE HOLMES, INC.                                                          Harbor East Parcel D-Partners, LLC                 D
                                                                                                                                       E/F
                                                                                                                                       G



2.96    GRACE HOLMES, INC.                                                          Harbor East Parcel D-Retail 2, LLC                 D
                                                                                                                                       E/F
                                                                                                                                       G



2.97    GRACE HOLMES, INC.                                                          Harbor East Parcel D-Retail 2, LLC                 D
                                                                                                                                       E/F
                                                                                                                                       G



2.98    GRACE HOLMES, INC.                                                          Henry T. Segerstrom Management LLC                 D
                                                                                                                                       E/F
                                                                                                                                       G



2.99    GRACE HOLMES, INC.                                                          Henry T. Segerstrom Management LLC                 D
                                                                                                                                       E/F
                                                                                                                                       G



2.100   GRACE HOLMES, INC.                                                          HG Galleria I, II, III GP, L.P.                    D
                                                                                                                                       E/F
                                                                                                                                       G



2.101   GRACE HOLMES, INC.                                                          HG Galleria I, II, III, L.P.                       D
                                                                                                                                       E/F
                                                                                                                                       G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.102   GRACE HOLMES, INC.                                                         HG Galleria, LLC                                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.103   GRACE HOLMES, INC.                                                         HG Member, LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.104   GRACE HOLMES, INC.                                                         Highwoods Properties, Inc                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.105   GRACE HOLMES, INC.                                                         Highwoods Properties, Inc                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.106   GRACE HOLMES, INC.                                                         Highwoods Realty Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.107   GRACE HOLMES, INC.                                                         Hotel Corporation of America                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.108   GRACE HOLMES, INC.                                                         HRC Corporation                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.109   GRACE HOLMES, INC.                                                         HTS Management Co., Inc.                         D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.110   GRACE HOLMES, INC.                                                         HTS Management Co., Inc.                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.111   GRACE HOLMES, INC.                                                         Jamestown PCM Master Tenant, L.P.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.112   GRACE HOLMES, INC.                                                         Jamestown PCM Master Tenant, L.P.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.113   GRACE HOLMES, INC.                                                         Jamestown US Properties Corp                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.114   GRACE HOLMES, INC.                                                         Jamestown Warehouse Row, L.P.                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.115   GRACE HOLMES, INC.                                                         JT PCM GP, L.P.                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.116   GRACE HOLMES, INC.                                                         JT PCM GP, L.P.                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.117   GRACE HOLMES, INC.                                                         JT Ponce City Market GP, LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.118   GRACE HOLMES, INC.                                                         JT Ponce City Market GP, LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.119   GRACE HOLMES, INC.                                                         JT Warehouse Row, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.120   GRACE HOLMES, INC.                                                         Karp Atrium, Inc.                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.121   GRACE HOLMES, INC.                                                         Keil Sonoma Corporation                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.122   GRACE HOLMES, INC.                                                         Keil Sonoma Corporation                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.123   GRACE HOLMES, INC.                                                         Keil Sonoma Corporation                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.124   GRACE HOLMES, INC.                                                         Ki-Kingmak Associates, L.P.                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.125   GRACE HOLMES, INC.                                                         Ki-Kingmak Associates, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.126   GRACE HOLMES, INC.                                                         King of Prussia Associates                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.127   GRACE HOLMES, INC.                                                         King of Prussia Associates                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.128   GRACE HOLMES, INC.                                                         King of Prussia Associates                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.129   GRACE HOLMES, INC.                                                         Kingmak Associates                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.130   GRACE HOLMES, INC.                                                         Kingmak Associates                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.131   GRACE HOLMES, INC.                                                         L3 STRS GP I, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.132   GRACE HOLMES, INC.                                                         Lasalle Bank National Association                D
                                                                                                                                    E/F
                                                                                                                                    G



2.133   GRACE HOLMES, INC.                                                         Liberty Place Retail Associates, L.P.            D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.134   GRACE HOLMES, INC.                                                         Mayflower Atrium, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.135   GRACE HOLMES, INC.                                                         Mayflower Atrium, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.136   GRACE HOLMES, INC.                                                         Mayflower Cape COD, LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.137   GRACE HOLMES, INC.                                                         Mayflower Realty, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.138   GRACE HOLMES, INC.                                                         McKenzie Laird, PLLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.139   GRACE HOLMES, INC.                                                         Mercer Management L.L.C.                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.140   GRACE HOLMES, INC.                                                         Mercer Manager Corp.                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.141   GRACE HOLMES, INC.                                                         Metropolitan Life Insurance Company              D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.142   GRACE HOLMES, INC.                                                         Mid-America Asset Management, Inc.               D
                                                                                                                                    E/F
                                                                                                                                    G



2.143   GRACE HOLMES, INC.                                                         Mr. James Bieri                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.144   GRACE HOLMES, INC.                                                         New York State Teachers Retirement               D
                                                                                   System                                           E/F
                                                                                                                                    G



2.145   GRACE HOLMES, INC.                                                         NorthPark GP, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.146   GRACE HOLMES, INC.                                                         NorthPark GP, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.147   GRACE HOLMES, INC.                                                         NorthPark GP, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.148   GRACE HOLMES, INC.                                                         NorthPark Land GP, Inc.                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.149   GRACE HOLMES, INC.                                                         NorthPark Partners LP                            D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.150   GRACE HOLMES, INC.                                                         NorthPark Partners, LP                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.151   GRACE HOLMES, INC.                                                         NorthPark Partners, LP                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.152   GRACE HOLMES, INC.                                                         NorthPark Partners, LP                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.153   GRACE HOLMES, INC.                                                         NorthPark Partners, LP                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.154   GRACE HOLMES, INC.                                                         NorthPark Partners, LP                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.155   GRACE HOLMES, INC.                                                         Northpark Partners, LP                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.156   GRACE HOLMES, INC.                                                         O'Connor Capital Incorporated                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.157   GRACE HOLMES, INC.                                                         O'Connor Capital Partners, L.P.                  D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.158   GRACE HOLMES, INC.                                                         One Colorado Associates                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.159   GRACE HOLMES, INC.                                                         One Colorado Investments LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.160   GRACE HOLMES, INC.                                                         One Colorado Investments LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.161   GRACE HOLMES, INC.                                                         One Colorado Investments LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.162   GRACE HOLMES, INC.                                                         One Colorado Investments LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.163   GRACE HOLMES, INC.                                                         One Colorado Management Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.164   GRACE HOLMES, INC.                                                         One Colorado Management Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.165   GRACE HOLMES, INC.                                                         One Colorado Management Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.166   GRACE HOLMES, INC.                                                         One Colorado Management Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.167   GRACE HOLMES, INC.                                                         Park Meadows Mall, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.168   GRACE HOLMES, INC.                                                         Parker Poe Adams & Bernstein                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.169   GRACE HOLMES, INC.                                                         Pentagon Associates, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.170   GRACE HOLMES, INC.                                                         Pentagon City Associates                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.171   GRACE HOLMES, INC.                                                         Pentagon City Shopping Center                    D
                                                                                   Company Limited Partnership                      E/F
                                                                                                                                    G



2.172   GRACE HOLMES, INC.                                                         Perimeter Mall Management Corporation            D
                                                                                                                                    E/F
                                                                                                                                    G



2.173   GRACE HOLMES, INC.                                                         Perimeter Mall, Inc.                             D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                         Check all schedules
                                                                                                                                that apply
2.174   GRACE HOLMES, INC.                                                         PES Partners, LLC                                   D
                                                                                                                                       E/F
                                                                                                                                       G



2.175   GRACE HOLMES, INC.                                                         Petra Properties LLC                                D
                                                                                                                                       E/F
                                                                                                                                       G



2.176   GRACE HOLMES, INC.                                                         PFP Columbus II, LLC                                D
                                                                                                                                       E/F
                                                                                                                                       G



2.177   GRACE HOLMES, INC.                                                         PFP Columbus, LLC                                   D
                                                                                                                                       E/F
                                                                                                                                       G



2.178   GRACE HOLMES, INC.                                                         PFP Columbus, LLC                                   D
                                                                                                                                       E/F
                                                                                                                                       G



2.179   GRACE HOLMES, INC.                                                         Philadelphia Liberty Place, Inc.                    D
                                                                                                                                       E/F
                                                                                                                                       G



2.180   GRACE HOLMES, INC.                                                         Pioneer Place Limited Partnership                   D
                                                                                                                                       E/F
                                                                                                                                       G



2.181   GRACE HOLMES, INC.                                                         Polaris Fashion Place REIT, LLC                     D
                                                                                                                                       E/F
                                                                                                                                       G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                       Check all schedules
                                                                                                                              that apply
2.182   GRACE HOLMES, INC.                                                         Polaris Mall, LLC                                 D
                                                                                                                                     E/F
                                                                                                                                     G



2.183   GRACE HOLMES, INC.                                                         PP 301 W Broughton LLC                            D
                                                                                                                                     E/F
                                                                                                                                     G



2.184   GRACE HOLMES, INC.                                                         Preit Services, LLC                               D
                                                                                                                                     E/F
                                                                                                                                     G



2.185   GRACE HOLMES, INC.                                                         Presidential Investors Limited                    D
                                                                                   Partnership LLLP                                  E/F
                                                                                                                                     G



2.186   GRACE HOLMES, INC.                                                         Principal Real Estate Investors, LLC              D
                                                                                                                                     E/F
                                                                                                                                     G



2.187   GRACE HOLMES, INC.                                                         RCPI Landmark Properties, LLC                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.188   GRACE HOLMES, INC.                                                         Riverside Square Limited Partnership              D
                                                                                                                                     E/F
                                                                                                                                     G



2.189   GRACE HOLMES, INC.                                                         Riverside Square Limited Partnership              D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.190   GRACE HOLMES, INC.                                                         Riverside Square Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.191   GRACE HOLMES, INC.                                                         Riverside Square Operating Company               D
                                                                                                                                    E/F
                                                                                                                                    G



2.192   GRACE HOLMES, INC.                                                         Riverside Square Operating Company,              D
                                                                                   L.L.C.                                           E/F
                                                                                                                                    G



2.193   GRACE HOLMES, INC.                                                         Rosecrans-Sepulveda Partners 3, LLC              D
                                                                                                                                    E/F
                                                                                                                                    G



2.194   GRACE HOLMES, INC.                                                         Rouse Property Management, Inc.                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.195   GRACE HOLMES, INC.                                                         Rouse-Portland, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.196   GRACE HOLMES, INC.                                                         SDA Santa Fe Limited Partnership                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.197   GRACE HOLMES, INC.                                                         SDG Aventura Limited Partnership                 D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.198   GRACE HOLMES, INC.                                                         SDG Fashion Mall Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.199   GRACE HOLMES, INC.                                                         SDG Fashion Mall Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.200   GRACE HOLMES, INC.                                                         SDG Fashion Mall, Inc.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.201   GRACE HOLMES, INC.                                                         SDG Fashion Mall, Inc.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.202   GRACE HOLMES, INC.                                                         SDG Properties VIII, Inc.                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.203   GRACE HOLMES, INC.                                                         Shopping Center Associates                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.204   GRACE HOLMES, INC.                                                         Shopping Center Associates                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.205   GRACE HOLMES, INC.                                                         Shops at Saddle Creek, Inc                       D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                       Check all schedules
                                                                                                                              that apply
2.206   GRACE HOLMES, INC.                                                         Shops at Saddle Creek, Inc                        D
                                                                                                                                     E/F
                                                                                                                                     G



2.207   GRACE HOLMES, INC.                                                         Short Hills Associates, L.L.C.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.208   GRACE HOLMES, INC.                                                         Short Hills Associates, L.L.C.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.209   GRACE HOLMES, INC.                                                         Short Hills Associates, L.L.C.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.210   GRACE HOLMES, INC.                                                         Short Hills Associates, L.L.C.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.211   GRACE HOLMES, INC.                                                         Simon Property Group (Delaware), Inc.             D
                                                                                                                                     E/F
                                                                                                                                     G



2.212   GRACE HOLMES, INC.                                                         Simon Property Group, Inc                         D
                                                                                                                                     E/F
                                                                                                                                     G



2.213   GRACE HOLMES, INC.                                                         Simon Property Group, Inc.                        D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.214   GRACE HOLMES, INC.                                                         Simon Property Group, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.215   GRACE HOLMES, INC.                                                         Simon Property Group, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.216   GRACE HOLMES, INC.                                                         Simon Property Group, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.217   GRACE HOLMES, INC.                                                         Simon Property Group, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.218   GRACE HOLMES, INC.                                                         Simon Property Group, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.219   GRACE HOLMES, INC.                                                         Simon Property Group, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.220   GRACE HOLMES, INC.                                                         Simon Property Group, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.221   GRACE HOLMES, INC.                                                         Simon Property Group, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.222   GRACE HOLMES, INC.                                                         Simon Property Group, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.223   GRACE HOLMES, INC.                                                         Simon Property Group, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.224   GRACE HOLMES, INC.                                                         Simon Property Group, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.225   GRACE HOLMES, INC.                                                         Simon Property Group, LP                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.226   GRACE HOLMES, INC.                                                         Simon-Mills III, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.227   GRACE HOLMES, INC.                                                         Somerset Collection GP, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.228   GRACE HOLMES, INC.                                                         Somerset Collection Limited Partnership          D
                                                                                                                                    E/F
                                                                                                                                    G



2.229   GRACE HOLMES, INC.                                                         South Coast Plaza                                D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.230   GRACE HOLMES, INC.                                                         South Coast Plaza                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.231   GRACE HOLMES, INC.                                                         South Coast Plaza                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.232   GRACE HOLMES, INC.                                                         Southdale Center, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.233   GRACE HOLMES, INC.                                                         Southdale Center, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.234   GRACE HOLMES, INC.                                                         Southdale Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.235   GRACE HOLMES, INC.                                                         Southdale Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.236   GRACE HOLMES, INC.                                                         Southdale Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.237   GRACE HOLMES, INC.                                                         Southdale, L.L.C.                                D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.238   GRACE HOLMES, INC.                                                         Southdale, L.L.C.                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.239   GRACE HOLMES, INC.                                                         Southdale, L.L.C.                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.240   GRACE HOLMES, INC.                                                         Southpark Mall Limited Partnership               D
                                                                                                                                    E/F
                                                                                                                                    G



2.241   GRACE HOLMES, INC.                                                         Southpark Mall Limited Partnership               D
                                                                                                                                    E/F
                                                                                                                                    G



2.242   GRACE HOLMES, INC.                                                         Southpark Mall Limited Partnership               D
                                                                                                                                    E/F
                                                                                                                                    G



2.243   GRACE HOLMES, INC.                                                         Southpark Mall Limited Partnership               D
                                                                                                                                    E/F
                                                                                                                                    G



2.244   GRACE HOLMES, INC.                                                         Southpark Mall Limited Partnership               D
                                                                                                                                    E/F
                                                                                                                                    G



2.245   GRACE HOLMES, INC.                                                         SPG Center, LLC                                  D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.246   GRACE HOLMES, INC.                                                         SPG Center, LLC                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.247   GRACE HOLMES, INC.                                                         SPG Center, LLC                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.248   GRACE HOLMES, INC.                                                         SPG Copley Associates, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.249   GRACE HOLMES, INC.                                                         SPG Copley Associates, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.250   GRACE HOLMES, INC.                                                         SPG Houston Galleria, LLC                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.251   GRACE HOLMES, INC.                                                         SPG Mayflower, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.252   GRACE HOLMES, INC.                                                         SPG Mayflower, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.253   GRACE HOLMES, INC.                                                         SPG Southpark, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.254   GRACE HOLMES, INC.                                                         SSR Realty Advisors, Inc.                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.255   GRACE HOLMES, INC.                                                         Stratford C. Wallace                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.256   GRACE HOLMES, INC.                                                         Street Retail West 3, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.257   GRACE HOLMES, INC.                                                         Street Retail West 3, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.258   GRACE HOLMES, INC.                                                         STRS L3 ACQ1, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.259   GRACE HOLMES, INC.                                                         STRS L3 ACQ1, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.260   GRACE HOLMES, INC.                                                         STRS L3 Venture I, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.261   GRACE HOLMES, INC.                                                         Tamco, Inc.                                      D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.262   GRACE HOLMES, INC.                                                         Tampa Westshore Associates Limited               D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.263   GRACE HOLMES, INC.                                                         Tampa Westshore Associates Limited               D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.264   GRACE HOLMES, INC.                                                         Taubman Cherry Creek Limited                     D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.265   GRACE HOLMES, INC.                                                         Taubman Cherry Creek Limited                     D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.266   GRACE HOLMES, INC.                                                         Teachers Insurance and Annuity                   D
                                                                                   Association of America                           E/F
                                                                                                                                    G



2.267   GRACE HOLMES, INC.                                                         The Equitable Life Assurance Society of          D
                                                                                   the United States                                E/F
                                                                                                                                    G



2.268   GRACE HOLMES, INC.                                                         The Equitable Life Assurance Society of          D
                                                                                   the United States                                E/F
                                                                                                                                    G



2.269   GRACE HOLMES, INC.                                                         The Mercer I L.L.C.                              D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.270   GRACE HOLMES, INC.                                                         The Mercer I L.L.C.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.271   GRACE HOLMES, INC.                                                         The Mercer I L.L.C.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.272   GRACE HOLMES, INC.                                                         The Mercer I L.L.C.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.273   GRACE HOLMES, INC.                                                         The Mercer I L.L.C.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.274   GRACE HOLMES, INC.                                                         The Mills Corporation                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.275   GRACE HOLMES, INC.                                                         The Mills Corporation                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.276   GRACE HOLMES, INC.                                                         The Mills Corporation                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.277   GRACE HOLMES, INC.                                                         The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.278   GRACE HOLMES, INC.                                                         The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.279   GRACE HOLMES, INC.                                                         The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.280   GRACE HOLMES, INC.                                                         The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.281   GRACE HOLMES, INC.                                                         The Retail Property Trust                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.282   GRACE HOLMES, INC.                                                         The Retail Property Trust                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.283   GRACE HOLMES, INC.                                                         The Soho Hotel Company, L.P.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.284   GRACE HOLMES, INC.                                                         The Town Center at Boca Raton Trust              D
                                                                                                                                    E/F
                                                                                                                                    G



2.285   GRACE HOLMES, INC.                                                         The Town Center at Boca Raton Trust              D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.286   GRACE HOLMES, INC.                                                         The Town Center at Boca Raton Trust              D
                                                                                                                                    E/F
                                                                                                                                    G



2.287   GRACE HOLMES, INC.                                                         The Yarmouth Group Property                      D
                                                                                   Management, Inc.                                 E/F
                                                                                                                                    G



2.288   GRACE HOLMES, INC.                                                         TMLP GP, LLC                                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.289   GRACE HOLMES, INC.                                                         Trumbull Shopping Center #2 LLC                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.290   GRACE HOLMES, INC.                                                         Turnberry Aventura Mall Company, Ltd.            D
                                                                                                                                    E/F
                                                                                                                                    G



2.291   GRACE HOLMES, INC.                                                         Twelve Oaks Mall, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.292   GRACE HOLMES, INC.                                                         U.W. Galleria, L.P.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.293   GRACE HOLMES, INC.                                                         UC Houston Galleria Managers, LLC                D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.294   GRACE HOLMES, INC.                                                         VNO GT Manager LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.295   GRACE HOLMES, INC.                                                         Vornado Realty L.P.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.296   GRACE HOLMES, INC.                                                         Vornado Realty Trust                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.297   GRACE HOLMES, INC.                                                         W/S/M Hingham Properties LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.298   GRACE HOLMES, INC.                                                         W/S/M Hingham Properties LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.299   GRACE HOLMES, INC.                                                         Wachovia Bank, National Association              D
                                                                                                                                    E/F
                                                                                                                                    G



2.300   GRACE HOLMES, INC.                                                         Washington Prime Group, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.301   GRACE HOLMES, INC.                                                         Washington Prime Group, L.P.                     D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.302   GRACE HOLMES, INC.                                                         West Farms Mall, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.303   GRACE HOLMES, INC.                                                         Westland Garden State Plaza Limited              D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.304   GRACE HOLMES, INC.                                                         WFP Retail Co GP Corp                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.305   GRACE HOLMES, INC.                                                         WFP Retail Co LP                                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.306   GRACE HOLMES, INC.                                                         WG Park, LP                                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.307   GRACE HOLMES, INC.                                                         White Provision Redevelopment, LP                D
                                                                                                                                    E/F
                                                                                                                                    G



2.308   GRACE HOLMES, INC.                                                         William F. Wallace                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.309   GRACE HOLMES, INC.                                                         Wilmington Savings Fund Society, FSB             D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                         Mailing Address                                     Name                                      Check all schedules
                                                                                                                             that apply
2.310   GRACE HOLMES, INC.                                                         Woodfield Mall LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.311   GRACE HOLMES, INC.                                                         Yarmouth Lend Lease KOP, Inc.                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.312   GRACE HOLMES, INC.                                                         Yarmouth Lend Lease Kop, Inc.                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.313   H. F. D. NO. 55 INC.                                                       Bank of America, NA                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.314   H. F. D. NO. 55 INC.                                                       Wilmington Savings Fund Society, FSB             D
                                                                                                                                    E/F
                                                                                                                                    G



2.315   H.F.D. NO. 55, INC.                                                        AAT Alamo Quarry, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.316   H.F.D. NO. 55, INC.                                                        AAT Alamo Quarry, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.317   H.F.D. NO. 55, INC.                                                        Alamo Quarry Market                              D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.318   H.F.D. NO. 55, INC.                                                        Ambassador Crossing LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.319   H.F.D. NO. 55, INC.                                                        Andrew D. Ellis, Esq                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.320   H.F.D. NO. 55, INC.                                                        Anthem CRG Partners, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.321   H.F.D. NO. 55, INC.                                                        Arundel Mills Limited L.L.C.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.322   H.F.D. NO. 55, INC.                                                        Arundel Mills Limited Partnership                D
                                                                                                                                    E/F
                                                                                                                                    G



2.323   H.F.D. NO. 55, INC.                                                        Arundel Mills Mezzanine GP, L.L.C.               D
                                                                                                                                    E/F
                                                                                                                                    G



2.324   H.F.D. NO. 55, INC.                                                        Arundel Mills Mezzanine Limited                  D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.325   H.F.D. NO. 55, INC.                                                        Bayer Properties LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.326   H.F.D. NO. 55, INC.                                                        Bayer Properties LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.327   H.F.D. NO. 55, INC.                                                        BDG Asset Management, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.328   H.F.D. NO. 55, INC.                                                        BDG Asset Management, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.329   H.F.D. NO. 55, INC.                                                        BDG Deer Park Associates, LLC                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.330   H.F.D. NO. 55, INC.                                                        BDG Deer Park Associates, LLC                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.331   H.F.D. NO. 55, INC.                                                        BF Manager, L.L.C.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.332   H.F.D. NO. 55, INC.                                                        BF Wichita, L.L.C.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.333   H.F.D. NO. 55, INC.                                                        Bloomfield Holdings, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                        Mailing Address                                      Name                                        Check all schedules
                                                                                                                               that apply
2.334   H.F.D. NO. 55, INC.                                                        Bloomfield Holdings, LLC                           D
                                                                                                                                      E/F
                                                                                                                                      G



2.335   H.F.D. NO. 55, INC.                                                        Bloomfield Holdings, LLC                           D
                                                                                                                                      E/F
                                                                                                                                      G



2.336   H.F.D. NO. 55, INC.                                                        Bowman MTP Center LLC                              D
                                                                                                                                      E/F
                                                                                                                                      G



2.337   H.F.D. NO. 55, INC.                                                        Bowman MTP Center LLC                              D
                                                                                                                                      E/F
                                                                                                                                      G



2.338   H.F.D. NO. 55, INC.                                                        Bowman MTP Center LLC                              D
                                                                                                                                      E/F
                                                                                                                                      G



2.339   H.F.D. NO. 55, INC.                                                        Bowman MTP Center LLC                              D
                                                                                                                                      E/F
                                                                                                                                      G



2.340   H.F.D. NO. 55, INC.                                                        c/o Thruway Shopping Center LLC                    D
                                                                                                                                      E/F
                                                                                                                                      G



2.341   H.F.D. NO. 55, INC.                                                        Casto Lifestyle Properties L.P.                    D
                                                                                                                                      E/F
                                                                                                                                      G




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  Name                        Mailing Address                                      Name                                       Check all schedules
                                                                                                                              that apply
2.342   H.F.D. NO. 55, INC.                                                        CBL & Associates Management, Inc.                 D
                                                                                                                                     E/F
                                                                                                                                     G



2.343   H.F.D. NO. 55, INC.                                                        CLP Management LLC                                D
                                                                                                                                     E/F
                                                                                                                                     G



2.344   H.F.D. NO. 55, INC.                                                        CLP-SPF Rookwood Commons, LLC                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.345   H.F.D. NO. 55, INC.                                                        Colorado Mills Limited Partnership                D
                                                                                                                                     E/F
                                                                                                                                     G



2.346   H.F.D. NO. 55, INC.                                                        Colorado Mills Mall GP, L.L.C.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.347   H.F.D. NO. 55, INC.                                                        Colorado Mills Mall Limited Partnership           D
                                                                                                                                     E/F
                                                                                                                                     G



2.348   H.F.D. NO. 55, INC.                                                        Colorado Retail Development Company,              D
                                                                                   L.L.C.                                            E/F
                                                                                                                                     G



2.349   H.F.D. NO. 55, INC.                                                        Columbus Outlets, LLC                             D
                                                                                                                                     E/F
                                                                                                                                     G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.350   H.F.D. NO. 55, INC.                                                        Concord Mills Mall GP, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.351   H.F.D. NO. 55, INC.                                                        Concord Mills Mall Limited Partnership           D
                                                                                                                                    E/F
                                                                                                                                    G



2.352   H.F.D. NO. 55, INC.                                                        Coroc/Hilton Head I L.L.C.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.353   H.F.D. NO. 55, INC.                                                        Coroc/Hilton Head I L.L.C.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.354   H.F.D. NO. 55, INC.                                                        Coroc/Hilton Head I L.L.C.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.355   H.F.D. NO. 55, INC.                                                        Coroc/Hilton Head I L.L.C.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.356   H.F.D. NO. 55, INC.                                                        Coroc/Hilton Head I L.L.C.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.357   H.F.D. NO. 55, INC.                                                        Coroc/Lakes Region L.L.C.                        D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.358   H.F.D. NO. 55, INC.                                                        Coroc/Lakes Region LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.359   H.F.D. NO. 55, INC.                                                        Coroc/Myrtle Beach L.L.C.                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.360   H.F.D. NO. 55, INC.                                                        Coroc/Myrtle Beach LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.361   H.F.D. NO. 55, INC.                                                        Coroc/Park City L.L.C.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.362   H.F.D. NO. 55, INC.                                                        Coroc/Rehoboth III L.L.C.                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.363   H.F.D. NO. 55, INC.                                                        Coroc/Riviera L.L.C.                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.364   H.F.D. NO. 55, INC.                                                        Coroc/Riviera L.L.C.                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.365   H.F.D. NO. 55, INC.                                                        Coroc/Riviera L.L.C.                             D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.366   H.F.D. NO. 55, INC.                                                        Coroc/Westbrook I LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.367   H.F.D. NO. 55, INC.                                                        Coroc/Westbrook I LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.368   H.F.D. NO. 55, INC.                                                        Coroc/Westbrook I LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.369   H.F.D. NO. 55, INC.                                                        Coroc/Westbrook I LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.370   H.F.D. NO. 55, INC.                                                        Coroc/Westbrook I LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.371   H.F.D. NO. 55, INC.                                                        Craig Realty - Traverse Mountain, LLC            D
                                                                                                                                    E/F
                                                                                                                                    G



2.372   H.F.D. NO. 55, INC.                                                        Craig Realty Group                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.373   H.F.D. NO. 55, INC.                                                        Craig Realty Group - Anthem, L.P.                D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                     Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.374   H.F.D. NO. 55, INC.                                                        Craig Realty Group - Castle Rock, LLC            D
                                                                                                                                    E/F
                                                                                                                                    G



2.375   H.F.D. NO. 55, INC.                                                        Craig Realty Group - Castle Rock, LLC            D
                                                                                                                                    E/F
                                                                                                                                    G



2.376   H.F.D. NO. 55, INC.                                                        Craig Realty Group - Silverthorne, LLC           D
                                                                                                                                    E/F
                                                                                                                                    G



2.377   H.F.D. NO. 55, INC.                                                        Craig Realty Group - Silverthorne, LLC           D
                                                                                                                                    E/F
                                                                                                                                    G



2.378   H.F.D. NO. 55, INC.                                                        Craig Realty Group - Silverthorne, LLC           D
                                                                                                                                    E/F
                                                                                                                                    G



2.379   H.F.D. NO. 55, INC.                                                        Craig Realty Group - Woodburn, LLC               D
                                                                                                                                    E/F
                                                                                                                                    G



2.380   H.F.D. NO. 55, INC.                                                        Creditor                                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.381   H.F.D. NO. 55, INC.                                                        Crestview Hills Town Center, LLC                 D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.382   H.F.D. NO. 55, INC.                                                        Daniel Management Corporation                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.383   H.F.D. NO. 55, INC.                                                        Deer Park Enterprises, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.384   H.F.D. NO. 55, INC.                                                        Deer Park Enterprises, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.385   H.F.D. NO. 55, INC.                                                        Dinsmore & Shohl, LLP                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.386   H.F.D. NO. 55, INC.                                                        Dismore & Shohl LLP                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.387   H.F.D. NO. 55, INC.                                                        DPSW Deer Park, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.388   H.F.D. NO. 55, INC.                                                        DPSW Deer Park, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.389   H.F.D. NO. 55, INC.                                                        Duke Realty Corporation                          D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.390   H.F.D. NO. 55, INC.                                                        Duke Realty Limited Partnership                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.391   H.F.D. NO. 55, INC.                                                        Edens GP, LLC                                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.392   H.F.D. NO. 55, INC.                                                        Edens Limited Partnership                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.393   H.F.D. NO. 55, INC.                                                        Educational Realty OP GP, Inc.                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.394   H.F.D. NO. 55, INC.                                                        Educational Realty Operating                     D
                                                                                   Partnership, LP                                  E/F
                                                                                                                                    G



2.395   H.F.D. NO. 55, INC.                                                        Eureka Realty Partners, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.396   H.F.D. NO. 55, INC.                                                        Eureka Realty Partners, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.397   H.F.D. NO. 55, INC.                                                        Eureka Realty Partners, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.398   H.F.D. NO. 55, INC.                                                        Eureka Realty Partners, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.399   H.F.D. NO. 55, INC.                                                        Eureka Realty Partners, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.400   H.F.D. NO. 55, INC.                                                        Eureka Realty Partners, Inc.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.401   H.F.D. NO. 55, INC.                                                        Fashion Outlets at Foxwoods, LLC                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.402   H.F.D. NO. 55, INC.                                                        Fashion Outlets at Traverse Mountain,            D
                                                                                   LLC                                              E/F
                                                                                                                                    G



2.403   H.F.D. NO. 55, INC.                                                        Fashion Outlets of Niagara LLC                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.404   H.F.D. NO. 55, INC.                                                        Fashion Outlets of Niagara LLC                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.405   H.F.D. NO. 55, INC.                                                        Fashion Outlets of Niagara LLC                   D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.406   H.F.D. NO. 55, INC.                                                        Federal Realty Investment Trust                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.407   H.F.D. NO. 55, INC.                                                        First Horizon Group Limited Partnership          D
                                                                                                                                    E/F
                                                                                                                                    G



2.408   H.F.D. NO. 55, INC.                                                        Folsom Central, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.409   H.F.D. NO. 55, INC.                                                        FR Westgate Mall, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.410   H.F.D. NO. 55, INC.                                                        FR Westgate Mall, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.411   H.F.D. NO. 55, INC.                                                        G.C. Center, Inc.                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.412   H.F.D. NO. 55, INC.                                                        G.C. Center, Inc.                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.413   H.F.D. NO. 55, INC.                                                        Galveston Outlets, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                     Case number (if known): 20-32185


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  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.414   H.F.D. NO. 55, INC.                                                        Gateway Knollwood, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.415   H.F.D. NO. 55, INC.                                                        Gateway Knollwood, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.416   H.F.D. NO. 55, INC.                                                        GIV West Clayton Athens GA Investor,             D
                                                                                   LLC                                              E/F
                                                                                                                                    G



2.417   H.F.D. NO. 55, INC.                                                        Glen Investors, Inc.                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.418   H.F.D. NO. 55, INC.                                                        GPT Longmeadow, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.419   H.F.D. NO. 55, INC.                                                        GPT Longmeadow, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.420   H.F.D. NO. 55, INC.                                                        GPT Longmeadow, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.421   H.F.D. NO. 55, INC.                                                        GPT Longmeadow, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.422   H.F.D. NO. 55, INC.                                                        Greene Town Center, LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.423   H.F.D. NO. 55, INC.                                                        Greene Town Center, LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.424   H.F.D. NO. 55, INC.                                                        Grove City Factory Shops Limited                 D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.425   H.F.D. NO. 55, INC.                                                        Grove City Factory Shops Limited                 D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.426   H.F.D. NO. 55, INC.                                                        Grove City Factory Shops Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.427   H.F.D. NO. 55, INC.                                                        Grove City Factory Shops, GP LLC                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.428   H.F.D. NO. 55, INC.                                                        Hamilton Place CMBS, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.429   H.F.D. NO. 55, INC.                                                        Hamilton Place Mall General Partnership          D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                       Check all schedules
                                                                                                                              that apply
2.430   H.F.D. NO. 55, INC.                                                        Horizon Atlanta Outlet Shoppes, LLC               D
                                                                                                                                     E/F
                                                                                                                                     G



2.431   H.F.D. NO. 55, INC.                                                        Horizon Atlanta Outlet Shoppes, LLC               D
                                                                                                                                     E/F
                                                                                                                                     G



2.432   H.F.D. NO. 55, INC.                                                        Horizon Group Properties, Inc.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.433   H.F.D. NO. 55, INC.                                                        Horizon Group Properties, Inc.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.434   H.F.D. NO. 55, INC.                                                        Horizon Group Properties, Inc.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.435   H.F.D. NO. 55, INC.                                                        Horizon Group Properties, L.P.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.436   H.F.D. NO. 55, INC.                                                        Horizon Group Properties, L.P.                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.437   H.F.D. NO. 55, INC.                                                        Horizon Group Properties, L.P.                    D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                       Check all schedules
                                                                                                                              that apply
2.438   H.F.D. NO. 55, INC.                                                        Horizon Louisville, LLC                           D
                                                                                                                                     E/F
                                                                                                                                     G



2.439   H.F.D. NO. 55, INC.                                                        Horizon Louisville, LLC                           D
                                                                                                                                     E/F
                                                                                                                                     G



2.440   H.F.D. NO. 55, INC.                                                        Horizon Outlet Centers Limited                    D
                                                                                   Partnership                                       E/F
                                                                                                                                     G



2.441   H.F.D. NO. 55, INC.                                                        Horizon Outlet Centers, Inc.                      D
                                                                                                                                     E/F
                                                                                                                                     G



2.442   H.F.D. NO. 55, INC.                                                        IMI Grand Prairie LLC                             D
                                                                                                                                     E/F
                                                                                                                                     G



2.443   H.F.D. NO. 55, INC.                                                        IMI Grand Prairie LLC                             D
                                                                                                                                     E/F
                                                                                                                                     G



2.444   H.F.D. NO. 55, INC.                                                        IMI Mount Pleasant LLC                            D
                                                                                                                                     E/F
                                                                                                                                     G



2.445   H.F.D. NO. 55, INC.                                                        IMI Mount Pleasant LLC                            D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                          Check all schedules
                                                                                                                                 that apply
2.446   H.F.D. NO. 55, INC.                                                        Institutional Mall Investors, LLC                    D
                                                                                                                                        E/F
                                                                                                                                        G



2.447   H.F.D. NO. 55, INC.                                                        JRA SPE, Inc.                                        D
                                                                                                                                        E/F
                                                                                                                                        G



2.448   H.F.D. NO. 55, INC.                                                        KRE Colonie Owner, LLC                               D
                                                                                                                                        E/F
                                                                                                                                        G



2.449   H.F.D. NO. 55, INC.                                                        KRE Colonie Owner, LLC                               D
                                                                                                                                        E/F
                                                                                                                                        G



2.450   H.F.D. NO. 55, INC.                                                        KRE Colonie Owner, LLC                               D
                                                                                                                                        E/F
                                                                                                                                        G



2.451   H.F.D. NO. 55, INC.                                                        KRG Rivers Edge, LLC                                 D
                                                                                                                                        E/F
                                                                                                                                        G



2.452   H.F.D. NO. 55, INC.                                                        KRG Rivers Edge, LLC                                 D
                                                                                                                                        E/F
                                                                                                                                        G



2.453   H.F.D. NO. 55, INC.                                                        Laham Capital Group, L.L.C.                          D
                                                                                                                                        E/F
                                                                                                                                        G




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  Name                        Mailing Address                                      Name                                        Check all schedules
                                                                                                                               that apply
2.454   H.F.D. NO. 55, INC.                                                        Leeds Retail Center, LLC                          D
                                                                                                                                     E/F
                                                                                                                                     G



2.455   H.F.D. NO. 55, INC.                                                        LRC Northway Mall Acquisitions LLC                D
                                                                                                                                     E/F
                                                                                                                                     G



2.456   H.F.D. NO. 55, INC.                                                        LRC Northway Mall Acquisitions LLC                D
                                                                                                                                     E/F
                                                                                                                                     G



2.457   H.F.D. NO. 55, INC.                                                        Madison Marquette                                 D
                                                                                                                                     E/F
                                                                                                                                     G



2.458   H.F.D. NO. 55, INC.                                                        Mall at Concord Mills GP, LLC                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.459   H.F.D. NO. 55, INC.                                                        Mall at Concord Mills Limited Partnership         D
                                                                                                                                     E/F
                                                                                                                                     G



2.460   H.F.D. NO. 55, INC.                                                        Mall at Potomac Mills, LLC                        D
                                                                                                                                     E/F
                                                                                                                                     G



2.461   H.F.D. NO. 55, INC.                                                        Management Associates Limited                     D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                       Check all schedules
                                                                                                                              that apply
2.462   H.F.D. NO. 55, INC.                                                        McArthur Glen Realty Corp                         D
                                                                                                                                     E/F
                                                                                                                                     G



2.463   H.F.D. NO. 55, INC.                                                        MCG Outlet Center Limited Partnership             D
                                                                                                                                     E/F
                                                                                                                                     G



2.464   H.F.D. NO. 55, INC.                                                        MCG Outlet Center Limited Partnership             D
                                                                                                                                     E/F
                                                                                                                                     G



2.465   H.F.D. NO. 55, INC.                                                        McKay Investment Company, LLC                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.466   H.F.D. NO. 55, INC.                                                        MG Kenosha Limited Partnership                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.467   H.F.D. NO. 55, INC.                                                        MG Kenosha Limited Partnership                    D
                                                                                                                                     E/F
                                                                                                                                     G



2.468   H.F.D. NO. 55, INC.                                                        Miller Capital Advisory, Inc.                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.469   H.F.D. NO. 55, INC.                                                        Mills Mall Limited Partnership                    D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.470   H.F.D. NO. 55, INC.                                                        Mills Management L.L.C.                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.471   H.F.D. NO. 55, INC.                                                        Mills Management, L.L.C.                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.472   H.F.D. NO. 55, INC.                                                        Mills-Kan Am Colorado Limited                    D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.473   H.F.D. NO. 55, INC.                                                        Millstream Factory Shops Limited                 D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.474   H.F.D. NO. 55, INC.                                                        Millstream Factory Shops Limited                 D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.475   H.F.D. NO. 55, INC.                                                        Nathan Benderson, Ronald Benderson               D
                                                                                   and David H. Baldauf                             E/F
                                                                                                                                    G



2.476   H.F.D. NO. 55, INC.                                                        North Carolina Limited Partnership               D
                                                                                                                                    E/F
                                                                                                                                    G



2.477   H.F.D. NO. 55, INC.                                                        Ocean City Factory Outlets I, LC                 D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.478   H.F.D. NO. 55, INC.                                                        Ocean City Factory Outlets I, LC                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.479   H.F.D. NO. 55, INC.                                                        Ocean City Factory Outlets I, LC                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.480   H.F.D. NO. 55, INC.                                                        Ocean City Factory Outlets, Inc.                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.481   H.F.D. NO. 55, INC.                                                        Oklahoma Outlet Center, LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.482   H.F.D. NO. 55, INC.                                                        Ontario Mills Limited Partnership                D
                                                                                                                                    E/F
                                                                                                                                    G



2.483   H.F.D. NO. 55, INC.                                                        Ontario Mills, L.L.C.                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.484   H.F.D. NO. 55, INC.                                                        Opry Mills Mall Limited Partnership              D
                                                                                                                                    E/F
                                                                                                                                    G



2.485   H.F.D. NO. 55, INC.                                                        Opry Mills Mall Limited Partnership              D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.486   H.F.D. NO. 55, INC.                                                        Opry Mills Mall Manager, L.L.C.                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.487   H.F.D. NO. 55, INC.                                                        Opry Mills Manager, L.L.C.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.488   H.F.D. NO. 55, INC.                                                        Outlet Village of Hagerstown Limited             D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.489   H.F.D. NO. 55, INC.                                                        Outlet Village of Hagerstown Limited             D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.490   H.F.D. NO. 55, INC.                                                        Outlets of Mississippi                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.491   H.F.D. NO. 55, INC.                                                        Pagosa Partners II, Ltd.                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.492   H.F.D. NO. 55, INC.                                                        Pagosa Partners II, Ltd.                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.493   H.F.D. NO. 55, INC.                                                        Paul D. Feinstein, Esq.                          D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.494   H.F.D. NO. 55, INC.                                                        Pigeon Forge Factory Stores, Inc.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.495   H.F.D. NO. 55, INC.                                                        Pigeon Forge Factory Stores, Inc.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.496   H.F.D. NO. 55, INC.                                                        Pigeon Forge Factory Stores, Inc.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.497   H.F.D. NO. 55, INC.                                                        Pigeon Forge Outlets Partners, LLC               D
                                                                                                                                    E/F
                                                                                                                                    G



2.498   H.F.D. NO. 55, INC.                                                        Pigeon Forge Outlets Partners, LLC               D
                                                                                                                                    E/F
                                                                                                                                    G



2.499   H.F.D. NO. 55, INC.                                                        Pittsford Plaza Spe, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.500   H.F.D. NO. 55, INC.                                                        Pittsford Plaza SPE, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.501   H.F.D. NO. 55, INC.                                                        Potomac Mills Operating Company,                 D
                                                                                   L.L.C.                                           E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.502   H.F.D. NO. 55, INC.                                                        PR Mercato, LLC                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.503   H.F.D. NO. 55, INC.                                                        PR Mercato, LLC                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.504   H.F.D. NO. 55, INC.                                                        PR Mercato, LLC                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.505   H.F.D. NO. 55, INC.                                                        Prime Retail Property Management                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.506   H.F.D. NO. 55, INC.                                                        Prime Retail Property Management                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.507   H.F.D. NO. 55, INC.                                                        Prime Retail, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.508   H.F.D. NO. 55, INC.                                                        Prime Retail, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.509   H.F.D. NO. 55, INC.                                                        Prime Retail, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.510   H.F.D. NO. 55, INC.                                                        Prime Retail, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.511   H.F.D. NO. 55, INC.                                                        Prime Retail, L.P.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.512   H.F.D. NO. 55, INC.                                                        Prime Retail, L.P.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.513   H.F.D. NO. 55, INC.                                                        Prime Retail, L.P.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.514   H.F.D. NO. 55, INC.                                                        Prime Retail, LP                                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.515   H.F.D. NO. 55, INC.                                                        Prisa LHC, LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.516   H.F.D. NO. 55, INC.                                                        Prisa LHC, LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.517   H.F.D. NO. 55, INC.                                                        Prisa LHC, LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.518   H.F.D. NO. 55, INC.                                                        Prisa LHC, LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.519   H.F.D. NO. 55, INC.                                                        PRSC Holdings (Edens), LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.520   H.F.D. NO. 55, INC.                                                        PRSC Holdings (Edens), LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.521   H.F.D. NO. 55, INC.                                                        Prudential Real Estate Investors                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.522   H.F.D. NO. 55, INC.                                                        R.R. Myrtle Beach, Inc.                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.523   H.F.D. NO. 55, INC.                                                        R.R. Seaside, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.524   H.F.D. NO. 55, INC.                                                        R.R. Westbrook, Inc.                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.525   H.F.D. NO. 55, INC.                                                        RM Outlets Limited Liability Company             D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.526   H.F.D. NO. 55, INC.                                                        Rookwood Holding Company LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.527   H.F.D. NO. 55, INC.                                                        Saul Centers, Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.528   H.F.D. NO. 55, INC.                                                        Sawgrass Mills GP, L.L.C.                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.529   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Limited Partnership               D
                                                                                                                                    E/F
                                                                                                                                    G



2.530   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Mezzanine, L.L.C.                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.531   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Phase II Limited                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.532   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Phase II Limited                  D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.533   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Phase II Limited                  D
                                                                                   Partnership                                      E/F
                                                                                                                                    G




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  Name                        Mailing Address                                      Name                                        Check all schedules
                                                                                                                               that apply
2.534   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Phase II Limited                    D
                                                                                   Partnership                                        E/F
                                                                                                                                      G



2.535   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Phase II SPE, L.L.C.                D
                                                                                                                                      E/F
                                                                                                                                      G



2.536   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Phase II, L.L.C.                    D
                                                                                                                                      E/F
                                                                                                                                      G



2.537   H.F.D. NO. 55, INC.                                                        Sawgrass Mills Phase II, L.L.C.                    D
                                                                                                                                      E/F
                                                                                                                                      G



2.538   H.F.D. NO. 55, INC.                                                        Shoppes at Montage, LLC                            D
                                                                                                                                      E/F
                                                                                                                                      G



2.539   H.F.D. NO. 55, INC.                                                        Spectrum Bloomfield, LLC                           D
                                                                                                                                      E/F
                                                                                                                                      G



2.540   H.F.D. NO. 55, INC.                                                        Spectrum Bloomfield, LLC                           D
                                                                                                                                      E/F
                                                                                                                                      G



2.541   H.F.D. NO. 55, INC.                                                        Spectrum Bloomfield, LLC                           D
                                                                                                                                      E/F
                                                                                                                                      G




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  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.542   H.F.D. NO. 55, INC.                                                        Stanberry Harrisburg, L.P.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.543   H.F.D. NO. 55, INC.                                                        Strategic Leasing Law Group, LLP                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.544   H.F.D. NO. 55, INC.                                                        Street Retail Inc.                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.545   H.F.D. NO. 55, INC.                                                        Talisman Niagara Properties Corp.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.546   H.F.D. NO. 55, INC.                                                        Talisman Niagara Properties Corp.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.547   H.F.D. NO. 55, INC.                                                        Talisman Niagara Properties Corp.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.548   H.F.D. NO. 55, INC.                                                        Tanga Properties Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.549   H.F.D. NO. 55, INC.                                                        Tanger DC, LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.550   H.F.D. NO. 55, INC.                                                        Tanger Deer Park, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.551   H.F.D. NO. 55, INC.                                                        Tanger Deer Park, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.552   H.F.D. NO. 55, INC.                                                        Tanger Devco, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.553   H.F.D. NO. 55, INC.                                                        Tanger Devco, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.554   H.F.D. NO. 55, INC.                                                        Tanger Devco, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.555   H.F.D. NO. 55, INC.                                                        Tanger Devco, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.556   H.F.D. NO. 55, INC.                                                        Tanger Devco, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.557   H.F.D. NO. 55, INC.                                                        Tanger Devco, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.558   H.F.D. NO. 55, INC.                                                        Tanger Devco, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.559   H.F.D. NO. 55, INC.                                                        Tanger Factory Outlet Centers                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.560   H.F.D. NO. 55, INC.                                                        Tanger Foxwoods, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.561   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.562   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.563   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.564   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.565   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.566   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.567   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.568   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.569   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.570   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.571   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.572   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.573   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.574   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.575   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.576   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.577   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.578   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.579   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.580   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.581   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.582   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.583   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.584   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.585   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.586   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.587   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.588   H.F.D. NO. 55, INC.                                                        Tanger GP Trust                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.589   H.F.D. NO. 55, INC.                                                        Tanger Grand Rapids, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.590   H.F.D. NO. 55, INC.                                                        Tanger Houston, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.591   H.F.D. NO. 55, INC.                                                        Tanger Management, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.592   H.F.D. NO. 55, INC.                                                        Tanger Management, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.593   H.F.D. NO. 55, INC.                                                        Tanger Management, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.594   H.F.D. NO. 55, INC.                                                        Tanger Management, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.595   H.F.D. NO. 55, INC.                                                        Tanger Management, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.596   H.F.D. NO. 55, INC.                                                        Tanger National Harbor, LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.597   H.F.D. NO. 55, INC.                                                        Tanger Piedmont, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.598   H.F.D. NO. 55, INC.                                                        Tanger Piedmont, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.599   H.F.D. NO. 55, INC.                                                        Tanger Piedmont, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.600   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.601   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.602   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.603   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.604   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.605   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.606   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.607   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.608   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.609   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.610   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.611   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.612   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.613   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.614   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.615   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.616   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.617   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.618   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.619   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.620   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.621   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.622   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.623   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.624   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.625   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.626   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.627   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.628   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.629   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.630   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.631   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.632   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.633   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.634   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.635   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.636   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.637   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                       Check all schedules
                                                                                                                              that apply
2.638   H.F.D. NO. 55, INC.                                                        Tanger Properties Limited Partnership            D
                                                                                                                                    E/F
                                                                                                                                    G



2.639   H.F.D. NO. 55, INC.                                                        Tanger Properties LP, Coroc/Riviera LLC,         D
                                                                                                                                    E/F
                                                                                                                                    G



2.640   H.F.D. NO. 55, INC.                                                        Tanger Wisconsin Dells, LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.641   H.F.D. NO. 55, INC.                                                        The Lighstone Group, Inc.                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.642   H.F.D. NO. 55, INC.                                                        The Mills Corporation                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.643   H.F.D. NO. 55, INC.                                                        The Mills Corporation                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.644   H.F.D. NO. 55, INC.                                                        The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.645   H.F.D. NO. 55, INC.                                                        The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                       Check all schedules
                                                                                                                              that apply
2.646   H.F.D. NO. 55, INC.                                                        The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.647   H.F.D. NO. 55, INC.                                                        The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.648   H.F.D. NO. 55, INC.                                                        The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.649   H.F.D. NO. 55, INC.                                                        The Mills Limited Partnership                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.650   H.F.D. NO. 55, INC.                                                        The Prime Outlets at Williamsburg, L.L.C         D
                                                                                                                                    E/F
                                                                                                                                    G



2.651   H.F.D. NO. 55, INC.                                                        The Prime Outlets at Williamsburg, L.L.C         D
                                                                                                                                    E/F
                                                                                                                                    G



2.652   H.F.D. NO. 55, INC.                                                        The Prudential Insurance Company of              D
                                                                                   America                                          E/F
                                                                                                                                    G



2.653   H.F.D. NO. 55, INC.                                                        The Roseville Fountains, L.P.                    D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.654   H.F.D. NO. 55, INC.                                                        Thruway Shopping Center LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.655   H.F.D. NO. 55, INC.                                                        TMLP GP, LLC                                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.656   H.F.D. NO. 55, INC.                                                        TMLP GP, LLC                                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.657   H.F.D. NO. 55, INC.                                                        TMLP GP, LLC                                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.658   H.F.D. NO. 55, INC.                                                        TMLP GP, LLC                                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.659   H.F.D. NO. 55, INC.                                                        TWB Associates, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.660   H.F.D. NO. 55, INC.                                                        TWMB Associates, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.661   H.F.D. NO. 55, INC.                                                        TWMB Associates, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.662   H.F.D. NO. 55, INC.                                                        TWMB Associates, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.663   H.F.D. NO. 55, INC.                                                        UE Bergen Mall Owner LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.664   H.F.D. NO. 55, INC.                                                        Urban Edge Properties                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.665   H.F.D. NO. 55, INC.                                                        Vanderbilt MPD Corporation                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.666   H.F.D. NO. 55, INC.                                                        Vanderbilt MPD Corporation                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.667   H.F.D. NO. 55, INC.                                                        Vanderbilt MPD Corporation                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.668   H.F.D. NO. 55, INC.                                                        Vanderbilt Properties                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.669   H.F.D. NO. 55, INC.                                                        Vornado Bergen Mall LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                        Mailing Address                                      Name                                      Check all schedules
                                                                                                                             that apply
2.670   H.F.D. NO. 55, INC.                                                        Vornado Bergen Mall LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.671   H.F.D. NO. 55, INC.                                                        Vornado Bergen Mall LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.672   H.F.D. NO. 55, INC.                                                        West Clayton Athens GA Holdings, LLC             D
                                                                                                                                    E/F
                                                                                                                                    G



2.673   H.F.D. NO. 55, INC.                                                        West Clayton Athens GA Owner, LLC                D
                                                                                                                                    E/F
                                                                                                                                    G



2.674   H.F.D. NO. 55, INC.                                                        West Clayton GA, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.675   H.F.D. NO. 55, INC.                                                        Williamsburg Outlet, L.L.C.                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.676   H.F.D. NO. 55, INC.                                                        Woodburn CRG Partners                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.677   H.F.D. NO. 55, INC.                                                        WRS Advisors III, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                        Mailing Address                                      Name                                       Check all schedules
                                                                                                                              that apply
2.678   H.F.D. NO. 55, INC.                                                        WRS Advisors III, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.679   H.F.D. NO. 55, INC.                                                        WRS Deer Park, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.680   H.F.D. NO. 55, INC.                                                        WRS Deer Park, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.681   HFD NO. 55, INC.                                                           Tanger Properties LP, Coroc/Riviera LLC,         D
                                                                                                                                    E/F
                                                                                                                                    G



2.682   J. CREW INC.                                                               Rockaway Center Associates                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.683   J. CREW INC.                                                               SuccessFactors, Inc                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.684   J. CREW INC.                                                               SuccessFactors, Inc                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.685   J. CREW INC.                                                               Trenholm Plaza, LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G




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Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.686   J. CREW INTERNATIONAL,                                                     Bank of America, NA                              D
        INC.
                                                                                                                                    E/F
                                                                                                                                    G



2.687   J. CREW INTERNATIONAL,                                                     Wilmington Savings Fund Society, FSB             D
        INC.
                                                                                                                                    E/F
                                                                                                                                    G



2.688   J. CREW OPERATING CORP.                                                    Bank of America, NA                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.689   J. CREW OPERATING CORP.                                                    First Data Services, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.690   J. CREW OPERATING CORP.                                                    Loeb & Loeb LLP                                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.691   J. CREW OPERATING CORP.                                                    The Bank of New York Mellon                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.692   J. CREW OPERATING CORP.                                                    The Bank of New York Mellon                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.693   J. CREW OPERATING CORP.                                                    The Bank of New York Mellon                      D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.694   J. CREW OPERATING CORP.                                                    The Bank of New York Mellon                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.695   J. CREW OPERATING CORP.                                                    The Bank of New York Mellon                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.696   J. CREW OPERATING CORP.                                                    Vornado Realty L.P.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.697   J. CREW OPERATING CORP.                                                    Vornado Realty L.P.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.698   J. CREW OPERATING CORP.                                                    Wilmington Savings Fund Society, FSB             D
                                                                                                                                    E/F
                                                                                                                                    G



2.699   J. CREW U.K. LIMITED                                                       The Crown Estate Commissioners                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.700   J. CREW VIRGINIA INC.                                                      Bank of America, NA                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.701   J. CREW VIRGINIA INC.                                                      Wilmington Savings Fund Society, FSB             D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.702   J. CREW, INC.                                                              Bank of America, NA                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.703   J. CREW, INC.                                                              Wilmington Savings Fund Society, FSB             D
                                                                                                                                    E/F
                                                                                                                                    G



2.704   MADEWELL INC.                                                              1237 1/2 Wisconsin Avenue Partners,              D
                                                                                   L.P.                                             E/F
                                                                                                                                    G



2.705   MADEWELL INC.                                                              16 Newtown Lane, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.706   MADEWELL INC.                                                              1716 Walnut Street, L.P                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.707   MADEWELL INC.                                                              30 East 85th Street Company                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.708   MADEWELL INC.                                                              329 Newbury Street LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.709   MADEWELL INC.                                                              480-486 Broadway, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.710   MADEWELL INC.                                                              480-486 Broadway, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.711   MADEWELL INC.                                                              480-486 Broadway, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.712   MADEWELL INC.                                                              480-486 Broadway, LLC                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.713   MADEWELL INC.                                                              530 Broadway LLC                                 D
                                                                                                                                    E/F
                                                                                                                                    G



2.714   MADEWELL INC.                                                              530 Broadway Mezz I LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.715   MADEWELL INC.                                                              530 Broadway Mezz II LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.716   MADEWELL INC.                                                              530 Broadway Mezz III LLC                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.717   MADEWELL INC.                                                              530 Broadway Mezz IV LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.718   MADEWELL INC.                                                              932 North Rush, L.L.C.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.719   MADEWELL INC.                                                              932 North Rush, L.L.C.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.720   MADEWELL INC.                                                              Albina Management Co.                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.721   MADEWELL INC.                                                              Albina Management Co.                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.722   MADEWELL INC.                                                              Albina Management Co.                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.723   MADEWELL INC.                                                              Amall Golden Gregory LLP                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.724   MADEWELL INC.                                                              Amerishop Investment Suburban L.L.C.             D
                                                                                                                                    E/F
                                                                                                                                    G



2.725   MADEWELL INC.                                                              Amerishop Suburban, L.P.                         D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.726   MADEWELL INC.                                                              Avalon Joint Venture, LLC                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.727   MADEWELL INC.                                                              Avalon North, LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.728   MADEWELL INC.                                                              Bank of America, NA                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.729   MADEWELL INC.                                                              Bank of American, STJTC II, LLC                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.730   MADEWELL INC.                                                              Bellevue Square, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.731   MADEWELL INC.                                                              Bellevue Square, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.732   MADEWELL INC.                                                              Bellwether Properties of Massachusetts           D
                                                                                   Limited Partnership                              E/F
                                                                                                                                    G



2.733   MADEWELL INC.                                                              Bellwether Properties of Massachusetts           D
                                                                                   Limited Partnership                              E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.734   MADEWELL INC.                                                              Bentall Kennedy (U.S.) G.P. LLC                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.735   MADEWELL INC.                                                              BJW Realty LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.736   MADEWELL INC.                                                              BJW Realty LLC                                   D
                                                                                                                                    E/F
                                                                                                                                    G



2.737   MADEWELL INC.                                                              Boston Properties                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.738   MADEWELL INC.                                                              Boston Properties, Inc.                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.739   MADEWELL INC.                                                              BP RTC Member LLC                                D
                                                                                                                                    E/F
                                                                                                                                    G



2.740   MADEWELL INC.                                                              Brooks Properties Greenwich LLC                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.741   MADEWELL INC.                                                              Calsim Fashion Mall, L.L.C                       D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.742   MADEWELL INC.                                                              Charles Mall Company Limited                     D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.743   MADEWELL INC.                                                              Chillum Place, L.L.C.                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.744   MADEWELL INC.                                                              CJ Segerstrom & Sons                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.745   MADEWELL INC.                                                              Colin Construction & Management Co.,             D
                                                                                   Inc.                                             E/F
                                                                                                                                    G



2.746   MADEWELL INC.                                                              Commercial Real Estate Lending, L.P.             D
                                                                                                                                    E/F
                                                                                                                                    G



2.747   MADEWELL INC.                                                              CPI-Burlington Corporation                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.748   MADEWELL INC.                                                              DDR Corp.                                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.749   MADEWELL INC.                                                              Del Amo Fashion Center Holding                   D
                                                                                   Company, L.L.C.                                  E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.750   MADEWELL INC.                                                              Del Amo Fashion Center Operating                 D
                                                                                   Company, L.L.C.                                  E/F
                                                                                                                                    G



2.751   MADEWELL INC.                                                              Del Amo Fashion Center Operating                 D
                                                                                   Company, L.L.C.                                  E/F
                                                                                                                                    G



2.752   MADEWELL INC.                                                              Del Amo Mills, L.L.C                             D
                                                                                                                                    E/F
                                                                                                                                    G



2.753   MADEWELL INC.                                                              Delshah Gansevoort 69, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.754   MADEWELL INC.                                                              Delshah Gansevoort 69, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.755   MADEWELL INC.                                                              Delshah Gansevoort 69, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.756   MADEWELL INC.                                                              Delshah Gansevoort 69, LLC                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.757   MADEWELL INC.                                                              Eastview Mall, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.758   MADEWELL INC.                                                              Eastview Mall, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.759   MADEWELL INC.                                                              Eastview Mall, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.760   MADEWELL INC.                                                              Eastview Mall, LLC                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.761   MADEWELL INC.                                                              Edens GP, LLC                                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.762   MADEWELL INC.                                                              Edens Limited Partnership                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.763   MADEWELL INC.                                                              Edens Limited Partnership                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.764   MADEWELL INC.                                                              Eskridge (E&A), LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.765   MADEWELL INC.                                                              Eskridge (E&A), LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.766   MADEWELL INC.                                                              Eskridge (E&A), LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.767   MADEWELL INC.                                                              Eskridge (E&A), LLC                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.768   MADEWELL INC.                                                              Fashion Mall Partners, L.P.                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.769   MADEWELL INC.                                                              Fashion Valley Mall, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.770   MADEWELL INC.                                                              Fashion Valley Mall, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.771   MADEWELL INC.                                                              Federal Realty Partners, Inc.                    D
                                                                                                                                    E/F
                                                                                                                                    G



2.772   MADEWELL INC.                                                              First Data Services, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.773   MADEWELL INC.                                                              Forbes/Cohen Florida Properties Limited          D
                                                                                   Partnership                                      E/F
                                                                                                                                    G




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                                                                                                                              that apply
2.774   MADEWELL INC.                                                              Forbes/Cohen Florida Properties Limited          D
                                                                                   Partnership                                      E/F
                                                                                                                                    G



2.775   MADEWELL INC.                                                              Forbes/Cohen Properties, L.L.C.                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.776   MADEWELL INC.                                                              Fried, Frank, Harris, Shriver & Jacobson         D
                                                                                   LLP                                              E/F
                                                                                                                                    G



2.777   MADEWELL INC.                                                              Frit San Jose Town and Country Village,          D
                                                                                   LLC                                              E/F
                                                                                                                                    G



2.778   MADEWELL INC.                                                              Frit San Jose Town and Country Village,          D
                                                                                   LLC                                              E/F
                                                                                                                                    G



2.779   MADEWELL INC.                                                              GFM, LLC                                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.780   MADEWELL INC.                                                              Head Acquisition, L.P.                           D
                                                                                                                                    E/F
                                                                                                                                    G



2.781   MADEWELL INC.                                                              Help II, LLC                                     D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.782   MADEWELL INC.                                                              Henry T. Segerstrom Management LLC               D
                                                                                                                                    E/F
                                                                                                                                    G



2.783   MADEWELL INC.                                                              Highland Village GP LLC                          D
                                                                                                                                    E/F
                                                                                                                                    G



2.784   MADEWELL INC.                                                              Highland Village Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.785   MADEWELL INC.                                                              Highland Village Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.786   MADEWELL INC.                                                              Highwoods Properties, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.787   MADEWELL INC.                                                              Highwoods Realty Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.788   MADEWELL INC.                                                              Highwoods Realty Limited Partnership             D
                                                                                                                                    E/F
                                                                                                                                    G



2.789   MADEWELL INC.                                                              Hilldale Shopping Center LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                     Check all schedules
                                                                                                                            that apply
2.790   MADEWELL INC.                                                              Hilldale Shopping Center LLC                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.791   MADEWELL INC.                                                              Holland & Knight, LLP                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.792   MADEWELL INC.                                                              HRE-Kravco II, Inc.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.793   MADEWELL INC.                                                              HTS Management Co., Inc.                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.794   MADEWELL INC.                                                              ING Life Insurance and Annuity Company           D
                                                                                                                                    E/F
                                                                                                                                    G



2.795   MADEWELL INC.                                                              Jamestown PCM Master Tenant, L.P.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.796   MADEWELL INC.                                                              Jamestown PCM Master Tenant, L.P.                D
                                                                                                                                    E/F
                                                                                                                                    G



2.797   MADEWELL INC.                                                              Jones Lang LaSalle                               D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                    Check all schedules
                                                                                                                           that apply
2.798   MADEWELL INC.                                                              Jones Lang LaSalle Americas, Inc.               D
                                                                                                                                   E/F
                                                                                                                                   G



2.799   MADEWELL INC.                                                              JT PCM GP, L.P.                                 D
                                                                                                                                   E/F
                                                                                                                                   G



2.800   MADEWELL INC.                                                              JT Ponce City Market GP, LLC                    D
                                                                                                                                   E/F
                                                                                                                                   G



2.801   MADEWELL INC.                                                              Ki-Kingmak Associates, L.P.                     D
                                                                                                                                   E/F
                                                                                                                                   G



2.802   MADEWELL INC.                                                              Ki-Kingmak Associates, LLC                      D
                                                                                                                                   E/F
                                                                                                                                   G



2.803   MADEWELL INC.                                                              Ki-Kravco Associates                            D
                                                                                                                                   E/F
                                                                                                                                   G



2.804   MADEWELL INC.                                                              Kimco Suburban Square GP Business               D
                                                                                   Trust                                           E/F
                                                                                                                                   G



2.805   MADEWELL INC.                                                              King of Prussia Associates                      D
                                                                                                                                   E/F
                                                                                                                                   G




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  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.806   MADEWELL INC.                                                              Kingmak Associates                                D
                                                                                                                                     E/F
                                                                                                                                     G



2.807   MADEWELL INC.                                                              KMO-361 Realty Associates, LLC.                   D
                                                                                                                                     E/F
                                                                                                                                     G



2.808   MADEWELL INC.                                                              Kravco Simon Investments, L.P                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.809   MADEWELL INC.                                                              Legacy Place Properties LLC                       D
                                                                                                                                     E/F
                                                                                                                                     G



2.810   MADEWELL INC.                                                              Legacy Place Properties LLC                       D
                                                                                                                                     E/F
                                                                                                                                     G



2.811   MADEWELL INC.                                                              Market Street Woodlands, L.P.                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.812   MADEWELL INC.                                                              Mayer Brown LLP                                   D
                                                                                                                                     E/F
                                                                                                                                     G



2.813   MADEWELL INC.                                                              MEPT Brewery Block 2, LLC                         D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                       Check all schedules
                                                                                                                              that apply
2.814   MADEWELL INC.                                                              MEPT Edgemoor REIT LLC                             D
                                                                                                                                      E/F
                                                                                                                                      G



2.815   MADEWELL INC.                                                              MEPT Edgemoor REIT LLC                             D
                                                                                                                                      E/F
                                                                                                                                      G



2.816   MADEWELL INC.                                                              Mission Viejo Associates, L.P.                     D
                                                                                                                                      E/F
                                                                                                                                      G



2.817   MADEWELL INC.                                                              NAP Atlanta Management Company, Inc.               D
                                                                                                                                      E/F
                                                                                                                                      G



2.818   MADEWELL INC.                                                              NAP Avalon LLC                                     D
                                                                                                                                      E/F
                                                                                                                                      G



2.819   MADEWELL INC.                                                              NewTower Trust Company                             D
                                                                                                                                      E/F
                                                                                                                                      G



2.820   MADEWELL INC.                                                              NorthPark GP, Inc.                                 D
                                                                                                                                      E/F
                                                                                                                                      G



2.821   MADEWELL INC.                                                              NorthPark GP, Inc.                                 D
                                                                                                                                      E/F
                                                                                                                                      G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                   Check all schedules
                                                                                                                          that apply
2.822   MADEWELL INC.                                                              NorthPark Partners, LP                         D
                                                                                                                                  E/F
                                                                                                                                  G



2.823   MADEWELL INC.                                                              NorthPark Partners, LP                         D
                                                                                                                                  E/F
                                                                                                                                  G



2.824   MADEWELL INC.                                                              Palisades Village Co., LLC                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.825   MADEWELL INC.                                                              Palisades Village Co., LLC                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.826   MADEWELL INC.                                                              Penn Ross Joint Venture                        D
                                                                                                                                  E/F
                                                                                                                                  G



2.827   MADEWELL INC.                                                              Penn Ross Joint Venture                        D
                                                                                                                                  E/F
                                                                                                                                  G



2.828   MADEWELL INC.                                                              Penn Square Mall Limited Partnership           D
                                                                                                                                  E/F
                                                                                                                                  G



2.829   MADEWELL INC.                                                              Penn Square Mall Limited Partnership           D
                                                                                                                                  E/F
                                                                                                                                  G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.830   MADEWELL INC.                                                              Penn Square Mall Limited Partnership            D
                                                                                                                                   E/F
                                                                                                                                   G



2.831   MADEWELL INC.                                                              Perkins Coie LLP                                D
                                                                                                                                   E/F
                                                                                                                                   G



2.832   MADEWELL INC.                                                              Perkins Coie LLP                                D
                                                                                                                                   E/F
                                                                                                                                   G



2.833   MADEWELL INC.                                                              Reston Town Center JV LLC                       D
                                                                                                                                   E/F
                                                                                                                                   G



2.834   MADEWELL INC.                                                              Reston Town Center Property LLC                 D
                                                                                                                                   E/F
                                                                                                                                   G



2.835   MADEWELL INC.                                                              Reston Town Center Property LLC                 D
                                                                                                                                   E/F
                                                                                                                                   G



2.836   MADEWELL INC.                                                              Richard Young                                   D
                                                                                                                                   E/F
                                                                                                                                   G



2.837   MADEWELL INC.                                                              Route 35 Shrewsbury Limited Partnership         D
                                                                                                                                   E/F
                                                                                                                                   G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.838   MADEWELL INC.                                                              Route 35 Shrewsbury Limited Partnership         D
                                                                                                                                   E/F
                                                                                                                                   G



2.839   MADEWELL INC.                                                              Schiff Hardin LLP                               D
                                                                                                                                   E/F
                                                                                                                                   G



2.840   MADEWELL INC.                                                              Schiff Hardin LLP                               D
                                                                                                                                   E/F
                                                                                                                                   G



2.841   MADEWELL INC.                                                              SDG Fashion Mall Limited Partnership            D
                                                                                                                                   E/F
                                                                                                                                   G



2.842   MADEWELL INC.                                                              SDG Fashion Mall Limited Partnership            D
                                                                                                                                   E/F
                                                                                                                                   G



2.843   MADEWELL INC.                                                              SDG Westchester Associates                      D
                                                                                                                                   E/F
                                                                                                                                   G



2.844   MADEWELL INC.                                                              Seven Hundred Realty Corp                       D
                                                                                                                                   E/F
                                                                                                                                   G



2.845   MADEWELL INC.                                                              Shops at Mission Viejo, LLC                     D
                                                                                                                                   E/F
                                                                                                                                   G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                     Check all schedules
                                                                                                                            that apply
2.846   MADEWELL INC.                                                              Shops at Mission Viejo, LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.847   MADEWELL INC.                                                              Shops at Saddle Creek, Inc.                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.848   MADEWELL INC.                                                              Shops at Saddle Creek, Inc.                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.849   MADEWELL INC.                                                              Short Pump Town Center, LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.850   MADEWELL INC.                                                              Shrewsbury Mall Associates, LLC                  D
                                                                                                                                    E/F
                                                                                                                                    G



2.851   MADEWELL INC.                                                              Simon Property Group (Delaware), Inc.            D
                                                                                                                                    E/F
                                                                                                                                    G



2.852   MADEWELL INC.                                                              Simon Property Group (Illinois), L.P.            D
                                                                                                                                    E/F
                                                                                                                                    G



2.853   MADEWELL INC.                                                              Simon Property Group, Inc.                       D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                   Check all schedules
                                                                                                                          that apply
2.854   MADEWELL INC.                                                              Simon Property Group, Inc.                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.855   MADEWELL INC.                                                              Simon Property Group, Inc.                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.856   MADEWELL INC.                                                              Simon Property Group, Inc.                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.857   MADEWELL INC.                                                              Simon Property Group, Inc.                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.858   MADEWELL INC.                                                              Simon Property Group, Inc.                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.859   MADEWELL INC.                                                              Simon Property Group, L.P.                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.860   MADEWELL INC.                                                              Simon Property Group, L.P.                     D
                                                                                                                                  E/F
                                                                                                                                  G



2.861   MADEWELL INC.                                                              Simon Property Group, L.P.                     D
                                                                                                                                  E/F
                                                                                                                                  G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.862   MADEWELL INC.                                                              Simon Property Group, L.P.                        D
                                                                                                                                     E/F
                                                                                                                                     G



2.863   MADEWELL INC.                                                              Simon Property Group, L.P.                        D
                                                                                                                                     E/F
                                                                                                                                     G



2.864   MADEWELL INC.                                                              Simon Property Group, L.P.                        D
                                                                                                                                     E/F
                                                                                                                                     G



2.865   MADEWELL INC.                                                              Somerset Collection Limited Partnership           D
                                                                                                                                     E/F
                                                                                                                                     G



2.866   MADEWELL INC.                                                              Somerset Collection Limited Partnership           D
                                                                                                                                     E/F
                                                                                                                                     G



2.867   MADEWELL INC.                                                              South Coast Plaza                                 D
                                                                                                                                     E/F
                                                                                                                                     G



2.868   MADEWELL INC.                                                              South Coast Plaza Design Committee                D
                                                                                                                                     E/F
                                                                                                                                     G



2.869   MADEWELL INC.                                                              Southdale Limited Partnership                     D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                      Check all schedules
                                                                                                                             that apply
2.870   MADEWELL INC.                                                              Southdale Limited Partnership                     D
                                                                                                                                     E/F
                                                                                                                                     G



2.871   MADEWELL INC.                                                              Southpark Mall Limited Partnership                D
                                                                                                                                     E/F
                                                                                                                                     G



2.872   MADEWELL INC.                                                              Southpark Mall Limited Partnership                D
                                                                                                                                     E/F
                                                                                                                                     G



2.873   MADEWELL INC.                                                              Southpark Mall Limited Partnership                D
                                                                                                                                     E/F
                                                                                                                                     G



2.874   MADEWELL INC.                                                              Southpoint Mall, LLC                              D
                                                                                                                                     E/F
                                                                                                                                     G



2.875   MADEWELL INC.                                                              Southpoint Mall, LLC                              D
                                                                                                                                     E/F
                                                                                                                                     G



2.876   MADEWELL INC.                                                              SPG Center, LLC                                   D
                                                                                                                                     E/F
                                                                                                                                     G



2.877   MADEWELL INC.                                                              SPG Center, LLC                                   D
                                                                                                                                     E/F
                                                                                                                                     G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                  Check all schedules
                                                                                                                         that apply
2.878   MADEWELL INC.                                                              SPG Head GP, LLC                              D
                                                                                                                                 E/F
                                                                                                                                 G



2.879   MADEWELL INC.                                                              SPG Southpark, LLC                            D
                                                                                                                                 E/F
                                                                                                                                 G



2.880   MADEWELL INC.                                                              SPG Southpark, LLC                            D
                                                                                                                                 E/F
                                                                                                                                 G



2.881   MADEWELL INC.                                                              Spgil Domain, L.P.                            D
                                                                                                                                 E/F
                                                                                                                                 G



2.882   MADEWELL INC.                                                              St. Johns Venture, LLC                        D
                                                                                                                                 E/F
                                                                                                                                 G



2.883   MADEWELL INC.                                                              Starbucks Corporation                         D
                                                                                                                                 E/F
                                                                                                                                 G



2.884   MADEWELL INC.                                                              Starbucks Corporation                         D
                                                                                                                                 E/F
                                                                                                                                 G



2.885   MADEWELL INC.                                                              Starbucks Corporation                         D
                                                                                                                                 E/F
                                                                                                                                 G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                    Check all schedules
                                                                                                                           that apply
2.886   MADEWELL INC.                                                              Starbucks Corporation                           D
                                                                                                                                   E/F
                                                                                                                                   G



2.887   MADEWELL INC.                                                              STJTC II, LLC                                   D
                                                                                                                                   E/F
                                                                                                                                   G



2.888   MADEWELL INC.                                                              STJTC II, LLC                                   D
                                                                                                                                   E/F
                                                                                                                                   G



2.889   MADEWELL INC.                                                              Street Retail West GP, Inc.                     D
                                                                                                                                   E/F
                                                                                                                                   G



2.890   MADEWELL INC.                                                              Street Retail West I, LP                        D
                                                                                                                                   E/F
                                                                                                                                   G



2.891   MADEWELL INC.                                                              Street Retail West I, LP                        D
                                                                                                                                   E/F
                                                                                                                                   G



2.892   MADEWELL INC.                                                              Street Retail, Inc.                             D
                                                                                                                                   E/F
                                                                                                                                   G



2.893   MADEWELL INC.                                                              Street Retail, Inc.                             D
                                                                                                                                   E/F
                                                                                                                                   G




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  Name                      Mailing Address                                        Name                                     Check all schedules
                                                                                                                            that apply
2.894   MADEWELL INC.                                                              Street Retail, Inc.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.895   MADEWELL INC.                                                              Street Retail, Inc.                              D
                                                                                                                                    E/F
                                                                                                                                    G



2.896   MADEWELL INC.                                                              Suburban Square LP                               D
                                                                                                                                    E/F
                                                                                                                                    G



2.897   MADEWELL INC.                                                              Tarter Krinsky & Drogin, LLP                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.898   MADEWELL INC.                                                              T-C Forum at Carlsbad LLC                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.899   MADEWELL INC.                                                              The Americana at Brand, LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.900   MADEWELL INC.                                                              The Americana at Brand, LLC                      D
                                                                                                                                    E/F
                                                                                                                                    G



2.901   MADEWELL INC.                                                              The Domain Mall, LLC                             D
                                                                                                                                    E/F
                                                                                                                                    G




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  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                  Check all schedules
                                                                                                                         that apply
2.902   MADEWELL INC.                                                              The Domain Mall, LLC                          D
                                                                                                                                 E/F
                                                                                                                                 G



2.903   MADEWELL INC.                                                              The Forum Carlsbad                            D
                                                                                                                                 E/F
                                                                                                                                 G



2.904   MADEWELL INC.                                                              The Grove, LLC                                D
                                                                                                                                 E/F
                                                                                                                                 G



2.905   MADEWELL INC.                                                              The Grove, LLC                                D
                                                                                                                                 E/F
                                                                                                                                 G



2.906   MADEWELL INC.                                                              The Lord Companies LLC                        D
                                                                                                                                 E/F
                                                                                                                                 G



2.907   MADEWELL INC.                                                              The Lord Companies LLC                        D
                                                                                                                                 E/F
                                                                                                                                 G



2.908   MADEWELL INC.                                                              The Retail Property Trust                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.909   MADEWELL INC.                                                              The Retail Property Trust                     D
                                                                                                                                 E/F
                                                                                                                                 G




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  Name                      Mailing Address                                        Name                                  Check all schedules
                                                                                                                         that apply
2.910   MADEWELL INC.                                                              The Retail Property Trust                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.911   MADEWELL INC.                                                              The Retail Property Trust                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.912   MADEWELL INC.                                                              The Retail Property Trust                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.913   MADEWELL INC.                                                              The Retail Property Trust                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.914   MADEWELL INC.                                                              The Retail Property Trust                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.915   MADEWELL INC.                                                              The Streets at Southpoint                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.916   MADEWELL INC.                                                              TIAA-CREF                                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.917   MADEWELL INC.                                                              TM Market Street, LLC                         D
                                                                                                                                 E/F
                                                                                                                                 G




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  Name                      Mailing Address                                        Name                                     Check all schedules
                                                                                                                            that apply
2.918   MADEWELL INC.                                                              Town Center Plaza, L.L.C.                        D
                                                                                                                                    E/F
                                                                                                                                    G



2.919   MADEWELL INC.                                                              TSPGP, LLC                                       D
                                                                                                                                    E/F
                                                                                                                                    G



2.920   MADEWELL INC.                                                              University Village Limited Partnership           D
                                                                                                                                    E/F
                                                                                                                                    G



2.921   MADEWELL INC.                                                              Urban Chestnut Hill, LLC                         D
                                                                                                                                    E/F
                                                                                                                                    G



2.922   MADEWELL INC.                                                              Urban Shopping Centers, L.P.                     D
                                                                                                                                    E/F
                                                                                                                                    G



2.923   MADEWELL INC.                                                              USC Penn Square, Inc.                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.924   MADEWELL INC.                                                              USC Penn Square, Inc.                            D
                                                                                                                                    E/F
                                                                                                                                    G



2.925   MADEWELL INC.                                                              VNO Broome Street, LLC                           D
                                                                                                                                    E/F
                                                                                                                                    G




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  Name                      Mailing Address                                        Name                                     Check all schedules
                                                                                                                            that apply
2.926   MADEWELL INC.                                                              Vornado Realty L.P.                            D
                                                                                                                                  E/F
                                                                                                                                  G



2.927   MADEWELL INC.                                                              Vornado Realty Trust                           D
                                                                                                                                  E/F
                                                                                                                                  G



2.928   MADEWELL INC.                                                              Vornado Realty Trust                           D
                                                                                                                                  E/F
                                                                                                                                  G



2.929   MADEWELL INC.                                                              W/S/M Hingham Properties LLC                   D
                                                                                                                                  E/F
                                                                                                                                  G



2.930   MADEWELL INC.                                                              W/S/M Hingham Properties LLC                   D
                                                                                                                                  E/F
                                                                                                                                  G



2.931   MADEWELL INC.                                                              W/S/M Hingham Properties LLC                   D
                                                                                                                                  E/F
                                                                                                                                  G



2.932   MADEWELL INC.                                                              W/S/M Hingham Properties LLC                   D
                                                                                                                                  E/F
                                                                                                                                  G



2.933   MADEWELL INC.                                                              Wells Fargo Bank, National Association         D
                                                                                                                                  E/F
                                                                                                                                  G




 Official Form 206H                               Schedule H: Codebtors                                         Page 117 of 118
          Case 20-32185-KLP                 Doc 10 Filed 06/12/20 Entered 06/12/20 20:23:49                          Desc Main
                                                 Document     Page 291 of 292
Debtor Name           J. Crew Group, Inc.                                                    Case number (if known): 20-32185


        Additional Page(s) if Debtor has More Codebtors
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  Column 1: Codebtor                                                             Column 2: Creditor
  Name                      Mailing Address                                        Name                                   Check all schedules
                                                                                                                          that apply
2.934   MADEWELL INC.                                                              Westchester Mall, LLC                         D
                                                                                                                                 E/F
                                                                                                                                 G



2.935   MADEWELL INC.                                                              Westchester Mall, LLC                         D
                                                                                                                                 E/F
                                                                                                                                 G



2.936   MADEWELL INC.                                                              Wilmington Savings Fund Society, FSB          D
                                                                                                                                 E/F
                                                                                                                                 G



2.937   MADEWELL INC.                                                              Wisconsin Avenue Partners, L.P.               D
                                                                                                                                 E/F
                                                                                                                                 G



2.938   MADEWELL INC.                                                              Wisconsin Avenue Partners, L.P.               D
                                                                                                                                 E/F
                                                                                                                                 G



2.939   MADEWELL INC.                                                              Wmach LLC                                     D
                                                                                                                                 E/F
                                                                                                                                 G



2.940   MADEWELL INC.                                                              Wmach LLC                                     D
                                                                                                                                 E/F
                                                                                                                                 G




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 Debtor Name       J. Crew Group, Inc.
 United States Bankruptcy Court for the Eastern District of Virginia
 Case Number: 20-32185



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                             12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.


             Declaration and signature

       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       partnership; or another individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true
       and correct:


          Schedule A/B: Assets- Real and Personal Property        (Official Form 206 A/B)

          Schedule D: Creditors Who Have Claims Secured by Property           (Official Form 206 D)

          Schedule E/F: Creditors Who Have Claims Unsecured Claims            (Official Form 206 E/F)

          Schedule G: Executory Contracts and Unexpired Leases           (Official Form 206 G)

          Schedule H: Codebtors                                          (Official Form 206 H)

          Summary of Assets and Liabilities for Non-Individuals       (Official Form 206Sum)

          Amended Schedule

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
          (Official Form 204)

          Other document that requires a declaration



        I, the Chief Financial Officer of the J. Crew Group, Inc., declare under penalty of perjury that I have read the foregoing
        summary and schedules, consisting of 292 sheets, and that they are true and correct to the best of my knowledge,
        information, and belief.



 Executed on: 6/12/2020                                Signature       /s/ Vincent Zanna
              MM / DD / YYYY
                                                                                      Vincent Zanna
                                                        Printed Name
                                                                                  Chief Financial Officer
                                                        Title
